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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA

                                                                      Chapter 11
In re:
                                                                      Case No. 18-05837 (hb)
                                           1
CAFE HOLDINGS CORP., et al.,
                                                                      (Jointly Administered)
                                      Debtors.



                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                                    Introduction

        Cafe Holdings Corp., Cafe Enterprises, Inc., CE Sportz LLC, and CES Gastonia LLC
(collectively, the “Debtors”) with the assistance of their advisors, have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements,” and together with the Schedules, the “Schedules and Statements”) with
the United States Bankruptcy Court for the District of South Carolina (the “Bankruptcy
Court”), pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
           These Global Notes, Methodology, and Specific Disclosures Regarding the
    Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs (the
    “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral
    part of each Debtor’s Schedules and Statements. The Global Notes should be referred to,
    considered, and reviewed in connection with any review of the Schedules and Statements.
           The Schedules and Statements do not purport to represent financial statements
    prepared in accordance with Generally Accepted Accounting Principles in the United States
    (“GAAP”), nor are they intended to be fully reconciled with the financial statements of each
    Debtor (whether publically filed or otherwise). Additionally, the Schedules and Statements
    contain unaudited information that is subject to further review and potential adjustment,
    and reflect the Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on
    an unconsolidated basis.
          In preparing the Schedules and Statements, the Debtors relied upon information
    derived from their books and records that was available at the time of such preparation.
    Although the Debtors have made reasonable efforts to ensure the accuracy and completeness
    of such financial information, inadvertent errors or omissions, as well as the discovery of
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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
      are: Cafe Holdings Corp. (7910); Cafe Enterprises, Inc. (4946); CE Sportz LLC (2009); and CES Gastonia
      LLC (0863). The location of the Debtors’ corporate headquarters is 4324 Wade Hampton Blvd., Suite B,
      Taylors, South Carolina 29687.
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 conflicting, revised, or subsequent information, may cause a material change to the Schedules
 and Statements.
        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and
professionals. Both the Schedules and the Statements contain the declaration of Eric Easton (in
his capacity as CFO of each of the Debtors) that the information found therein is true and correct
to the best of his knowledge, information and belief.

                          Global Notes and Overview of Methodology
 1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
    and accurate Schedules and Statements; however, inadvertent errors or omissions may
    exist. The Debtors reserve all rights to amend or supplement the Schedules and Statements
    from time to time, in all respects, as may be necessary or appropriate, including,
    without limitation, the right to amend the Schedules and Statements with respect to
    a n y claim (“Claim”) description, designation, or Debtor against which the Claim is
    asserted; dispute or otherwise assert offsets or defenses to any Claim reflected in the
    Schedules and Statements as to amount, liability, priority, status, or classification;
    subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
    object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any
    failure to designate a Claim in the Schedules and Statements as “disputed,” “contingent,”
    or “unliquidated” does not constitute an admission by the Debtors that such Claim or
    amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not
    constitute an admission of liability by the Debtor against which the Claim is listed or
    against any of the Debtors. Furthermore, nothing contained in the Schedules and
    Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
    cases, including, without limitation, issues involving Claims, substantive consolidation,
    defenses, equitable subordination, recharacterization, and/or causes of action arising
    under the provisions of chapter 5 of the Bankruptcy Code, and any other relevant non-
    bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
    rights contained elsewhere in the Global Notes does not limit in any respect the general
    reservation of rights contained in this paragraph.
    The listing in the Schedules or Statements (including, without limitation, Schedule
    A/B, Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and
    another Debtor is a statement of what appears in the Debtors’ books and records and does
    not reflect any admission or conclusion of the Debtors regarding whether such amount
    would be allowed as a Claim or how such obligations may be classified and/or
    characterized in a plan of reorganization or by the Bankruptcy Court.
 2. Description of Cases and “as of” Information Date. On N o v e m b e r 1 5 , 2 0 1 8 (the
    “Petition Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the
    Bankruptcy Code. The Debtors are operating their businesses and managing their
    properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
    Bankruptcy Code. On N o v e m b e r 2 0 , 2 0 1 8 , the Bankruptcy Court entered an order
    directing procedural consolidation and joint administration of the Debtors’ chapter 11
    cases [Docket No. 59].

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   Except for cash values held in financial accounts listed on Schedule A/B 3, which are
   reported as of November 15, 2018, the asset information provided in the Schedules
   and Statements represents the asset data of the Debtors as of November 4, 2018,
   and the liability information provided herein represents the liability data of the
   Debtors as of November 15, 2018.
3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
   an inefficient use of estate assets for the Debtors to obtain current market valuations for
   all of their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and
   Statements reflect net book values as of the close of business on November 4, 2018, in
   the Debtors’ books and records. Additionally, because the book values of certain assets,
   may materially differ from their fair market values, they may be listed as undetermined
   amounts as of the Petition Date. Furthermore, as applicable, assets that have fully
   depreciated or were expensed for accounting purposes may not appear in the Schedules
   and Statements if they have no net book value.
4. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
   characterize, classify, categorize, or designate certain Claims, assets, executory
   contracts, unexpired leases, and other items reported in the Schedules and Statements, the
   Debtors may, nevertheless, have improperly characterized, classified, categorized,
   designated, or omitted certain items due to the complexity and size of the Debtors’
   businesses. Accordingly, the Debtors reserve all of their rights to recharacterize,
   reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
   Statements at a later time as is necessary or appropriate as additional information
   becomes available, including, without limitation, whether contracts or leases listed
   herein were deemed executory or unexpired as of the Petition Date and remain
   executory and unexpired postpetition.
5. Real Property and Personal Property–Leased. In the ordinary course of their
   businesses, the Debtors leased real property and various articles of personal property,
   including, fixtures, and equipment, from certain third-party lessors. The Debtors have
   made reasonable efforts to list all such leases in the Schedules and Statements. The
   Debtors have made reasonable efforts to include lease obligations on Schedule D (secured
   debt) to the extent applicable and to the extent the lessor filed a UCC-1. However, nothing
   in the Schedules or Statements is or shall be construed as an admission or
   determination as to the legal status of any lease (including whether to assume and
   assign or reject such lease or whether it is a true lease or a financing arrangement).
6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
   the prepetition and post-petition periods based on the information and research
   conducted in connection with the preparation of the Schedules and Statements. As
   additional information becomes available and further research is conducted, the allocation
   of liabilities between the prepetition and post-petition periods may change.
   The liabilities listed on the Schedules do not reflect any analysis of Claims under
   section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their
   rights to dispute or challenge the validity of any asserted Claims under section
   503(b)(9) of the Bankruptcy Code or the characterization of the structure of any such
   transaction or any document or instrument related to any creditor’s Claim.

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   The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
   the Schedules and Statements, including, without limitation, goodwill, accrued
   salaries, employee benefit accruals, and deferred gains. In addition, certain immaterial
   assets and liabilities may have been excluded.
   Under the Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims (A)
   Arising Under the Perishable Agricultural Commodities Act and Similar Trust Fund
   Statutes, (B) Of Other Lien Claimants, and (C) Certain Critical Vendors and (II) Granting
   Certain Related Relief [Docket No. 170] (the “PACA Order”), the Bankruptcy Court
   granted the Debtors authority to satisfy valid prepetition PACA claims. The Debtors have
   not listed on Schedule E/F any PACA obligations for which the Debtors have been granted
   authority to pay pursuant to the PACA Order.
   The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
   other outstanding Claims on a post-petition basis, including but not limited to, insurance
   claims, employee wages, gift cards etc. Prepetition liabilities which have been paid post-
   petition have been excluded from the Schedules and Statements. To the extent the Debtors
   pay any of the claims listed in the Schedules and Statements pursuant to any orders entered
   by the Bankruptcy Court, the Debtors reserve all rights to amend and supplement the
   Schedules and Statements and take other action, such as filing claims objections, as is
   necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.
7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
   “insiders” to include the following: (a) directors; (b) board appointed officers; (c) equity
   holders holding in excess of 5% of the voting securities of the Debtor entities; (d)
   Debtor affiliates; and (e) relatives of any of the foregoing (to the extent known by the
   Debtors). Entities listed as “insiders” have been included for informational purposes
   and their inclusion shall not constitute an admission that those entities are insiders for
   purposes of section 101(31) of the Bankruptcy Code.
8. Intellectual Property Rights. The exclusion of any intellectual property shall not be
   construed as an admission that such intellectual property rights have been abandoned,
   terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
   sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
   property shall not be construed to be an admission that such intellectual property
   rights have not been abandoned, terminated, assigned, expired by their terms, or
   otherwise transferred pursuant to a sale, acquisition, or other transaction.
   In addition, although the Debtors have made diligent efforts to attribute intellectual
   property to the rightful Debtor entity, in certain instances, intellectual property owned by
   one Debtor may, in fact, be owned by another Debtor. Accordingly, the Debtors
   reserve all of their rights with respect to the legal status of any and all such intellectual
   property rights.
9. Executory Contracts and Unexpired Leases. The Debtors’ executory contracts and
   unexpired leases have been set forth in Schedule G. Although the Debtors made diligent
   attempts to attribute executory contracts and unexpired leases to their rightful Debtors,
   in certain instances, the Debtors may have inadvertently failed to do so due to the
   complexity and size of the Debtors’ businesses.


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   Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have
   not necessarily set forth executory contracts and unexpired leases as assets in the
   Schedules and Statements, even though these contracts and leases may have some
   value to the Debtors’ estates.
10. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements
    are presented without consideration of any materialman’s or mechanic’s liens.
11. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
    Schedule E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d)
    Schedule G as “executory” or “unexpired,” does not constitute an admission by the
    Debtors of the legal rights of the Claimant, or a waiver of the Debtors’ rights to
    recharacterize or reclassify such Claims or contracts or leases or to exercise their rights to
    setoff against such Claims.
12. Claims Description. Schedules D and E/F permit each Debtor to designate a Claim
    as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
    given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
    does not constitute an admission by that Debtor that such amount is not “disputed,”
    “contingent,” or “unliquidated,” or that such Claim is not subject to objection. Moreover,
    listing a Claim does not constitute an admission of liability by the Debtors.
13. Causes of Action. Despite their reasonable efforts to identify all known assets, the
    Debtors may not have listed all of their causes of action or potential causes of action
    against third-parties as assets in the Schedules and Statements, including, without
    limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
    Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers.
    The Debtors reserve all of their rights with respect to any cause of action (including
    avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or
    recoupment and any Claim on contracts or for breaches of duties imposed by law or in
    equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
    damage, judgment, account, defense, power, privilege, license, and franchise of any kind
    or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
    suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
    or unsecured, assertable directly or derivatively, whether arising before, on, or after
    the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other
    theory of law (collectively, “Causes of Action”) they may have, and neither these
    Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims or
    Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes
    of Action.
14. Summary of Significant Reporting Policies. The following is a summary of
    significant reporting policies:
               a.      Undetermined Amounts. The description of an amount
                       as “unknown” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules
                       and Statements represent totals of all known amounts.

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                        To the extent there are unknown or undetermined
                        amounts, the actual total may be different than the listed
                        total.
               c.       Liens. Property and equipment listed in the Schedules
                        and Statements are presented without consideration of
                        any liens that may attach (or have attached) to such
                        property and equipment.

15. Estimates and Assumptions. Because of the timing of the filings, management was
    required to make certain estimates and assumptions that affected the reported amounts
    of these assets and liabilities. Actual amounts could differ from those estimates, perhaps
    materially.
16. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
17. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary
    course of business. Offsets in the ordinary course can result from various items,
    including, without limitation, pricing discrepancies, returns, refunds, warranties, debit
    memos, credits, and other disputes between the Debtors and their suppliers and/or
    customers. These offsets and other similar rights are consistent with the ordinary course
    of business in the Debtors’ industry and are not tracked separately. Therefore, although
    such offsets and other similar rights may have been accounted for when certain
    amounts were included in the Schedules, offsets are not independently accounted for,
    and as such, are or may be excluded from the Debtors’ Schedules and Statements.
                    Specific Disclosures with Respect to the Debtors’ Schedules
Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtors’
assets as of N o v e m b e r 4 , 2 0 1 8 , unless otherwise noted below. Other than real property
leases reported on Schedule A/B 55, the Debtors have not included leases and contracts on
Schedule A/B. Leases and contracts are listed on Schedule G.

       Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
       as of N o v e m b e r 1 5 , 2 0 1 8 . Details with respect to the Debtors’ cash
       management system and bank accounts are provided in the Debtors’ Motion for Entry
       of Order (I) Authorizing the (A) Continued Use of Their Existing Cash Management
       System and (B) Use of Existing Bank Accounts and Business Forms; (II) Authorizing
       Payments of Prepetition Costs and Fees Associated with Customer Credit and Debit
       Card Transactions; (III) Waiving the Requirements of Section 345(B) of the
       Bankruptcy Code; and (IV) Granting Certain Related Relief [Docket No. 9] (the
       “Cash Management Motion”).
       Schedule A/B 7. The Bankruptcy Court, pursuant to the Final Order (I) Prohibiting
       Utility Providers from Altering, Refusing or Discontinuing Services, (II) Deeming
       Utility Providers Adequately Assured of Payment, (III) Establishing Procedures for
       Determining Additional Adequate Assurance of Payment, and (IV) Granting Related
       Relief [Docket No. 165], has authorized the Debtors to provide adequate assurance
       of payment for postpetition utility services, including a deposit in the amount of


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       $150,000.00. Such deposit is not listed on Schedule A/B 7, which was prepared as of
       the Petition Date.
       Schedule A/B 15. Ownership interests in subsidiaries have been listed in Schedules
       A/B 15 as an undetermined amount because the fair market value of such ownership
       is dependent on numerous variables and factors and likely differs significantly from
       their net book value.
       Schedule A/B 55. T he Debtors do not own any real property. The Debtors
       have listed their real property leases on Schedule A/B 55, including the value of any
       leasehold improvements.
       Schedule A/B 63. The Debtors maintain a customer database. The amount is listed
       as undetermined because the fair market value of such ownership cannot be
       determined.
       Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may
       have accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs,
       refunds, or warranty Claims. Additionally, certain of the Debtors may be a party to
       pending litigation in which the Debtors have asserted, or may assert, Claims as a
       plaintiff or counter-Claims as a defendant. Because such Claims are unknown to the
       Debtors and not quantifiable as of the Petition Date, they are not listed on Schedule
       A/B 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated claim
       held by the Debtors in response to these questions shall not constitute a waiver,
       release, relinquishment, or forfeiture of such claim.
Schedule D. The Claims listed on Schedule D arose or were incurred on various
dates; a determination of the date upon which each Claim arose or was incurred would
be unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.
Reference to the applicable loan agreements and related documents is necessary for a
complete description of the collateral and the nature, extent, and priority of liens. Nothing in
the Global Notes or the Schedules and Statements shall be deemed a modification or
interpretation of the terms of such agreements. Except as specifically stated on Schedule D,
real property lessors, utility companies, and other parties that may hold security deposits
have not been listed on Schedule D. Nothing herein shall be construed as an admission by
the Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify such Claim or contract.
Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
are secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien
rights.
Schedule E/F part 2. The Debtors have used reasonable efforts to report all general
unsecured Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’
books and records as of the Petition Date.
Determining the date upon which each Claim on Schedule E/F part 2 was incurred or
arose would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not
list a date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on


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Schedule E/F part 2 may have been aggregated by unique creditor name and remit to address
and may include several dates of incurrence for the aggregate balance listed.
Schedule E/F part 2 contains information regarding pending litigation involving the Debtors.
The dollar amount of potential Claims associated with any such pending litigation is listed as
“undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 also
includes potential or threatened litigation claims. Any information contained in Schedule E/F
part 2 with respect to such potential litigation shall not be a binding representation of the
Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.
The Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to
pending litigation listed in the Debtors’ Statements 7, as contingent, unliquidated, and
disputed claims, to the extent not already listed on Schedule E/F part 2.
Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in
connection with the assumption, or assumption and assignment, of executory contracts or
unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
may be rejected.
Schedule G. Certain information, such as the contact information of the counter-party, may
not be included where such information could not be obtained using the Debtors’ reasonable
efforts. Listing or omitting a contract or agreement on Schedule G does not constitute an
admission that such contract or agreement is or is not an executory contract or unexpired
lease, was in effect on the Petition Date, or is valid or enforceable. Certain of the leases and
contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
indemnifications, options to purchase, rights of first refusal, and other miscellaneous rights.
Such rights, powers, duties, and obligations are not set forth separately on Schedule G.
Certain confidentiality and non-disclosure agreements may not be listed on Schedule
G.

Certain of the contracts and agreements listed on Schedule G may consist of several
parts, including, purchase orders, amendments, restatements, waivers, letters, and other
documents that may not be listed on Schedule G or that may be listed as a single entry. In
some cases, the same supplier or provider appears multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and
such supplier or provider. The Debtors expressly reserve their rights to challenge whether
such related materials constitute an executory contract, a single contract or agreement, or
multiple, severable or separate contracts.
The contracts, agreements, and leases listed on Schedule G may have expired or may have
been modified, amended, or supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters, memoranda and other documents,
instruments, and agreements that may not be listed therein despite the Debtors’ use of
reasonable efforts to identify such documents. Further, unless otherwise specified on
Schedule G, each executory contract or unexpired lease listed thereon shall include all

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exhibits, schedules, riders, modifications, declarations, amendments, supplements,
attachments, restatements, or other agreements made directly or indirectly by any agreement,
instrument, or other document that in any manner affects such executory contract or
unexpired lease, without respect to whether such agreement, instrument, or other document is
listed thereon.
In addition, the Debtors may have entered into various other types of agreements in the
ordinary course of their businesses, such as subordination, nondisturbance, and attornment
agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
title agreements and confidentiality agreements. Such documents may not be set forth on
Schedule G. Certain of the executory agreements may not have been memorialized and could
be subject to dispute. Executory agreements that are oral in nature have not been included on
the Schedule G.
Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors
or guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H.
The Debtors may not have identified certain guarantees associated with the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments, and other such agreements.
In the ordinary course of their businesses, the Debtors may be involved in pending or
threatened litigation. These matters may involve multiple plaintiffs and defendants, some or
all of whom may assert cross-Claims and counter-Claims against other parties. Because the
Debtors have treated all such Claims as contingent, disputed, or unliquidated, such Claims
have not been set forth individually on Schedule H. Litigation matters can be found on
each Debtor’s Schedule E/F part 2 and Statement 7, as applicable.
                Specific Disclosures with Respect to the Debtors’ Statements
Statement 3. Statement 3 includes any disbursement or other transfer made by the
Debtors within 90 days before the Petition Date except for those made to insiders
(which payments appear in response to Statement question 4), employees, and bankruptcy
professionals (which payments appear in Statement 11 and include any retainers paid to
bankruptcy professionals). The amounts listed in Statement 3 reflect the Debtors’
disbursements netted against any check level detail; thus, to the extent a disbursement was
made to pay for multiple invoices, only one entry has been listed on Statement 3. All
disbursements listed on Statement 3 were made through the Debtors’ consolidated cash
management system maintained by Cafe Enterprises, Inc. and listed for that Debtor.
Statement 4. With respect to individuals, the amounts listed reflect the universe of payments
and transfers to such individuals including compensation, bonus (if any), expense
reimbursement, relocation reimbursement, and/or severance. Amounts paid on behalf of
such employee for certain life and disability coverage, which coverage is provided to all of
the Debtors’ employees, has not been included.
The Debtors have included all consulting and payroll distributions and aggregate travel,
entertainment, and other expense reimbursements, aggregated by date, made over the
twelve months preceding the Petition Date to any individual that may be deemed an “Insider.”
Statement 5. Statement 5 excludes goods returned in the ordinary course of
business.


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Statement 7. A ny information contained in Statement 7 shall not be a binding
representation of the Debtors’ liabilities with respect to any of the suits and proceedings
identified therein.
Statement 10. The Debtors occasionally incur losses for a variety of reasons, including
theft and property damage. The Debtors, however, may not have records of all such losses
if such losses do not have a material impact on the Debtors’ businesses or are not reported for
insurance purposes. The losses listed on Statement 10 are based on the estimated amounts
currently owed and are not intended to be an admission of the amounts owed.
Statement 11. The Debtors have included payments to all professionals who have
rendered any advice related the Debtors’ bankruptcy proceedings in Statement 11.
However, it is possible that the disclosed fees also relate to other, non-bankruptcy related
services, and may include services rendered to other parties.
Statement 13. In the ordinary course of business, the Debtors have entered into and made
settlement payments to vendors and landlords. The Debtors have excluded such settlement
payments from Statement 13.
Statement 26d. In addition to the parties listed on Statement 26d, t he Debtors have provided
financial statements in the ordinary course of their businesses to numerous financial
institutions, creditors, and other parties within two years immediately before the Petition Date.
Considering the number of such recipients and the possibility that such information may have
been shared with parties without the Debtors’ knowledge or consent or subject to
confidentiality agreements, the Debtors have not listed all parties that may have received
such financial statements for the purposes of Statement 26d.
Statement 27. The Debtors do not record inventory on a restaurant by restaurant basis.
Accordingly, all inventory is reported on a corporate level basis.
Statement 30. Unless otherwise indicated in a Debtor’s specific response to Statement 30,
the Debtors have included a comprehensive response to Statement 30 in Statement 4.




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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                                           amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                 12/15



 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                        $2,905,760.04



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                         $3,275,719.70



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                        $6,181,479.74



 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                   $11,698,584.13



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                     $1,936,157.93



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                                + $28,525,502.60




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................     $42,160,244.66




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                   Page 1 of 1
           Case 18-05838-hb              Doc 30       Filed 12/10/18 Entered 12/11/18 00:01:37                      Desc Main
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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                        ¨ Check if this is an
                                                                                                                                amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.



 Part 1:     Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
       ¨ No. Go to Part 2.
       þ Yes. Fill in the information below
       All cash or cash equivalents owned or controlled by the debtor                                                 Current value of
                                                                                                                      debtor’s interest

2.     Cash on hand
2.1.   LOCATION # 0001, WACCAMAW, SC                                                                                  $1,000.00

2.2.   LOCATION # 0004, GAFFNEY, SC                                                                                   $800.00

2.3.   LOCATION # 0005, EASLEY, SC                                                                                    $800.00

2.4.   LOCATION # 0007, GREENWOOD, SC                                                                                 $800.00

2.5.   LOCATION # 0009, FOREST DRIVE, SC                                                                              $800.00

2.6.   LOCATION # 0010, SENECA, SC                                                                                    $800.00

2.7.   LOCATION # 0011, HENDERSONVILLE, NC                                                                            $800.00

2.8.   LOCATION # 0012, GREER, SC                                                                                     $800.00

2.9.   LOCATION # 0013, BOILING SPRINGS, SC                                                                           $800.00

2.10. LOCATION # 0014, ORANGEBURG, SC                                                                                 $800.00

2.11. LOCATION # 0015, ASHEVILLE, NC                                                                                  $800.00

2.12. LOCATION # 0016, SHELBY, NC                                                                                     $1,200.00

2.13. LOCATION # 0018, LEXINGTON, SC                                                                                  $1,000.00

2.14. LOCATION # 0019, FOREST CITY, NC                                                                                $600.00

2.15. LOCATION # 0020, IRMO, SC                                                                                       $900.00

2.16. LOCATION # 0022, MORGANTON, NC                                                                                  $800.00


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                   Page 1 of 32
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2.17. LOCATION # 0023, GREENEVILLE, TN                                                                           $1,100.00

2.18. LOCATION # 0024, LINCOLNTON, NC                                                                            $800.00

2.19. LOCATION # 0025, FLORENCE, SC                                                                              $800.00

2.20. LOCATION # 0026, EVANS, GA                                                                                 $1,100.00

2.21. LOCATION # 0027, ROCK HILL, SC                                                                             $800.00

2.22. LOCATION # 0028, BRISTOL, TN                                                                               $800.00

2.23. LOCATION # 0029, WINDER, GA                                                                                $800.00

2.24. LOCATION # 0030, ROCKINGHAM, NC                                                                            $600.00

2.25. LOCATION # 0032, MARION, NC                                                                                $700.00

2.26. LOCATION # 0033, AIKEN, SC                                                                                 $1,000.00

2.27. LOCATION # 0034, ELIZABETHTON, TN                                                                          $800.00

2.28. LOCATION # 0035, ANDERSON, SC                                                                              $800.00

2.29. LOCATION # 0036, N CHARLESTON, SC                                                                          $800.00

2.30. LOCATION # 0037, KINGSPORT, TN                                                                             $800.00

2.31. LOCATION # 0038, CAMDEN, SC                                                                                $800.00

2.32. LOCATION # 0039, CLINTON, SC                                                                               $800.00

2.33. LOCATION # 0040, ATHENS, GA                                                                                $800.00

2.34. LOCATION # 0042, BLAIRSVILLE, GA                                                                           $1,000.00

2.35. LOCATION # 0043, DUBLIN, VA                                                                                $800.00

2.36. LOCATION # 0045, JASPER, GA                                                                                $1,000.00

2.37. LOCATION # 0046, CHERAW, SC                                                                                $1,000.00

2.38. LOCATION # 0049, FRANKLIN, NC                                                                              $800.00

2.39. LOCATION # 0050, LENOIR, NC                                                                                $800.00

3.       Checking, savings, money market, or financial brokerage accounts (Identify all)
         Name of institution (bank or brokerage firm)     Type of account        Last 4 digits of account number Current value of
                                                                                                                 debtor’s interest
3.1.     NBSC - NATIONAL BANK OF SOUTH                    CONCENTRATION          8001                             $51,009.65
         CAROLINA
3.2.     NBSC - NATIONAL BANK OF SOUTH                    ZBA                    2601                             $0.00
         CAROLINA
3.3.     NBSC - NATIONAL BANK OF SOUTH                    MANUAL LBW ACCOUNT     8091                             $0.00
         CAROLINA
3.4.     NBSC - NATIONAL BANK OF SOUTH                    MANUAL TAX ESCROW      1001                             $0.00
         CAROLINA                                         ACCOUNT
3.5.     NBSC - NATIONAL BANK OF SOUTH                    MANUAL STORE CAPITAL   8117                             $3,226.81
         CAROLINA                                         RENT ACCOUNT
3.6.     NBSC - NATIONAL BANK OF SOUTH                    UTILITY ACCOUNT        9508                             $0.00
         CAROLINA
3.7.     BB&T                                             DEPOSITORY ACCOUNT     8171                             $242.28
3.8.     BB&T                                             DEPOSITORY ACCOUNT     7254                             $15,189.27
3.9.     TD BANK                                          DEPOSITORY ACCOUNT     2229                             $3,712.14
3.10.    CITIZENS BANK                                    DEPOSITORY ACCOUNT     5050                             $2,378.26


Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                                 Page 2 of 32
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3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)       Type of account                 Last 4 digits of account number Current value of
                                                                                                                             debtor’s interest
3.11.     COMMUNITY FIRST                                    DEPOSITORY ACCOUNT              3581                               $1,435.28
3.12.     COUNTY BANK                                        DEPOSITORY ACCOUNT              9401                               $1,235.75
3.13.     CRESCOM BANK                                       DEPOSITORY ACCOUNT              0938                               $829.90
3.14.     ENTEGRA BANK                                       DEPOSITORY ACCOUNT              6057                               $1,432.69
3.15.     FIRST CITIZENS                                     DEPOSITORY ACCOUNT              0007                               $1,410.41
3.16.     FIRST NATIONAL BANK                                DEPOSITORY ACCOUNT              1518                               $2,353.82
3.17.     PEOPLE’S BANK                                      DEPOSITORY ACCOUNT              4911                               $2,527.64
3.18.     SOUTH BANK                                         DEPOSITORY ACCOUNT              5939                               $7,254.31
3.19.     UNITED COMMUNITY                                   DEPOSITORY ACCOUNT              7793                               $749.45
3.20.     UNION BANK                                         DEPOSITORY ACCOUNT              9449                               $590.50
3.21.     1ST BANK CHERAW                                    DEPOSITORY ACCOUNT              3952                               $1,120.69
3.22.     META BANK/MONEY NETWORK                            PAYROLL TRUST ACCOUNT           0013                               $0.00

4.        Other cash equivalents (Identify all)
          Description                 Name of institution              Type of account              Last 4 digits of account    Current value of
                                                                                                    number                      debtor’s interest
4.1.      _____________________ ________________________ _____________________ _____________________ $_______________

5.      Total of part 1
        Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                              $129,698.85



 Part 2:      Deposits and prepayments

6.      Does the debtor have any deposits or prepayments?
        ¨ No. Go to Part 3.
        þ Yes. Fill in the information below
7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit                                                                      Current value of
                                                                                                                                debtor’s interest

7.1.      TN TAX BOND FOR SALE OF ALCOHOLIC BEVERAGES                                                                           $10,400.00
          NORTH AMERICAN SPECIALTY INSURANCE COMPANY
          5200 METCALF AVE
          OVERLAND PARK KS 66202-1391

7.2.      UTILITY DEPOSIT                                                                                                       $37,372.14
          NORTH AMERICAN SPECIALTY INSURANCE COMPANY
          5200 METCALF AVE
          OVERLAND PARK KS 66202-1391

7.3.      LANDLORD                                                                                                              $9,712.50
          SUSO 3 DILL CREEK GP, LLC
          PO BOX 74185
          CLEVELAND OH 44194

7.4.      IMPREST HEALTH ACCOUNT                                                                                                $34,000.00
          UNITED HEALTH CARE
          185 ASYLUM STREET
          HARTFORD CT 6103

Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                            Page 3 of 32
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7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.5.     UTILITY DEPOSIT                                                                                  $5,000.00
         WASHINGTON INTERNATIONAL INSURANCE COMPANY
         475 N MARTINGALE RD
         #1200
         SCHAUMBURG IL 60173

7.6.     TN TAX BOND FOR SALE OF ALCOHOLIC BEVERAGES                                                      $10,700.00
         WASHINGTON INTERNATIONAL INSURANCE COMPANY
         475 N MARTINGALE RD
         #1200
         SCHAUMBURG IL 60173

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                              Current value of
                                                                                                          debtor’s interest
8.1.     D&O INSURANCE                                                                                    $39,170.75
         VALIDUS SPECIALITY

9.     Total of part 2
       Add lines 7 through 8. Copy the total to line 81.                                                       $146,355.39



 Part 3:      Accounts receivable

10.    Does the debtor have any accounts receivable?
       ¨ No. Go to Part 4.
       þ Yes. Fill in the information below.
                                                                                                           Current value of
                                                                                                           debtor’s interest

11.        Accounts receivable
                               Face amount          Doubtful or uncollectible
                                                    accounts

11a.       90 days old or      $245,099.33       - $0.00                        = ........ →               $245,099.33
           less:

                               Face amount          Doubtful or uncollectible
                                                    accounts

11b.       Over 90 days old:   $18,221.42        - $0.00                        = ........ →               $18,221.42

12.    Total of part 3
       Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                  $263,320.75



 Part 4:      Investments

13.    Does the debtor own any investments?
       ¨ No. Go to Part 5.
       þ Yes. Fill in the information below.



Official Form 206A/B                         Schedule A/B: Assets — Real and Personal Property                        Page 4 of 32
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                                                                                               Valuation method used   Current value of
                                                                                               for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                      _____________________ $________________

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses,
          including any interest in an LLC, partnership, or joint venture
          Name of entity                                                      % of ownership
15.1.     CE SPORTZ LLC                                                       100.00%          _____________________ UNDETERMINED

16.       Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part 1
          Describe
16.1.     __________________________________________________________________                   _____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                              UNDETERMINED



 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        ¨ No. Go to Part 6.
        þ Yes. Fill in the information below.
        General description              Date of the last physical   Net book value of         Valuation method used   Current value of
                                         inventory                   debtor's interest         for current value       debtor’s interest
                                                                     (Where available)
19.     Raw materials
19.1. MEAT                               11/4/2018                   $162,794.09               COST                    $162,794.09

19.2. GROCERY                            11/4/2018                   $213,646.68               COST                    $213,646.68

19.3. BREAD                              11/4/2018                   $33,100.28                COST                    $33,100.28

19.4. PRODUCE                            11/4/2018                   $43,940.83                COST                    $43,940.83

19.5. DAIRY                              11/4/2018                   $32,169.96                COST                    $32,169.96

19.6. DESSERT                            11/4/2018                   $37,717.59                COST                    $37,717.59

19.7. BEVERAGE                           11/4/2018                   $35,974.70                COST                    $35,974.70

19.8. BEER                               11/4/2018                   $79,973.99                COST                    $79,973.99

19.9. WINE                               11/4/2018                   $25,512.78                COST                    $25,512.78

19.10.LIQUOR                             11/4/2018                   $70,992.44                COST                    $70,992.44

19.11.BAR SUPPLIES                       11/4/2018                   $13,526.98                COST                    $13,526.98

20.       Work in progress
20.1.     ________________________ _____________________ $___________________                  _____________________ $_______________

21.       Finished goods, including goods held for resale
21.1.     ________________________ _____________________ $___________________                  _____________________ $_______________




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                  Page 5 of 32
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22.       Other inventory or supplies
          General description              Date of the last physical Net book value of          Valuation method used    Current value of
                                           inventory                 debtor's interest          for current value        debtor’s interest
22.1.     MISCELLANEOUS                    11/4/2018                 $72,578.68                 COST                     $72,578.68

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                                  $821,929.00

24.     Is any of the property listed in Part 5 perishable?
        ¨ No
        þ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        þ Yes Book value: $1,001,312.20 Valuation method: COST Current value: $1,001,312.20
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
        General description                                                 Net book value of     Valuation method      Current value of
                                                                            debtor's interest     used for current      debtor’s interest
                                                                            (Where available)     value

28.     Crops—either planted or harvested
28.1. ____________________________________________________                  $________________     __________________ $________________

29.       Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.     ___________________________________________________               $_______________       _________________     $_______________

30.       Farm machinery and equipment (Other than titled motor vehicles)
30.1.     ___________________________________________________               $_______________       _________________     $_______________

31.       Farm and fishing supplies, chemicals, and feed
31.1.     ___________________________________________________               $_______________       _________________     $_______________

32.       Other farming and fishing-related property not already listed in Part 6
32.1.     ___________________________________________________               $_______________       _________________     $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                     $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                    Page 6 of 32
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35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.
         General description                                          Net book value of   Valuation method       Current value of
                                                                      debtor's interest   used for current       debtor’s interest
                                                                      (Where available)   value

39.      Office furniture
39.1.    OWNED - LOCATION # 0001, WACCAMAW, SC                        $23.73              Net Book Value         $23.73

39.2.    OWNED - LOCATION # 0004, GAFFNEY, SC                         $1,130.14           Net Book Value         $1,130.14

39.3.    OWNED - LOCATION # 0005, EASLEY, SC                          $77.75              Net Book Value         $77.75

39.4.    OWNED - LOCATION # 0007, GREENWOOD, SC                       $352.05             Net Book Value         $352.05

39.5.    OWNED - LOCATION # 0008, SOUTHPORT, SC                       $134.22             Net Book Value         $134.22

39.6.    OWNED - LOCATION # 0009, FOREST DRIVE, SC                    $77.75              Net Book Value         $77.75

39.7.    OWNED - LOCATION # 0010, SENECA, SC                          $1,438.62           Net Book Value         $1,438.62

39.8.    OWNED - LOCATION # 0011, HENDERSONVILLE, NC                  $134.22             Net Book Value         $134.22

39.9.    OWNED - LOCATION # 0012, GREER, SC                           $1,836.31           Net Book Value         $1,836.31

39.10. OWNED - LOCATION # 0013, BOILING SPRINGS, SC                   $485.76             Net Book Value         $485.76

39.11. OWNED - LOCATION # 0014, ORANGEBURG, SC                        $264.32             Net Book Value         $264.32

39.12. OWNED - LOCATION # 0015, ASHEVILLE, NC                         $3,901.46           Net Book Value         $3,901.46

39.13. OWNED - LOCATION # 0016, SHELBY, NC                            $1,383.52           Net Book Value         $1,383.52

39.14. OWNED - LOCATION # 0018, LEXINGTON, SC                         $39,379.52          Net Book Value         $39,379.52

39.15. OWNED - LOCATION # 0019, FOREST CITY, NC                       $306.52             Net Book Value         $306.52

39.16. OWNED - LOCATION # 0020, IRMO, SC                              $690.79             Net Book Value         $690.79

39.17. OWNED - LOCATION # 0022, MORGANTON, NC                         $77.75              Net Book Value         $77.75

39.18. OWNED - LOCATION # 0023, GREENEVILLE, TN                       $77.75              Net Book Value         $77.75

39.19. OWNED - LOCATION # 0024, LINCOLNTON, NC                        $77.76              Net Book Value         $77.76

39.20. OWNED - LOCATION # 0025, FLORENCE, SC                          $105.50             Net Book Value         $105.50

39.21. OWNED - LOCATION # 0026, EVANS, GA                             $677.45             Net Book Value         $677.45

39.22. OWNED - LOCATION # 0027, ROCK HILL, SC                         $77.76              Net Book Value         $77.76


Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                                Page 7 of 32
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39.23. OWNED - LOCATION # 0028, BRISTOL, TN                       $1,200.09           Net Book Value       $1,200.09

39.24. OWNED - LOCATION # 0029, WINDER, GA                        $77.76              Net Book Value       $77.76

39.25. OWNED - LOCATION # 0030, ROCKINGHAM, NC                    $77.76              Net Book Value       $77.76

39.26. OWNED - LOCATION # 0032, MARION, NC                        $77.76              Net Book Value       $77.76

39.27. OWNED - LOCATION # 0033, AIKEN, SC                         $77.76              Net Book Value       $77.76

39.28. OWNED - LOCATION # 0034, ELIZABETHTON, TN                  $77.76              Net Book Value       $77.76

39.29. OWNED - LOCATION # 0035, ANDERSON, SC                      $77.76              Net Book Value       $77.76

39.30. OWNED - LOCATION # 0037, KINGSPORT, TN                     $687.09             Net Book Value       $687.09

39.31. OWNED - LOCATION # 0038, CAMDEN, SC                        $485.65             Net Book Value       $485.65

39.32. OWNED - LOCATION # 0039, CLINTON, SC                       $77.76              Net Book Value       $77.76

39.33. OWNED - LOCATION # 0040, ATHENS, GA                        $386.15             Net Book Value       $386.15

39.34. OWNED - LOCATION # 0042, BLAIRSVILLE, GA                   $292.90             Net Book Value       $292.90

39.35. OWNED - LOCATION # 0043, DUBLIN, VA                        $638.96             Net Book Value       $638.96

39.36. OWNED - LOCATION # 0045, JASPER, GA                        $333.54             Net Book Value       $333.54

39.37. OWNED - LOCATION # 0046, CHERAW, SC                        $1,038.10           Net Book Value       $1,038.10

39.38. OWNED - LOCATION # 0049, FRANKLIN, NC                      $3,828.79           Net Book Value       $3,828.79

39.39. OWNED - LOCATION # 0050, LENOIR, NC                        $1,783.77           Net Book Value       $1,783.77

39.40. OWNED - CORPORATE OFFICE                                   $9,119.84           Net Book Value       $9,119.84

40.      Office fixtures
40.1.    ___________________________________________________      $_______________    _________________    $_______________

41.      Office equipment, including all computer equipment and
         communication systems equipment and software

                                                                  Net book value of   Valuation method     Current value of
                                                                  debtor's interest   used for current     debtor’s interest
                                                                                      value

41.1.    OWNED - LOCATION # 0001, WACCAMAW, SC                    $559.04             Net Book Value       $559.04

41.2.    OWNED - LOCATION # 0004, GAFFNEY, SC                     $559.04             Net Book Value       $559.04

41.3.    OWNED - LOCATION # 0005, EASLEY, SC                      $478.26             Net Book Value       $478.26

41.4.    OWNED - LOCATION # 0007, GREENWOOD, SC                   $601.85             Net Book Value       $601.85

41.5.    OWNED - LOCATION # 0008, SOUTHPORT, SC                   $559.04             Net Book Value       $559.04

41.6.    OWNED - LOCATION # 0009, FOREST DRIVE, SC                $589.14             Net Book Value       $589.14

41.7.    OWNED - LOCATION # 0010, SENECA, SC                      $559.04             Net Book Value       $559.04

41.8.    OWNED - LOCATION # 0011, HENDERSONVILLE, NC              $619.24             Net Book Value       $619.24

41.9.    OWNED - LOCATION # 0012, GREER, SC                       $478.26             Net Book Value       $478.26

41.10. OWNED - LOCATION # 0013, BOILING SPRINGS, SC               $559.04             Net Book Value       $559.04

41.11. OWNED - LOCATION # 0014, ORANGEBURG, SC                    $589.14             Net Book Value       $589.14

41.12. OWNED - LOCATION # 0015, ASHEVILLE, NC                     $619.24             Net Book Value       $619.24

41.13. OWNED - LOCATION # 0016, SHELBY, NC                        $336.70             Net Book Value       $336.70

41.14. OWNED - LOCATION # 0018, LEXINGTON, SC                     $589.14             Net Book Value       $589.14

41.15. OWNED - LOCATION # 0019, FOREST CITY, NC                   $336.70             Net Book Value       $336.70

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41.       Office equipment, including all computer equipment and
          communication systems equipment and software

                                                                           Net book value of   Valuation method     Current value of
                                                                           debtor's interest   used for current     debtor’s interest
                                                                                               value

41.16. OWNED - LOCATION # 0020, IRMO, SC                                   $589.14             Net Book Value       $589.14

41.17. OWNED - LOCATION # 0022, MORGANTON, NC                              $564.00             Net Book Value       $564.00

41.18. OWNED - LOCATION # 0023, GREENEVILLE, TN                            $610.57             Net Book Value       $610.57

41.19. OWNED - LOCATION # 0024, LINCOLNTON, NC                             $478.26             Net Book Value       $478.26

41.20. OWNED - LOCATION # 0025, FLORENCE, SC                               $570.13             Net Book Value       $570.13

41.21. OWNED - LOCATION # 0026, EVANS, GA                                  $589.14             Net Book Value       $589.14

41.22. OWNED - LOCATION # 0027, ROCK HILL, SC                              $564.00             Net Book Value       $564.00

41.23. OWNED - LOCATION # 0028, BRISTOL, TN                                $610.57             Net Book Value       $610.57

41.24. OWNED - LOCATION # 0029, WINDER, GA                                 $603.60             Net Book Value       $603.60

41.25. OWNED - LOCATION # 0030, ROCKINGHAM, NC                             $601.85             Net Book Value       $601.85

41.26. OWNED - LOCATION # 0032, MARION, NC                                 $564.00             Net Book Value       $564.00

41.27. OWNED - LOCATION # 0033, AIKEN, SC                                  $589.14             Net Book Value       $589.14

41.28. OWNED - LOCATION # 0034, ELIZABETHTON, TN                           $610.57             Net Book Value       $610.57

41.29. OWNED - LOCATION # 0035, ANDERSON, SC                               $559.04             Net Book Value       $559.04

41.30. OWNED - LOCATION # 0037, KINGSPORT, TN                              $610.57             Net Book Value       $610.57

41.31. OWNED - LOCATION # 0038, CAMDEN, SC                                 $570.13             Net Book Value       $570.13

41.32. OWNED - LOCATION # 0039, CLINTON, SC                                $601.85             Net Book Value       $601.85

41.33. OWNED - LOCATION # 0040, ATHENS, GA                                 $603.60             Net Book Value       $603.60

41.34. OWNED - LOCATION # 0042, BLAIRSVILLE, GA                            $603.60             Net Book Value       $603.60

41.35. OWNED - LOCATION # 0043, DUBLIN, VA                                 $610.57             Net Book Value       $610.57

41.36. OWNED - LOCATION # 0045, JASPER, GA                                 $603.60             Net Book Value       $603.60

41.37. OWNED - LOCATION # 0046, CHERAW, SC                                 $601.85             Net Book Value       $601.85

41.38. OWNED - LOCATION # 0049, FRANKLIN, NC                               $619.24             Net Book Value       $619.24

41.39. OWNED - LOCATION # 0050, LENOIR, NC                                 $956.52             Net Book Value       $956.52

41.40. OWNED - UNALLOCATED LOCATIONS                                       $52,229.12          Net Book Value       $52,229.12

41.41. OWNED - CORPORATE OFFICE                                            $33,469.86          Net Book Value       $33,469.86

42.       Collectibles. Examples: Antiques and figurines; paintings, prints, or other
          artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
          or baseball card collections; other collections, memorabilia, or collectibles
42.1.     ___________________________________________________              $_______________    _________________    $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                             $181,267.24

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes

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45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
         General description                                                 Net book value of   Valuation method     Current value of
         Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current     debtor’s interest
         HIN, or N-number)                                                   (Where available)   value
                                                                             (Where available)
47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.    2011 HONDA SUV PILOT, 5FNYF3H41BB001124                             $2,048.64           Net Book Value       $2,048.64

48.      Watercraft, trailers, motors, and related accessories. Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.    ___________________________________________________                 $_______________    _________________    $_______________

49.      Aircraft and accessories
49.1.    ___________________________________________________                 $_______________    _________________    $_______________

50.      Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.    MISC FIXTURES & EQUIPMENT - LOCATION # 0001,                        $20,770.18          Net Book Value       $20,770.18
         WACCAMAW, SC
50.2.    MISC FIXTURES & EQUIPMENT - LOCATION # 0004,                        $22,832.17          Net Book Value       $22,832.17
         GAFFNEY, SC
50.3.    MISC FIXTURES & EQUIPMENT - LOCATION # 0005, EASLEY,                $20,205.10          Net Book Value       $20,205.10
         SC
50.4.    MISC FIXTURES & EQUIPMENT - LOCATION # 0007,                        $47,350.65          Net Book Value       $47,350.65
         GREENWOOD, SC
50.5.    MISC FIXTURES & EQUIPMENT - LOCATION # 0008,                        $18,257.34          Net Book Value       $18,257.34
         SOUTHPORT, SC
50.6.    MISC FIXTURES & EQUIPMENT - LOCATION # 0009, FOREST                 $38,555.50          Net Book Value       $38,555.50
         DRIVE, SC
50.7.    MISC FIXTURES & EQUIPMENT - LOCATION # 0010, SENECA,                $47,209.25          Net Book Value       $47,209.25
         SC
50.8.    MISC FIXTURES & EQUIPMENT - LOCATION # 0011,                        $36,294.10          Net Book Value       $36,294.10
         HENDERSONVILLE, NC
50.9.    MISC FIXTURES & EQUIPMENT - LOCATION # 0012, GREER,                 $47,705.09          Net Book Value       $47,705.09
         SC
50.10. MISC FIXTURES & EQUIPMENT - LOCATION # 0013, BOILING                  $45,462.09          Net Book Value       $45,462.09
       SPRINGS, SC
50.11. MISC FIXTURES & EQUIPMENT - LOCATION # 0014,                          $54,491.77          Net Book Value       $54,491.77
       ORANGEBURG, SC
50.12. MISC FIXTURES & EQUIPMENT - LOCATION # 0015,                          $52,716.84          Net Book Value       $52,716.84
       ASHEVILLE, NC
50.13. MISC FIXTURES & EQUIPMENT - LOCATION # 0016, SHELBY,                  $29,258.08          Net Book Value       $29,258.08
       NC
50.14. MISC FIXTURES & EQUIPMENT - LOCATION # 0018,                          $214,193.18         Net Book Value       $214,193.18
       LEXINGTON, SC

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50.15. MISC FIXTURES & EQUIPMENT - LOCATION # 0019, FOREST    $20,297.67        Net Book Value      $20,297.67
       CITY, NC
50.16. MISC FIXTURES & EQUIPMENT - LOCATION # 0020, IRMO, SC $27,587.54         Net Book Value      $27,587.54
50.17. MISC FIXTURES & EQUIPMENT - LOCATION # 0022,           $31,020.51        Net Book Value      $31,020.51
       MORGANTON, NC
50.18. MISC FIXTURES & EQUIPMENT - LOCATION # 0023,           $22,727.35        Net Book Value      $22,727.35
       GREENEVILLE, TN
50.19. MISC FIXTURES & EQUIPMENT - LOCATION # 0024,           $21,032.98        Net Book Value      $21,032.98
       LINCOLNTON, NC
50.20. MISC FIXTURES & EQUIPMENT - LOCATION # 0025,           $34,720.84        Net Book Value      $34,720.84
       FLORENCE, SC
50.21. MISC FIXTURES & EQUIPMENT - LOCATION # 0026, EVANS,    $17,159.00        Net Book Value      $17,159.00
       GA
50.22. MISC FIXTURES & EQUIPMENT - LOCATION # 0027, ROCK      $24,783.19        Net Book Value      $24,783.19
       HILL, SC
50.23. MISC FIXTURES & EQUIPMENT - LOCATION # 0028, BRISTOL, $8,870.21          Net Book Value      $8,870.21
       TN
50.24. MISC FIXTURES & EQUIPMENT - LOCATION # 0029, WINDER,   $2,539.46         Net Book Value      $2,539.46
       GA
50.25. MISC FIXTURES & EQUIPMENT - LOCATION # 0030,           $22,074.46        Net Book Value      $22,074.46
       ROCKINGHAM, NC
50.26. MISC FIXTURES & EQUIPMENT - LOCATION # 0032, MARION,   $22,713.02        Net Book Value      $22,713.02
       NC
50.27. MISC FIXTURES & EQUIPMENT - LOCATION # 0033, AIKEN,    $26,730.70        Net Book Value      $26,730.70
       SC
50.28. MISC FIXTURES & EQUIPMENT - LOCATION # 0034,           $24,708.02        Net Book Value      $24,708.02
       ELIZABETHTON, TN
50.29. MISC FIXTURES & EQUIPMENT - LOCATION # 0035,           $35,086.22        Net Book Value      $35,086.22
       ANDERSON, SC
50.30. MISC FIXTURES & EQUIPMENT - LOCATION # 0037,           $26,720.83        Net Book Value      $26,720.83
       KINGSPORT, TN
50.31. MISC FIXTURES & EQUIPMENT - LOCATION # 0038, CAMDEN, $34,812.11          Net Book Value      $34,812.11
       SC
50.32. MISC FIXTURES & EQUIPMENT - LOCATION # 0039, CLINTON, $57,832.86         Net Book Value      $57,832.86
       SC
50.33. MISC FIXTURES & EQUIPMENT - LOCATION # 0040, ATHENS,   $35,658.05        Net Book Value      $35,658.05
       GA
50.34. MISC FIXTURES & EQUIPMENT - LOCATION # 0042,           $15,457.47        Net Book Value      $15,457.47
       BLAIRSVILLE, GA
50.35. MISC FIXTURES & EQUIPMENT - LOCATION # 0043, DUBLIN,   $41,498.97        Net Book Value      $41,498.97
       VA
50.36. MISC FIXTURES & EQUIPMENT - LOCATION # 0045, JASPER,   $27,109.68        Net Book Value      $27,109.68
       GA
50.37. MISC FIXTURES & EQUIPMENT - LOCATION # 0046,           $27,911.00        Net Book Value      $27,911.00
       CHERAW, SC
50.38. MISC FIXTURES & EQUIPMENT - LOCATION # 0049,           $67,011.41        Net Book Value      $67,011.41
       FRANKLIN, NC
50.39. MISC FIXTURES & EQUIPMENT - LOCATION # 0050, LENOIR,   $32,769.45        Net Book Value      $32,769.45
       NC
50.40. MISC FIXTURES & EQUIPMENT - UNALLOCATED STORES         $214,589.31       Net Book Value      $214,589.31
50.41. MISC FIXTURES & EQUIPMENT - CORPORATE OFFICE           $109,992.18       Net Book Value      $109,992.18


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51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                 $1,730,764.47

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
          Description and location of property                  Nature and          Net book value      Valuation          Current value of
          Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
          Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,            in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.     LOCATION # 0010                                       LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
                                                                IMPROVEMENTS
          SENECA, SC - LEASEHOLD IMPROVEMENTS
          FATZ
          1615 SANDIFER BLVD.
          SENECA SC 29678

55.2.     LOCATION # 0013                                       LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
                                                                IMPROVEMENTS
          BOILING SPRINGS, SC - LEASEHOLD
          IMPROVEMENTS
          FATZ
          1925 BOILING SPRINGS RD.
          SPARTANBURG SC 29316

55.3.     CORPORATE OFFICE                                      LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
                                                                IMPROVEMENTS
          LEASEHOLD IMPROVEMENTS
          CAFE ENTERPRISES, INC.
          4324 WADE HAMPTON BLVD
          STE B
          TAYLORS SC 29687

55.4.     LOCATION # 0001                                       LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
          WACCAMAW, SC - LEASE
          FATZ
          6750 POTTERY RD.
          SPARTANBURG SC 29303

55.5.     LOCATION # 0001                                       LEASEHOLD           $43,270.75          Net Book Value     $43,270.75
                                                                IMPROVEMENTS
          WACCAMAW, SC - LEASEHOLD IMPROVEMENTS
          FATZ
          6750 POTTERY RD.
          SPARTANBURG SC 29303




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.6.    LOCATION # 0004                                       LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         GAFFNEY, SC - LEASE
         FATZ
         294 PEACHOID RD.
         GAFFNEY SC 29341

55.7.    LOCATION # 0004                                       LEASEHOLD           $40,997.47          Net Book Value     $40,997.47
                                                               IMPROVEMENTS
         GAFFNEY, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         294 PEACHOID RD.
         GAFFNEY SC 29341

55.8.    LOCATION # 0005                                       LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         EASLEY, SC - LEASE
         FATZ
         5051 CALHOUN MEMORIAL HWY.
         EASLEY SC 29640

55.9.    LOCATION # 0005                                       LEASEHOLD           $139,405.66         Net Book Value     $139,405.66
                                                               IMPROVEMENTS
         EASLEY, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         5051 CALHOUN MEMORIAL HWY.
         EASLEY SC 29640

55.10. LOCATION # 0007                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         GREENWOOD, SC - LEASE
         FATZ
         1302 MONTAGUE AVE. EXT.
         GREENWOOD SC 29649

55.11. LOCATION # 0007                                         LEASEHOLD           $59,696.59          Net Book Value     $59,696.59
                                                               IMPROVEMENTS
         GREENWOOD, SC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         1302 MONTAGUE AVE. EXT.
         GREENWOOD SC 29649

55.12. LOCATION # 0008                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         SOUTHPORT, SC - LEASE
         FATZ
         100 SOUTHPORT RD.
         SPARTANBURG SC 29306

55.13. LOCATION # 0009                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         FOREST DRIVE, SC - LEASE
         FATZ
         5590 FOREST DR.
         COLUMBIA SC 29206




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.14. LOCATION # 0009                                         LEASEHOLD           $34,779.38          Net Book Value     $34,779.38
                                                               IMPROVEMENTS
         FOREST DRIVE, SC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         5590 FOREST DR.
         COLUMBIA SC 29206

55.15. LOCATION # 0010                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         SENECA, SC - LEASE
         FATZ
         1615 SANDIFER BLVD.
         SENECA SC 29678

55.16. LOCATION # 0011                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         HENDERSONVILLE, NC - LEASE
         FATZ
         110 HENDERSON CROSSING
         HENDERSONVILLE NC 28792

55.17. LOCATION # 0011                                         LEASEHOLD           $28,491.22          Net Book Value     $28,491.22
                                                               IMPROVEMENTS
         HENDERSONVILLE, NC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         110 HENDERSON CROSSING
         HENDERSONVILLE NC 28792

55.18. LOCATION # 0012                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         GREER, SC - LEASE
         FATZ
         1361 W. WADE HAMPTON BLVD. STE. A
         GREER SC 29650

55.19. LOCATION # 0012                                         LEASEHOLD           $32,362.65          Net Book Value     $32,362.65
                                                               IMPROVEMENTS
         GREER, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         1361 W. WADE HAMPTON BLVD. STE. A
         GREER SC 29650

55.20. LOCATION # 0013                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         BOILING SPRINGS, SC - LEASE
         FATZ
         1925 BOILING SPRINGS RD.
         SPARTANBURG SC 29316

55.21. LOCATION # 0014                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ORANGEBURG, SC - LEASE
         FATZ
         3575 ST. MATTHEWS RD.
         ORANGEBURG SC 29118




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.22. LOCATION # 0014                                         LEASEHOLD           $48,636.62          Net Book Value     $48,636.62
                                                               IMPROVEMENTS
         ORANGEBURG, SC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         3575 ST. MATTHEWS RD.
         ORANGEBURG SC 29118

55.23. LOCATION # 0015                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ASHEVILLE, NC - LEASE
         FATZ
         5 SPARTAN AVE.
         ASHEVILLE NC 28806

55.24. LOCATION # 0015                                         LEASEHOLD           $240,961.82         Net Book Value     $240,961.82
                                                               IMPROVEMENTS
         ASHEVILLE, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         5 SPARTAN AVE.
         ASHEVILLE NC 28806

55.25. LOCATION # 0016                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         SHELBY, NC - LEASE
         FATZ
         1235 E. DIXON BLVD.
         SHELBY NC 28152

55.26. LOCATION # 0016                                         LEASEHOLD           $70,053.04          Net Book Value     $70,053.04
                                                               IMPROVEMENTS
         SHELBY, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         1235 E. DIXON BLVD.
         SHELBY NC 28152

55.27. LOCATION # 0018                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         LEXINGTON, SC - LEASE
         FATZ
         942 EAST MAIN STREET
         LEXINGTON SC 29072

55.28. LOCATION # 0018                                         LEASEHOLD           $473,961.40         Net Book Value     $473,961.40
                                                               IMPROVEMENTS
         LEXINGTON, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         942 EAST MAIN STREET
         LEXINGTON SC 29072

55.29. LOCATION # 0019                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         FOREST CITY, NC - LEASE
         FATZ
         118 HILL TOP WAY
         FOREST CITY NC 28043




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.30. LOCATION # 0019                                         LEASEHOLD           $52,527.25          Net Book Value     $52,527.25
                                                               IMPROVEMENTS
         FOREST CITY, NC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         118 HILL TOP WAY
         FOREST CITY NC 28043

55.31. LOCATION # 0020                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         IRMO, SC - LEASE
         FATZ
         7420 BROAD RIVER ROAD
         IRMO SC 29063

55.32. LOCATION # 0020                                         LEASEHOLD           $64,869.78          Net Book Value     $64,869.78
                                                               IMPROVEMENTS
         IRMO, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         7420 BROAD RIVER ROAD
         IRMO SC 29063

55.33. LOCATION # 0022                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         MORGANTON, NC - LEASE
         FATZ
         2111 S. STERLING STREET
         MORGANTON NC 28655

55.34. LOCATION # 0022                                         LEASEHOLD           $36,243.77          Net Book Value     $36,243.77
                                                               IMPROVEMENTS
         MORGANTON, NC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         2111 S. STERLING STREET
         MORGANTON NC 28655

55.35. LOCATION # 0023                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         GREENEVILLE, TN - LEASE
         FATZ
         3140 E. ANDREW JOHNSON HWY.
         GREENEVILLE TN 37745

55.36. LOCATION # 0023                                         LEASEHOLD           $40,785.56          Net Book Value     $40,785.56
                                                               IMPROVEMENTS
         GREENEVILLE, TN - LEASEHOLD
         IMPROVEMENTS
         FATZ
         3140 E. ANDREW JOHNSON HWY.
         GREENEVILLE TN 37745

55.37. LOCATION # 0024                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         LINCOLNTON, NC - LEASE
         FATZ
         1430 E. MAIN ST.
         LINCOLNTON NC 28092



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Debtor    CAFE ENTERPRISES, INC.                                                                             Case number (if known) 18-05838

         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.38. LOCATION # 0024                                         LEASEHOLD           $63,243.07          Net Book Value     $63,243.07
                                                               IMPROVEMENTS
         LINCOLNTON, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         1430 E. MAIN ST.
         LINCOLNTON NC 28092

55.39. LOCATION # 0025                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         FLORENCE, SC - LEASE
         FATZ
         2007 W. LUCAS ST.
         FLORENCE SC 29501

55.40. LOCATION # 0025                                         LEASEHOLD           $91,682.81          Net Book Value     $91,682.81
                                                               IMPROVEMENTS
         FLORENCE, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         2007 W. LUCAS ST.
         FLORENCE SC 29501

55.41. LOCATION # 0026                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         EVANS, GA - LEASE
         FATZ
         464 N. BELAIR RD.
         EVANS GA 30809

55.42. LOCATION # 0026                                         LEASEHOLD           $74,589.08          Net Book Value     $74,589.08
                                                               IMPROVEMENTS
         EVANS, GA - LEASEHOLD IMPROVEMENTS
         FATZ
         464 N. BELAIR RD.
         EVANS GA 30809

55.43. LOCATION # 0027                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ROCK HILL, SC - LEASE
         FATZ
         478 S. HERLONG AVE.
         ROCK HILL SC 29732

55.44. LOCATION # 0027                                         LEASEHOLD           $104,788.64         Net Book Value     $104,788.64
                                                               IMPROVEMENTS
         ROCK HILL, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         478 S. HERLONG AVE.
         ROCK HILL SC 29732

55.45. LOCATION # 0028                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         BRISTOL, TN - LEASE
         FATZ
         1175 VOLUNTEER PKWY.
         BRISTOL TN 37620




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Debtor    CAFE ENTERPRISES, INC.                                                                             Case number (if known) 18-05838

         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.46. LOCATION # 0028                                         LEASEHOLD           $73,715.42          Net Book Value     $73,715.42
                                                               IMPROVEMENTS
         BRISTOL, TN - LEASEHOLD IMPROVEMENTS
         FATZ
         1175 VOLUNTEER PKWY.
         BRISTOL TN 37620

55.47. LOCATION # 0029                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         WINDER, GA - LEASE
         FATZ
         442 ATLANTA HWY. NW
         WINDER GA 30680

55.48. LOCATION # 0029                                         LEASEHOLD           $22,441.17          Net Book Value     $22,441.17
                                                               IMPROVEMENTS
         WINDER, GA - LEASEHOLD IMPROVEMENTS
         FATZ
         442 ATLANTA HWY. NW
         WINDER GA 30680

55.49. LOCATION # 0030                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ROCKINGHAM, NC - LEASE
         FATZ
         714 US HWY. 74 BUS. E.
         ROCKINGHAM NC 28379

55.50. LOCATION # 0030                                         LEASEHOLD           $57,774.14          Net Book Value     $57,774.14
                                                               IMPROVEMENTS
         ROCKINGHAM, NC - LEASEHOLD
         IMPROVEMENTS
         FATZ
         714 US HWY. 74 BUS. E.
         ROCKINGHAM NC 28379

55.51. LOCATION # 0032                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         MARION, NC - LEASE
         FATZ
         390 US 70 WEST
         MARION NC 28752

55.52. LOCATION # 0032                                         LEASEHOLD           $37,586.32          Net Book Value     $37,586.32
                                                               IMPROVEMENTS
         MARION, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         390 US 70 WEST
         MARION NC 28752

55.53. LOCATION # 0033                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         AIKEN, SC - LEASE
         FATZ
         996 PINE LOG RD.
         AIKEN SC 29803




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.54. LOCATION # 0033                                         LEASEHOLD           $77,313.81          Net Book Value     $77,313.81
                                                               IMPROVEMENTS
         AIKEN, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         996 PINE LOG RD.
         AIKEN SC 29803

55.55. LOCATION # 0034                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ELIZABETHTON, TN - LEASE
         FATZ
         980 OVER MOUNTAIN DR.
         ELIZABETHTON TN 37643

55.56. LOCATION # 0034                                         LEASEHOLD           $63,416.51          Net Book Value     $63,416.51
                                                               IMPROVEMENTS
         ELIZABETHTON, TN - LEASEHOLD
         IMPROVEMENTS
         FATZ
         980 OVER MOUNTAIN DR.
         ELIZABETHTON TN 37643

55.57. LOCATION # 0035                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ANDERSON, SC - LEASE
         FATZ
         105 INTERSTATE BLVD.
         ANDERSON SC 29621

55.58. LOCATION # 0035                                         LEASEHOLD           $69,915.02          Net Book Value     $69,915.02
                                                               IMPROVEMENTS
         ANDERSON, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         105 INTERSTATE BLVD.
         ANDERSON SC 29621

55.59. LOCATION # 0037                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         KINGSPORT, TN - LEASE
         FATZ
         2610 W. STONE DR.
         KINGSPORT TN 37660

55.60. LOCATION # 0037                                         LEASEHOLD           $72,837.43          Net Book Value     $72,837.43
                                                               IMPROVEMENTS
         KINGSPORT, TN - LEASEHOLD IMPROVEMENTS
         FATZ
         2610 W. STONE DR.
         KINGSPORT TN 37660

55.61. LOCATION # 0038                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         CAMDEN, SC - LEASE
         FATZ
         212 WALL STREET
         CAMDEN SC 29020




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.62. LOCATION # 0038                                         LEASEHOLD           $100,721.66         Net Book Value     $100,721.66
                                                               IMPROVEMENTS
         CAMDEN, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         212 WALL STREET
         CAMDEN SC 29020

55.63. LOCATION # 0039                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         CLINTON, SC - LEASE
         FATZ
         179 EAST CORPORATE CENTER DR.
         CLINTON SC 29325

55.64. LOCATION # 0039                                         LEASEHOLD           $74,218.47          Net Book Value     $74,218.47
                                                               IMPROVEMENTS
         CLINTON, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         179 EAST CORPORATE CENTER DR.
         CLINTON SC 29325

55.65. LOCATION # 0040                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         ATHENS, GA - LEASE
         FATZ
         4115 LEXINGTON RD.
         ATHENS GA 30605

55.66. LOCATION # 0040                                         LEASEHOLD           $132,863.24         Net Book Value     $132,863.24
                                                               IMPROVEMENTS
         ATHENS, GA - LEASEHOLD IMPROVEMENTS
         FATZ
         4115 LEXINGTON RD.
         ATHENS GA 30605

55.67. LOCATION # 0042                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         BLAIRSVILLE, GA - LEASE
         FATZ
         206 HIGHWAY 515 E
         BLAIRSVILLE GA 30512

55.68. LOCATION # 0042                                         LEASEHOLD           $86,612.83          Net Book Value     $86,612.83
                                                               IMPROVEMENTS
         BLAIRSVILLE, GA - LEASEHOLD IMPROVEMENTS
         FATZ
         206 HIGHWAY 515 E
         BLAIRSVILLE GA 30512

55.69. LOCATION # 0043                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         DUBLIN, VA - LEASE
         FATZ
         4586 ALEXANDER FARM RD.
         DUBLIN VA 24084




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.70. LOCATION # 0043                                         LEASEHOLD           $88,630.86          Net Book Value     $88,630.86
                                                               IMPROVEMENTS
         DUBLIN, VA - LEASEHOLD IMPROVEMENTS
         FATZ
         4586 ALEXANDER FARM RD.
         DUBLIN VA 24084

55.71. LOCATION # 0045                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         JASPER, GA - LEASE
         FATZ
         800 NOAH AVENUE
         JASPER GA 30143

55.72. LOCATION # 0045                                         LEASEHOLD           $98,023.51          Net Book Value     $98,023.51
                                                               IMPROVEMENTS
         JASPER, GA - LEASEHOLD IMPROVEMENTS
         FATZ
         800 NOAH AVENUE
         JASPER GA 30143

55.73. LOCATION # 0046                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         CHERAW, SC - LEASE
         FATZ
         973 CHESTERFIELD HWY
         CHERAW SC 29520

55.74. LOCATION # 0046                                         LEASEHOLD           $23,431.23          Net Book Value     $23,431.23
                                                               IMPROVEMENTS
         CHERAW, SC - LEASEHOLD IMPROVEMENTS
         FATZ
         973 CHESTERFIELD HWY
         CHERAW SC 29520

55.75. LOCATION # 0049                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         FRANKLIN, NC - LEASE
         FATZ
         107 SAWMILL VILLAGE LANE
         FRANKLIN NC 28734

55.76. LOCATION # 0049                                         LEASEHOLD           $59,943.37          Net Book Value     $59,943.37
                                                               IMPROVEMENTS
         FRANKLIN, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         107 SAWMILL VILLAGE LANE
         FRANKLIN NC 28734

55.77. LOCATION # 0050                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         LENOIR, NC - LEASE
         FATZ
         975 BLOWING ROCK BLVD. NW
         LENIOR NC 28645




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.78. LOCATION # 0050                                         LEASEHOLD           $24,968.49          Net Book Value     $24,968.49
                                                               IMPROVEMENTS
         LENOIR, NC - LEASEHOLD IMPROVEMENTS
         FATZ
         975 BLOWING ROCK BLVD. NW
         LENIOR NC 28645

55.79. CORPORATE OFFICE                                        LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         LEASE
         CAFE ENTERPRISES, INC.
         4324 WADE HAMPTON BLVD
         STE B
         TAYLORS SC 29687

55.80. LOCATION # 0031                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         CONWAY, SC - LEASE
         FATZ
         2494 CHURCH ST.
         CONWAY SC 29526

55.81. LOCATION # 0036                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         NORTH CHARLESTON - LEASE,
         FATZ
         4951 CENTRE POINTE DRIVE
         N. CHARLESTON SC 29418

55.82. LOCATION # 0041                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         CAROWINDS, - LEASE
         FATZ
         10920 WINDS CROSSING DRIVE
         CHARLOTTE NC 28273

55.83. LOCATION # 0044                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         WARNER ROBINS, GA - LEASE
         FATZ
         2715 WATSON BLVD.
         WARNER ROBINS GA 31093

55.84. LOCATION # 0047                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         POOLER, GA - LEASE
         FATZ
         400 POOLER PARKWAY
         POOLER GA 31322

55.85. LOCATION # 0048                                         LEASEHOLD           UNDETERMINED        Undetermined       UNDETERMINED
         AFTON RIDGE, NC - LEASE
         FATZ
         6081 BAYFIELD PARKWAY
         CONCORD NC 28027




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          Description and location of property                      Nature and          Net book value      Valuation           Current value of
          Include street address or other description such as       extent of           of debtor's         method used for     debtor’s interest
          Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,                in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.86. LOCATION # 0051                                              LEASEHOLD           UNDETERMINED        Undetermined        UNDETERMINED
          GREENSBORO #1, NC - LEASE
          FATZ
          619 S. REGIONAL ROAD
          GREENSBORO NC 27409

55.87. LOCATION # 0052                                              LEASEHOLD           UNDETERMINED        Undetermined        UNDETERMINED
          JOHNSON CITY, TN - LEASE
          FATZ
          3101 WEST MARKET STREET 101-103
          JOHNSON CITY TN 37604

55.88. LOCATION # 0053                                              LEASEHOLD           UNDETERMINED        Undetermined        UNDETERMINED
          GREENSBORO #2, NC - LEASE
          FATZ
          3011 HIGH POINT ROAD
          GREENSBORO NC 27403

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                            $2,905,760.04

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        ¨ No
        þ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        ¨ No. Go to Part 11.
        þ Yes. Fill in the information below.
          General description                                                   Net book value of     Valuation method        Current value of
                                                                                debtor's interest     used for current        debtor’s interest
                                                                                (Where available)     value

60.       Patents, copyrights, trademarks, and trade secrets
60.1.     TRADEMARK 2,764,092                                                   UNDETERMINED          _________________       UNDETERMINED

60.2.     TRADEMARK 2,764,091                                                   UNDETERMINED          _________________       UNDETERMINED

60.3.     TRADEMARK 3,217,012                                                   UNDETERMINED          _________________       UNDETERMINED

60.4.     TRADEMARK 3,600,822                                                   UNDETERMINED          _________________       UNDETERMINED

60.5.     TRADEMARK 3,600,823                                                   UNDETERMINED          _________________       UNDETERMINED




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61.      Internet domain names and websites
                                                                 Net book value of   Valuation method     Current value of
                                                                 debtor's interest                        debtor’s interest
61.1.    HTTPS://FATZ.COM                                        UNDETERMINED        _________________    UNDETERMINED
61.2.    WWW.CAFE-ENTERPRISES.COM                                UNDETERMINED        _________________    UNDETERMINED
61.3.    WWW.SOUTHERNKITCHENCATERING.COM                         UNDETERMINED        _________________    UNDETERMINED
61.4.    WWW.FATZSOUTHERNKITCHEN.COM                             UNDETERMINED        _________________    UNDETERMINED

62.      Licenses, franchises, and royalties
62.1.    STORE # 0001 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE LICENSE # 32020312-PBW
62.2.    STORE # 0001 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046347-PLB
62.3.    STORE # 0001 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED        _________________ UNDETERMINED
         LIC # 32046347-LOP
62.4.    STORE # 0001 - SC DHEC - HEALTH PERMIT                  UNDETERMINED        _________________ UNDETERMINED
62.5.    STORE # 0004 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 32046358-PBW
62.6.    STORE # 0004 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046358-PLB
62.7.    STORE # 0004 - SC DHEC - HEALTH PERMIT                  UNDETERMINED        _________________ UNDETERMINED
62.8.    STORE # 0005 - CITY OF EASLEY RETAIL/BUSINESS           UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 37089
62.9.    STORE # 0005 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 32046356-PBW
62.10.   STORE # 0005 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046356-LOP
62.11.   STORE # 0005 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046356-PLB
62.12.   STORE # 0005 - SC DHEC - HEALTH PERMIT                  UNDETERMINED        _________________ UNDETERMINED
62.13.   STORE # 0007 - CITY OF GREENWOOD RETAIL/BUSINESS        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 1374
62.14.   STORE # 0007 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 32046351-PBW
62.15.   STORE # 0007 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046351-PLB
62.16.   STORE # 0007 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED        _________________ UNDETERMINED
         LIC # 320463510-LOP
62.17.   STORE # 0007 - SC DHEC - HEALTH PERMIT                  UNDETERMINED        _________________ UNDETERMINED
62.18.   STORE # 0009 - CITY OF COLUMBIA RETAIL/BUSINESS         UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 23881
62.19.   STORE # 0009 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 32046359-PBW
62.20.   STORE # 0009 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED        _________________ UNDETERMINED
         # 32046359-PLB
62.21.   STORE # 0009 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED        _________________ UNDETERMINED
         LIC # 32003427-LOP
62.22.   STORE # 0009 - SC DHEC - HEALTH PERMIT                  UNDETERMINED        _________________ UNDETERMINED
62.23.   STORE # 0010 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED        _________________ UNDETERMINED
         LICENSE # 32046346-PBW

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62.24.   STORE # 0010 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046346-PLB
62.25.   STORE # 0010 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED     _________________ UNDETERMINED
         LIC # 32046346-LOP
62.26.   STORE # 0010 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.27.   STORE # 0011 - CITY OF HENDERSONVILLE - BEER/WINE       UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 48
62.28.   STORE # 0011 - CITY OF HEN'VILLE RETAIL/BUSINESS        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 193439
62.29.   STORE # 0011 - CITY OF HEN'VILLE RETAIL/BUSINESS        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 476
62.30.   STORE # 0011 - N.C. ABC COMMISSION - MIXED              UNDETERMINED     _________________ UNDETERMINED
         BEVERAGES LICENSE # MX9881
62.31.   STORE # 0011 - NC DENR - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.32.   STORE # 0012 - CITY OF GREER RETAIL/BUSINESS LICENSE UNDETERMINED        _________________ UNDETERMINED
         # 44665
62.33.   STORE # 0012 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32046352-PBW
62.34.   STORE # 0012 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046352-LOP
62.35.   STORE # 0012 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046352-PLB
62.36.   STORE # 0012 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.37.   STORE # 0013 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32016681-PBW
62.38.   STORE # 0013 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32016681-PSB
62.39.   STORE # 0013 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32016681-LOP
62.40.   STORE # 0013 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.41.   STORE # 0014 - COUNTY OF ORANGEBURG                     UNDETERMINED     _________________ UNDETERMINED
         RETAIL/BUSINESS LICENSE # 000565
62.42.   STORE # 0014 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32046343-PBW
62.43.   STORE # 0014 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046343-LOP
62.44.   STORE # 0014 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046343-PLB
62.45.   STORE # 0014 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.46.   STORE # 0015 - BUNCOME COUNTY - BEER LICENSE # 261      UNDETERMINED     _________________ UNDETERMINED
62.47.   STORE # 0015 - BUNCOME COUNTY - WINE LICENSE # 261      UNDETERMINED     _________________ UNDETERMINED
62.48.   STORE # 0015 - CITY OF ASHEVILLE - BEER LICENSE # 521   UNDETERMINED     _________________ UNDETERMINED
62.49.   STORE # 0015 - CITY OF ASHEVILLE - WINE LICENSE # 522   UNDETERMINED     _________________ UNDETERMINED
62.50.   STORE # 0015 - CITY OF ASHEVILLE RETAIL/BUSINESS        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 523
62.51.   STORE # 0015 - N.C. ABC COMMISSION - MIXED              UNDETERMINED     _________________ UNDETERMINED
         BEVERAGES LICENSE # 00099327MB
62.52.   STORE # 0015 - NC DENR - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.53.   STORE # 0016 - CITY OF SHELBY - BEER/WINE LICENSE       UNDETERMINED     _________________ UNDETERMINED

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62.54.   STORE # 0016 - CLEVELAND COUNTY - BEER/WINE LICENSE UNDETERMINED        _________________ UNDETERMINED
         # 14
62.55.   STORE # 0016 - N.C. ABC COMMISSION - MIXED              UNDETERMINED    _________________ UNDETERMINED
         BEVERAGES LICENSE # 00103277MB
62.56.   STORE # 0016 - NC DENR - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.57.   STORE # 0018 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 32046348-PBW
62.58.   STORE # 0018 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
         # 32046348-PLB
62.59.   STORE # 0018 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 32046348-LOP
62.60.   STORE # 0018 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.61.   STORE # 0018 - TOWN OF LEXINGTON RETAIL/BUSINESS        UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 4372
62.62.   STORE # 0019 - N.C. ABC COMMISSION - MIXED              UNDETERMINED    _________________ UNDETERMINED
         BEVERAGES LICENSE # 00113915MB
62.63.   STORE # 0019 - NC DENR - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.64.   STORE # 0019 - TOWN OF FOREST CITY - BEER/WINE          UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 9690
62.65.   STORE # 0020 - RICHLAND COUNTY RETAIL/BUSINESS          UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 2018-25567-24719
62.66.   STORE # 0020 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 32046349-PBW
62.67.   STORE # 0020 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
         # 32046349-PLB
62.68.   STORE # 0020 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 32046349-LOP
62.69.   STORE # 0020 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.70.   STORE # 0022 - BURKE COUNTY - BEER/WINE LICENSE #       UNDETERMINED    _________________ UNDETERMINED
         1290/0743
62.71.   STORE # 0022 - CITY OF MORGANTON - BEER/WINE            UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 2362
62.72.   STORE # 0022 - CITY OF MORGANTON RETAIL/BUSINESS        UNDETERMINED    _________________ UNDETERMINED
         LICENSE
62.73.   STORE # 0022 - N.C. ABC COMMISSION - MIXED              UNDETERMINED    _________________ UNDETERMINED
         BEVERAGES LICENSE # 00115624MB
62.74.   STORE # 0022 - NC DENR - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.75.   STORE # 0023 - GREENE COUNTY RETAIL/BUSINESS            UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 470973
62.76.   STORE # 0023 - TN ABC COMMISSION - LIQUOR LICENSE BY    UNDETERMINED    _________________ UNDETERMINED
         THE DRINK # 7885
62.77.   STORE # 0023 - TN HEALTH - HEALTH PERMIT #              UNDETERMINED    _________________ UNDETERMINED
         169670/169671
62.78.   STORE # 0023 - TOWN OF GREENEVILLE - BEER LICENSE #     UNDETERMINED    _________________ UNDETERMINED
         181
62.79.   STORE # 0023 - TOWN OF GREENEVILLE - LIQUOR LICENSE     UNDETERMINED    _________________ UNDETERMINED
62.80.   STORE # 0023 - TOWN OF GREENEVILLE RETAIL/BUSINESS      UNDETERMINED    _________________ UNDETERMINED
         LICENSE # 2012 22443
62.81.   STORE # 0024 - N.C. ABC COMMISSION - MIXED              UNDETERMINED    _________________ UNDETERMINED
         BEVERAGES LICENSE # 00128644MB


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62.82.   STORE # 0024 - NC DENR - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.83.   STORE # 0025 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32046357-PBW
62.84.   STORE # 0025 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046357-PLB
62.85.   STORE # 0025 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.86.   STORE # 0026 - COLUMBIA COUNTY - BEER/WINE LICENSE      UNDETERMINED     _________________ UNDETERMINED
         # 724
62.87.   STORE # 0026 - COLUMBIA COUNTY - HEALTH PERMIT          UNDETERMINED     _________________ UNDETERMINED
62.88.   STORE # 0026 - COLUMBIA COUNTY RETAIL/BUSINESS          UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 15967
62.89.   STORE # 0026 - GA DEPT OF REVENUE -                     UNDETERMINED     _________________ UNDETERMINED
         BEER/WINE/ALCOHOL LICENSE # 47325
62.90.   STORE # 0027 - CITY OF ROCK HILL RETAIL/BUSINESS        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 1425
62.91.   STORE # 0027 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32046345-PBW
62.92.   STORE # 0027 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED     _________________ UNDETERMINED
         # 32046345-PLB
62.93.   STORE # 0027 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 32046345-LOP
62.94.   STORE # 0027 - SC DHEC - HEALTH PERMIT                  UNDETERMINED     _________________ UNDETERMINED
62.95.   STORE # 0028 - CITY OF BRISTOL - BEER LICENSE # 185     UNDETERMINED     _________________ UNDETERMINED
62.96.   STORE # 0028 - CITY OF BRISTOL RETAIL/BUSINESS          UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 2012-24285
62.97.   STORE # 0028 - SULLIVAN COUNTY RETAIL/BUSINESS          UNDETERMINED     _________________ UNDETERMINED
         LICENSE # 92582
62.98.   STORE # 0028 - TN ABC COMMISSION - LIQUOR LICENSE BY    UNDETERMINED     _________________ UNDETERMINED
         THE DRINK # 52479
62.99.   STORE # 0028 - TN HEALTH - HEALTH PERMIT #              UNDETERMINED     _________________ UNDETERMINED
         184367/184368
62.100. STORE # 0029 - BARROW COUNTY - BEER/WINE LICENSE #       UNDETERMINED     _________________ UNDETERMINED
        2005-032
62.101. STORE # 0029 - BARROW COUNTY - HEALTH PERMIT             UNDETERMINED     _________________ UNDETERMINED
62.102. STORE # 0029 - BARROW COUNTY RETAIL/BUSINESS             UNDETERMINED     _________________ UNDETERMINED
        LICENSE # 2007-6937
62.103. STORE # 0029 - GA DEPT OF REVENUE -                      UNDETERMINED     _________________ UNDETERMINED
        BEER/WINE/ALCOHOL LICENSE # 49610
62.104. STORE # 0030 - CITY OF ROCKINGHAM RETAIL/BUSINESS        UNDETERMINED     _________________ UNDETERMINED
        LICENSE # 60230
62.105. STORE # 0030 - CITY OF ROCKINHAM - BEER/WINE LICENSE     UNDETERMINED     _________________ UNDETERMINED
        # 602300
62.106. STORE # 0030 - N.C. ABC COMMISSION - MIXED               UNDETERMINED     _________________ UNDETERMINED
        BEVERAGES LICENSE # 00140020MB
62.107. STORE # 0030 - NC DENR - HEALTH PERMIT                   UNDETERMINED     _________________ UNDETERMINED
62.108. STORE # 0030 - RICHMOND COUNTY - BEER/WINE LICENSE       UNDETERMINED     _________________ UNDETERMINED
        # 3803
62.109. STORE # 0032 - CITY OF MARION - BEER/WINE LICENSE        UNDETERMINED     _________________ UNDETERMINED
62.110. STORE # 0032 - CITY OF MARION - BEER/WINE LICENSE #      UNDETERMINED     _________________ UNDETERMINED
        6516

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62.111. STORE # 0032 - CITY OF MARION RETAIL/BUSINESS           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 7944
62.112. STORE # 0032 - MCDOWELL COUNTY ACL LICENSE              UNDETERMINED    _________________ UNDETERMINED
62.113. STORE # 0032 - N.C. ABC COMMISSION - MIXED              UNDETERMINED    _________________ UNDETERMINED
        BEVERAGES LICENSES 00140809
62.114. STORE # 0032 - NC DENR - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.115. STORE # 0033 - CITY OF AIKEN RETAIL/BUSINESS LICENSE    UNDETERMINED    _________________ UNDETERMINED
        # 20144
62.116. STORE # 0033 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32046342-PBW
62.117. STORE # 0033 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
        # 32046342-PLB
62.118. STORE # 0033 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32046342-LOP
62.119. STORE # 0033 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.120. STORE # 0034 - CARTER COUNTY RETAIL/BUSINESS            UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 26152
62.121. STORE # 0034 - CITY OF ELIZABETHTON - BEER LICENSE #    UNDETERMINED    _________________ UNDETERMINED
        48
62.122. STORE # 0034 - CITY OF ELIZABETHTON RETAIL/BUSINESS     UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 10972
62.123. STORE # 0034 - TN ABC COMMISSION LIQUOR LICENSE BY      UNDETERMINED    _________________ UNDETERMINED
        THE DRINK LICENSE # 14302
62.124. STORE # 0034 - TN HEALTH - HEALTH PERMIT #              UNDETERMINED    _________________ UNDETERMINED
        189511/189512
62.125. STORE # 0035 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32046353-PBW
62.126. STORE # 0035 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
        # 32046353-PLB
62.127. STORE # 0035 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.128. STORE # 0036 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.129. STORE # 0037 - CITY OF KINGSPORT - BEER LICENSE # 528   UNDETERMINED    _________________ UNDETERMINED
62.130. STORE # 0037 - CITY OF KINGSPORT RETAIL/BUSINESS        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 17-00009293
62.131. STORE # 0037 - SULLIVAN COUNTY RETAIL/BUSINESS          UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 123833
62.132. STORE # 0037 - TN ABC COMMISSION - LIQUOR LICENSE BY    UNDETERMINED    _________________ UNDETERMINED
        THE DRINK # 20650
62.133. STORE # 0037 - TN HEALTH - HEALTH PERMIT #              UNDETERMINED    _________________ UNDETERMINED
        192581/192582
62.134. STORE # 0038 - CITY OF CAMDEN RETAIL/BUSINESS           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 20160048
62.135. STORE # 0038 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32046362-PBW
62.136. STORE # 0038 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
        # 32046362-PLB
62.137. STORE # 0038 - S C DEPT OF REV & TAX - SUNDAY LIQUOR    UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 320463627-LOP
62.138. STORE # 0038 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED



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62.139. STORE # 0039 - CITY OF CLINTON RETAIL/BUSINESS          UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 175102
62.140. STORE # 0039 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32046363-PBW
62.141. STORE # 0039 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
        # 32046363-PLB
62.142. STORE # 0039 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.143. STORE # 0040 - ATHENS-CLARKE COUNTY                     UNDETERMINED    _________________ UNDETERMINED
        RETAIL/BUSINESS LICENSE # BT-0089637
62.144. STORE # 0040 - CLARKE CO - BEER/WINE/LBD LICENSE #      UNDETERMINED    _________________ UNDETERMINED
        AL-0089480
62.145. STORE # 0040 - CLARKE COUNTY - HEALTH PERMIT            UNDETERMINED    _________________ UNDETERMINED
62.146. STORE # 0040 - GA DEPT OF REVENUE - BEER/WINE/LBD       UNDETERMINED    _________________ UNDETERMINED
        STATE # 183782
62.147. STORE # 0042 - CITY OF BLAIRSVILLE LICENSE              UNDETERMINED    _________________ UNDETERMINED
62.148. STORE # 0042 - CITY OF BLAIRSVILLE RETAIL/BUSINESS      UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 304997810
62.149. STORE # 0042 - GA DEPT OF REVENUE -                     UNDETERMINED    _________________ UNDETERMINED
        BEER/WINE/ALCOHOL LICENSE # 57857
62.150. STORE # 0042 - UNION COUNTY - HEALTH PERMIT             UNDETERMINED    _________________ UNDETERMINED
62.151. STORE # 0043 - PULASKI COUNTY - HEALTH PERMIT           UNDETERMINED    _________________ UNDETERMINED
62.152. STORE # 0043 - PULASKI COUNTY RETAIL/BUSINESS           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 001124
62.153. STORE # 0043 - VA DEPT OF ALCOHOLIC BEV. -              UNDETERMINED    _________________ UNDETERMINED
        BEER/WINE/LIQUOR LICENSE # 050220
62.154. STORE # 0045 - CITY OF JASPER - BEER/WINE LICENSE #     UNDETERMINED    _________________ UNDETERMINED
        36H
62.155. STORE # 0045 - CITY OF JASPER ALC LIC LICENSE # 36H     UNDETERMINED    _________________ UNDETERMINED
62.156. STORE # 0045 - CITY OF JASPER RETAIL/BUSINESS           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 388
62.157. STORE # 0045 - GA DEPT OF REVENUE - BEER/WINE           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 52663
62.158. STORE # 0045 - PICKENS COUNTY - HEALTH PERMIT           UNDETERMINED    _________________ UNDETERMINED
62.159. STORE # 0046 - S C DEPT OF REV & TAX - BEER/WINE        UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 32044207-PBW
62.160. STORE # 0046 - S C DEPT OF REV & TAX - LIQUOR LICENSE   UNDETERMINED    _________________ UNDETERMINED
        # 32044207-PLB
62.161. STORE # 0046 - SC DHEC - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.162. STORE # 0046 - TOWN OF CHERAW RETAIL/BUSINESS           UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 20167502
62.163. STORE # 0049 - NC ABC COMMISSION - EST. ALCOHOL #       UNDETERMINED    _________________ UNDETERMINED
        00163373
62.164. STORE # 0049 - NC DENR - HEALTH PERMIT                  UNDETERMINED    _________________ UNDETERMINED
62.165. STORE # 0049 - TOWN OF FRANKLIN - BEER/WINE LICENSE     UNDETERMINED    _________________ UNDETERMINED
        # 1132
62.166. STORE # 0049 - TOWN OF FRANKLIN RETAIL/BUSINESS         UNDETERMINED    _________________ UNDETERMINED
        LICENSE # 5995
62.167. STORE # 0050 - CALDWELL COUNTY COUNTY LICENSES          UNDETERMINED    _________________ UNDETERMINED



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62.168. STORE # 0050 - CITY OF LENOIR RETAIL/BUSINESS                             UNDETERMINED          _________________ UNDETERMINED
        LICENSE # 5322
62.169. STORE # 0050 - CITY OF LENOIR CITY LICENSES                               UNDETERMINED          _________________ UNDETERMINED
62.170. STORE # 0050 - NC ABC COMMISSION - STATE ALCOHOL                          UNDETERMINED          _________________ UNDETERMINED
        LICENSE # 0163106
62.171. STORE # 0050 - NC DENR - HEALTH PERMIT                                    UNDETERMINED          _________________ UNDETERMINED

63.       Customer lists, mailing lists, or other compilations
63.1.     CUSTOMER LIST                                                        UNDETERMINED             _________________          UNDETERMINED
63.2.     CLASSIC CLUB LOYALITY PROGRAM                                        UNDETERMINED             _________________          UNDETERMINED

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________                  $_______________         _________________          $_______________

65.       Goodwill
65.1.     ___________________________________________________                  $_______________         _________________          $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                         UNDETERMINED

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        ¨ No
        þ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest

71.     Notes receivable
        Description (include name of obligor)                 Total face amount          Doubtful or                              Current value of
                                                                                         uncollectible amount                     debtor’s interest

71.1. _______________________________________                 $________________       - $________________          = ........ →   $________________
        _______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,     Tax refund amount      NOL amount               Tax year                   Current value of
          local)                                                                                                                   debtor’s interest
72.1.     GEORGIA DEPARTMENT OF REVENUE                 $500.00                $1,423,039.00            2017                       $500.00
72.2.     NORTH CAROLINA                                $930.00                $2,914,073.00            2017                       $930.00

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72.3.     SOUTH CAROLINA                                $654.00                $5,653,535.00           2017                 $654.00
72.4.     TENNESSEE                                     $0.00                  $528,860.00             2017                 UNDETERMINED
72.5.     VIRGINIA                                      $300.00                N/A                     2017                 $300.00

73.       Interests in insurance policies or annuities
          Insurance company             Insurance policy       Annuity issuer name   Annuity account     Annuity account    Current value of
                                        No.                                          type                No.                debtor’s interest
73.1.     ZURICH                        WC 0174347 04          _________________     _______________ _______________ UNDETERMINED
73.2.     ZURICH                        CPO 0174345 04         _________________     _______________ _______________ UNDETERMINED
73.3.     ZURICH                        CPO 0174345 04         _________________     _______________ _______________ UNDETERMINED
73.4.     ZURICH                        CPO 0174345 04         _________________     _______________ _______________ UNDETERMINED
73.5.     ZURICH                        AUC 0174332 04         _________________     _______________ _______________ UNDETERMINED
73.6.     THE HARTFORD STEAM            FBP 2359141            _________________     _______________ _______________ UNDETERMINED
          BOILER INSPECTION
          AND INSURANCE
          COMPANY
73.7.     LLOYDS OF LONDON              U718-860156            _________________     _______________ _______________ UNDETERMINED
73.8.     STRATFORD                     PDO0000010N            _________________     _______________ _______________ UNDETERMINED
          INSURANCE COMPANY

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                           Nature of claim                             Amount requested     Current value of
                                                                                                                            debtor’s interest
74.1.     __________________________________               __________________________________          $_______________     $_______________

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                           Nature of claim                             Amount requested     Current value of
                                                                                                                            debtor’s interest
75.1.     __________________________________               __________________________________          $_______________     $_______________

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________                           $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     _______________________________________________________________________________________                           $_______________

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                                      $2,384.00

79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                       Page 31 of 32
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 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                            $129,698.85
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                        $146,355.39


82.   Accounts receivable. Copy line 12, Part 3.                                            $263,320.75


83.   Investments. Copy line 17, Part 4.                                                 UNDETERMINED


84.   Inventory. Copy line 23, Part 5.                                                      $821,929.00


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                        $181,267.24
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                            $1,730,764.47



88.   Real property. Copy line 56, Part 9. ...................................................................... →          $2,905,760.04

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +          $2,384.00



91.   Total. Add lines 80 through 90 for each column. ..........91a.                       $3,275,719.70          + 91b.     $2,905,760.04




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................      $6,181,479.74




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                Page 32 of 32
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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




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                                                                                                            Column A          Column B
                                                                                                            Amount of         Value of
                                                                                                            Claim             collateral that
                                                                                                            Do not deduct     supports this
                                                                                                            the value of      claim
                                                                                                            collateral.


2.1.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         ATALAYA ADMINISTRATIVE LLP AS AGENT                ALL ASSETS                                      $9,698,584.13     UNDETERMINED
         C/O ATALAYA CAPITAL MANAGEMENT, LP
         ATTN:  EVERETT INDART                              Describe the lien
         780 THIRD AVENUE, 27TH FLOOR
                                                            FIRST LIEN LENDER
         NEW YORK NY 10017
                                                            Is the creditor an insider or related party?
         Creditor’s email address, if known
         _____________________________________              þ No
         Date debt was incurred: 3/21/2014
                                                            ¨ Yes
                                                            Is anyone else liable on this claim?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                            ¨ No
         same property?                                     þ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
         ¨ No                                               As of the petition filing date, the claim is:
         þ Yes. Have you already specified the              Check all that apply.
         relative priority?
             þ No. Specify each creditor, including         ¨ Contingent
             this creditor, and its relative priority.      ¨ Unliquidated
             ATALAYA, AS ADMINISTRATIVE AGENT
             HAS A FIRST LIEN PRIORTY, AND THE
                                                            ¨ Disputed
             LIEN OF BENEFIT STREET PARTNERS,
             AS AGENT, IS SUBORDINATE TO THE
             LIEN OF ATALAYA
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                      Page 2 of 5
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2.2.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         BENEFIT STREET PARTNERS, AS AGENT                  ALL ASSETS SUBJECT TO FIRST LIEN                 $2,000,000.00     UNDETERMINED
         SERGE KOZMIN                                       LENDERS
         50 KENNEDY PLAZA
         18TH FLOOR                                         Describe the lien
         PROVIDENCE RI 02903
                                                            SECOND LIEN LENDER
         Creditor’s email address, if known
                                                            Is the creditor an insider or related party?
         _____________________________________
                                                            þ No
         Date debt was incurred: 5/5/2017
                                                            ¨ Yes
         Last 4 digits of account number:                   Is anyone else liable on this claim?
         Do multiple creditors have an interest in the
         same property?
                                                            ¨ No
                                                            þ Yes. Fill out Schedule H: Codebtors
         ¨ No                                               (Official Form 206H).
         þ Yes. Have you already specified the              As of the petition filing date, the claim is:
         relative priority?                                 Check all that apply.
             ¨ No. Specify each creditor, including         ¨ Contingent
             this creditor, and its relative priority.
             _________________________________              ¨ Unliquidated
             _________________________________              ¨ Disputed
             þ Yes. The relative priority of creditors is
             specified on lines: 2.1

2.3.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         SYSCO CHARLOTTE, LLC                               ALL PRESENTLY OWNED OR HEREAFTER                 UNDETERMINED UNDETERMINED
         4500 CORPORATE DR NW                               ACQUIRED PROPERTY
         CONCORD NC 28027
                                                            Describe the lien
         Creditor’s email address, if known
                                                            UCC-1 RECORDED 9/21/2017 IN SOUTH
         _____________________________________              CAROLINA AS DOCUMENT # 160921-162201
         Date debt was incurred: 9/21/2017                  Is the creditor an insider or related party?
         Last 4 digits of account number:                   þ No
         Do multiple creditors have an interest in the      ¨ Yes
         same property?
                                                            Is anyone else liable on this claim?
         þ No                                               þ No
         ¨ Yes. Have you already specified the              ¨ Yes. Fill out Schedule H: Codebtors
         relative priority?
                                                            (Official Form 206H).
             ¨ No. Specify each creditor, including         As of the petition filing date, the claim is:
             this creditor, and its relative priority.      Check all that apply.
             _________________________________
             _________________________________              ¨ Contingent
             ¨ Yes. The relative priority of creditors is   ¨ Unliquidated
             specified on lines: ______
                                                            ¨ Disputed


       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                                    $11,698,584.13
       from the Additional Page, if any.




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                     Page 3 of 5
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 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
         Name and address                                                                    On which line in       Last 4 digits of
                                                                                             Part 1 did you enter   account number
                                                                                             the related            for this entity
                                                                                             creditor?

3.1.     HOLLAND & KNIGHT LLP                                                                Line 2.1               _______________
         BRENT MCILWAIN
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201

3.2.     HOLLAND & KNIGHT LLP                                                                Line 2.1               _______________
         BRIAN SMITH
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201

3.3.     MADISON CAPITAL FUNDING LLC, AS AGENT                                               Line 2.1               _______________
         30 S. WACKER DR
         STE 3700
         CHICAGO IL 60606

3.4.     MILESTONE PARTNERS III LP                                                           Line 2.1               _______________
         555 EAST LANCASTER AVE
         STE 500
         RADNOR PA 19087

3.5.     MILESTONE PARTNERS III LP                                                           Line 2.2               _______________
         555 EAST LANCASTER AVE
         STE 500
         RADNOR PA 19087

3.6.     MILESTONE PARTNERS III LP 2                                                         Line 2.1               _______________
         555 EAST LANCASTER AVE
         STE 500
         RADNOR PA 19087

3.7.     MILESTONE PARTNERS III LP 2                                                         Line 2.2               _______________
         555 EAST LANCASTER AVE
         STE 500
         RADNOR PA 19087

3.8.     MOORE & VAN ALLEN PLLC                                                              Line 2.2               _______________
         DAVID B WHEELER;REID E DYER
         78 WENTWORTH ST
         POST OFFICE BOX 22828
         CHARLESTON SC 29413-2828

3.9.     SHRAYNE CAPITAL LLC                                                                 Line 2.1               _______________
         23011 LAGUNA POINT DR
         KATHY TX 77450

3.10.    SYSCO                                                                               Line 2.3               _______________
         JEFF KESTNER
         131 SYSCO CT
         COLUMBIA SC 29209

3.11.    SYSCO CHARLOTTE LLC                                                                 Line 2.3               _______________
         4500 CORPORATE DR NW
         CONCORD NC 28027




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3.12.    SYSCO-CHARLOTTE                                                          Line 2.3               _______________
         TOM HAYES
         CASHIER
         PO BOX 96
         CONCORD NC 28026

3.13.    TRIANGLE MEZZANINE FUND LLLP                                             Line 2.1               _______________
         3700 GLENWOOD AVE
         STE 530
         RALEIGH NC 27612

3.14.    TRIANGLE MEZZANINE FUND LLLP                                             Line 2.1               _______________
         HOLLAND & KNIGHT LLP
         BRENT MCILWAIN
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201

3.15.    TRIANGLE MEZZANINE FUND LLLP                                             Line 2.1               _______________
         HOLLAND & KNIGHT LLP
         BRENT MCILWAIN
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201

3.16.    TRIANGLE MEZZANINE FUND LLLP AS AGENT                                    Line 2.1               _______________
         HOLLAND & KNIGHT LLP
         BRENT MCILWAIN
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201

3.17.    TRIANGLE MEZZANINE FUND LLLP AS AGENT                                    Line 2.1               _______________
         HOLLAND & KNIGHT LLP
         BRENT MCILWAIN
         200 CRESCENT COURT
         STE 1600
         DALLAS TX 75201




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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.



 Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.         List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
           the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $1,590.62               $1,590.62
           AIKEN COUNTY
           PO BOX 873                                  ¨ Contingent
           AIKEN SC 29802
                                                       ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           2018                                        PERSONAL PROPERTY TAXES

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       þ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (8)      ¨ Yes

2.2.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $27,140.02              $27,140.02
           AIKEN COUNTY
           PO BOX 874                                  ¨ Contingent
           AIKEN SC 29803
                                                       ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           2018                                        REAL PROPERTY TAXES

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       þ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (8)      ¨ Yes
Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 347
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2.3.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,458.40               $3,458.40
         ANDERSON COUNTY
         PO BOX 8002                               ¨ Contingent
         ANDERSON SC 29622
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.4.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,458.40               $3,548.40
         ANDERSON COUNTY
         PO BOX 8003                               ¨ Contingent
         ANDERSON SC 29623
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.5.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $37,549.78              $37,549.78
         ANDERSON COUNTY
         PO BOX 8004                               ¨ Contingent
         ANDERSON SC 29624
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.6.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $37,549.78              $37,549.78
         ANDERSON COUNTY
         PO BOX 8005                               ¨ Contingent
         ANDERSON SC 29625
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.7.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,200.00               $7,200.00
         ATHENS-CLARKE COUNTY
         325 E WASHINGTON ST                       ¨ Contingent
         ATHENS GA 30601
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 9480
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.8.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,088.00               $2,088.00
         ATHENS-CLARKE COUNTY
         325 E WASHINGTON ST                       ¨ Contingent
         ATHENS GA 30601
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 9480
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.9.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $5,750.00               $5,750.00
         BARROW COUNTY
         30 N BROAD STREET                         ¨ Contingent
         WINDER GA 30680
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 5-032
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.10.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,263.29               $1,263.29
         BARROW COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         30 N BROAD ST
         WINDER GA 30680                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.11.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,299.45               $1,299.45
         BARROW COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         30 N BROAD ST
         WINDER GA 30680                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.12.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $17,510.32              $17,510.32
         BARROW COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         30 N BROAD ST
         WINDER GA 30680                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.13.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $17,263.50              $17,263.50
         BARROW COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         30 N BROAD ST
         WINDER GA 30680                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.14.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,780.25               $2,780.25
         BUNCOMBE COUNTY TAX DEPT
         94 COXE AVE                               ¨ Contingent
         ASHEVILLE NC 28801
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.15.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,557.29               $2,557.29
         BUNCOMBE COUNTY TAX DEPT
         94 COXE AVE                               ¨ Contingent
         ASHEVILLE NC 28801
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.16.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $17,997.02              $17,997.02
         BUNCOMBE COUNTY TAX DEPT
         94 COXE AVE                               ¨ Contingent
         ASHEVILLE NC 28801
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.17.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $18,184.90              $18,184.90
         BUNCOMBE COUNTY TAX DEPT
         94 COXE AVE                               ¨ Contingent
         ASHEVILLE NC 28801
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.18.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,480.74               $1,480.74
         BURKE COUNTY
         PO BOX 580150                             ¨ Contingent
         CHARLOTTE NC 28258
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.19.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,401.19               $1,401.19
         BURKE COUNTY
         PO BOX 580150                             ¨ Contingent
         CHARLOTTE NC 28258
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.20.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $9,295.22               $9,295.22
         BURKE COUNTY
         PO BOX 580150                             ¨ Contingent
         CHARLOTTE NC 28258
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.21.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $9,520.71               $9,520.71
         BURKE COUNTY
         PO BOX 580150                             ¨ Contingent
         CHARLOTTE NC 28258
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.22.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $24,145.51              $24,145.51
         CABARRUS COUNTY TAX
         COLLECTOR'S OFFICE                        ¨ Contingent
         PO BOX 580347
         CHARLOTTE NC 28258                        ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.23.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,019.89               $3,019.89
         CABARRUS COUNTY TAX
         COLLECTOR'S OFFICE                        ¨ Contingent
         PO BOX 580347
         CHARLOTTE NC 28258                        ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.24.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,189.38               $1,189.38
         CALDWELL COUNTY
         PO BOX 2200                               ¨ Contingent
         LENIOR NC 28645
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.25.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,187.95               $1,187.95
         CALDWELL COUNTY
         PO BOX 2201                               ¨ Contingent
         LENIOR NC 28646
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.26.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,807.40               $8,807.40
         CALDWELL COUNTY
         PO BOX 2202                               ¨ Contingent
         LENIOR NC 28647
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.27.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $9,049.60               $9,049.60
         CALDWELL COUNTY
         PO BOX 2203                               ¨ Contingent
         LENIOR NC 28648
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.28.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,063.00               $1,063.00
         CARTER COUNTY
         801 ELK AVE                               ¨ Contingent
         ELIZABETHTON TN 37643
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.29.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $14,127.00              $14,127.00
         CARTER COUNTY
         802 ELK AVE                               ¨ Contingent
         ELIZABETHTON TN 37644
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.30.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,705.54               $2,705.54
         CHARLESTON COUNTY
         PO BOX 100242                             ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.31.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $39,293.41              $39,293.41
         CHARLESTON COUNTY
         PO BOX 100243                             ¨ Contingent
         COLUMBIA SC 29203
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.32.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,179.59               $2,179.59
         CHATHAM COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 117037
         ATLANTA GA 30368                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.33.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $11,228.56              $11,228.56
         CHATHAM COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 117038
         ATLANTA GA 30369                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.34.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $16,494.38              $16,494.38
         CHEROKEE COUNTY TAX COLLECTOR
         110 RAILROAD AVE                          ¨ Contingent
         GAFFENY SC 29340
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.35.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $16,494.38              $16,494.38
         CHEROKEE COUNTY TAX COLLECTOR
         110 RAILROAD AVE                          ¨ Contingent
         GAFFENY SC 29340
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.36.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $19,194.83              $19,194.83
         CHEROKEE COUNTY TAX COLLECTOR
         110 RAILROAD AVE                          ¨ Contingent
         GAFFENY SC 29340
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2016                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.37.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,082.72               $3,082.72
         CHESTERFILED COUNTY TREASURER
         PO BOX 750                                ¨ Contingent
         CHESTERFIELD SC 29709
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.38.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $32,451.67              $32,451.67
         CHESTERFILED COUNTY TREASURER
         PO BOX 751                                ¨ Contingent
         CHESTERFIELD SC 29710
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.39.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $540.45                 $540.45
         CITY OF AIKEN
         PO BOX 2458                               ¨ Contingent
         AIKEN SC 29802
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.40.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,175.26               $8,175.26
         CITY OF AIKEN
         PO BOX 2459                               ¨ Contingent
         AIKEN SC 29803
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.41.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $995.19                 $995.19
         CITY OF BLAIRSVILLE
         PO BOX 307                                ¨ Contingent
         BLAIRSVILLE GA 30514
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.42.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,200.00               $3,200.00
         CITY OF BLAIRSVILLE
         PO BOX 307                                ¨ Contingent
         BLAIRSVILLE GA 30514
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 7857
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.43.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $877.00                 $877.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.44.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $877.00                 $877.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.45.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $14,078.00              $14,078.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.46.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $14,078.00              $14,078.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.47.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $934.00                 $934.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.48.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $934.00                 $934.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.49.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $100.00                 $100.00
         CITY OF BRISTOL
         PO BOX 1348                               ¨ Contingent
         BRISTOL TN 37621
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 185
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.50.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $771.00                 $771.00
         CITY OF ELIZABETHTON
         136 S SYCAMORE ST                         ¨ Contingent
         ELIZABETHTON TN 37643
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.51.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $10,230.00              $10,230.00
         CITY OF ELIZABETHTON
         137 S SYCAMORE ST                         ¨ Contingent
         ELIZABETHTON TN 37644
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.52.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,969.41               $1,969.41
         CITY OF HENDERSONVILLE
         PO BOX 603068                             ¨ Contingent
         CHARLOTTE NC 28260
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.53.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $75.00                  $75.00
         CITY OF JASPER
         200 BURNT MOUNTAIN ROAD                   ¨ Contingent
         JASPER GA 30143
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   BUSINESS LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 388
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.54.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $956.99                 $956.99
         CITY OF KINGSPORT
         225 W CENTER ST                           ¨ Contingent
         KINGSPORT TN 37660
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.55.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $956.99                 $956.99
         CITY OF KINGSPORT
         225 W CENTER ST                           ¨ Contingent
         KINGSPORT TN 37660
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.56.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $11,191.14              $11,191.14
         CITY OF KINGSPORT
         225 W CENTER ST                           ¨ Contingent
         KINGSPORT TN 37660
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.57.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $11,191.14              $11,191.14
         CITY OF KINGSPORT
         225 W CENTER ST                           ¨ Contingent
         KINGSPORT TN 37660
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.58.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,111.03               $1,111.03
         CITY OF LENOIR
         PO BOX 958                                ¨ Contingent
         LENOIR NC 28645
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.59.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,080.00               $1,080.00
         CITY OF LENOIR
         PO BOX 959                                ¨ Contingent
         LENOIR NC 28646
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.60.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,227.23               $8,227.23
         CITY OF LENOIR
         PO BOX 960                                ¨ Contingent
         LENOIR NC 28647
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.61.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,227.23               $8,227.23
         CITY OF LENOIR
         PO BOX 961                                ¨ Contingent
         LENOIR NC 28648
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.62.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,032.75               $1,032.75
         CITY OF MARION
         CLAUDIA HILL                              ¨ Contingent
         PO DRAWER 700
         MARION NC 28752                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.63.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,362.43               $3,362.43
         CITY OF MARION
         CLAUDIA HILL                              ¨ Contingent
         PO DRAWER 701
         MARION NC 28753                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.64.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,068.54               $1,068.54
         CITY OF MORGANTON
         PO BOX 3448                               ¨ Contingent
         MORGANTON NC 28680
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.65.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,068.54               $1,068.54
         CITY OF MORGANTON
         PO BOX 3448                               ¨ Contingent
         MORGANTON NC 28680
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.66.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,207.40               $7,207.40
         CITY OF MORGANTON
         PO BOX 3448                               ¨ Contingent
         MORGANTON NC 28680
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.67.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,207.40               $7,207.40
         CITY OF MORGANTON
         PO BOX 3448                               ¨ Contingent
         MORGANTON NC 28680
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.68.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,102.92               $1,102.92
         CITY OF ROCKINGHAM
         514 ROCKINGHAM RD                         ¨ Contingent
         ROCKINGHAM NC 28379
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.69.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,902.43               $4,902.43
         CITY OF ROCKINGHAM
         514 ROCKINGHAM RD                         ¨ Contingent
         ROCKINGHAM NC 28379
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.70.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,236.16               $2,236.16
         CLARKE COUNTY TAX COMMISSIONER
         PO BOX 1768                               ¨ Contingent
         ATHENS GA 30603
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.71.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $23,936.58              $23,936.58
         CLARKE COUNTY TAX COMMISSIONER
         PO BOX 1769                               ¨ Contingent
         ATHENS GA 30604
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.72.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $27,677.06              $27,677.06
         CLARKE COUNTY TAX COMMISSIONER
         PO BOX 1770                               ¨ Contingent
         ATHENS GA 30605
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.73.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,845.28               $2,845.28
         CLEVELAND COUNTY TAX COLLECTOR
         PO BOX 760                                ¨ Contingent
         SHELBY NC 28151
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.74.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,779.47               $2,779.47
         CLEVELAND COUNTY TAX COLLECTOR
         PO BOX 760                                ¨ Contingent
         SHELBY NC 28151
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.75.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,535.06              $15,535.06
         CLEVELAND COUNTY TAX COLLECTOR
         PO BOX 760                                ¨ Contingent
         SHELBY NC 28151
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.76.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,218.74              $15,218.74
         CLEVELAND COUNTY TAX COLLECTOR
         PO BOX 760                                ¨ Contingent
         SHELBY NC 28151
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.77.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,459.79               $1,459.79
         COLUMBIA COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 3030
         EVANS GA 30809                            ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.78.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $16,481.27              $16,481.27
         COLUMBIA COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 3030
         EVANS GA 30809                            ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.79.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $20,421.95              $20,421.95
         COUNTY TREASURER (GB&S)
         PO BOX 100501                             ¨ Contingent
         FLORENCE SC 29502
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.80.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $20,421.95              $20,421.95
         COUNTY TREASURER (GB&S)
         PO BOX 100501                             ¨ Contingent
         FLORENCE SC 29502
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.81.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $20,466.36              $20,466.36
         COUNTY TREASURER (GB&S)
         PO BOX 100501                             ¨ Contingent
         FLORENCE SC 29502
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2016                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.82.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,656.37               $2,656.37
         FLORENCE COUNTY
         PO BOX 100501                             ¨ Contingent
         FLORENCE SC 29501
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.83.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,984.23               $2,984.23
         FLORENCE COUNTY
         PO BOX 100501                             ¨ Contingent
         FLORENCE SC 29501
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.84.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $200.00                 $200.00
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 3782
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.85.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $200.00                 $200.00
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 2663
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.86.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $200.00                 $200.00
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 9610
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.87.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $200.00                 $200.00
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 7857
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.88.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $200.00                 $200.00
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 7325
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.89.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $179,371.78             $179,371.78
         GA DEPARTMENT OF REVENUE
         PO BOX 740317                             ¨ Contingent
         ATLANTA GA 30374
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017-2018                                 SALES & USE TAX

         Last 4 digits of account                  Is the claim subject to offset?
         number: 8777
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.90.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $11,904.37              $11,904.37
         GASTON COUNTY
         PO BOX 580326                             ¨ Contingent
         CHARLOTTE NC 28258
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.91.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $684.00                 $684.00
         GREENE COUNTY
         204 N CUTLER ST                           ¨ Contingent
         SUITE 216
         GREENEVILLE TN 37745                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.92.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $642.00                 $642.00
         GREENE COUNTY
         204 N CUTLER ST                           ¨ Contingent
         SUITE 216
         GREENEVILLE TN 37745                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.93.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,037.00               $7,037.00
         GREENE COUNTY
         204 N CUTLER ST                           ¨ Contingent
         SUITE 216
         GREENEVILLE TN 37745                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.94.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,267.00               $7,267.00
         GREENE COUNTY
         204 N CUTLER ST                           ¨ Contingent
         SUITE 216
         GREENEVILLE TN 37745                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.95.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,350.77               $4,350.77
         GREENVILLE COUNTY
         301 UNIVERSITY RIDGE                      ¨ Contingent
         GREENVILLE SC 29601
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.96.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $9,419.63               $9,419.63
         GREENVILLE COUNTY
         301 UNIVERSITY RIDGE                      ¨ Contingent
         SUITE 700
         GREENVILLE SC 29601                       ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.97.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,350.77               $4,350.77
         GREENVILLE COUNTY
         301 UNIVERSITY RIDGE                      ¨ Contingent
         GREENVILLE SC 29601
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.98.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,265.66               $4,265.66
         GREENWOOD COUNTY
         528 MONUMENT ST R-101                     ¨ Contingent
         GREENWOOD SC 29646
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.99.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,290.66               $4,290.66
         GREENWOOD COUNTY
         528 MONUMENT ST R-101                     ¨ Contingent
         GREENWOOD SC 29646
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.100.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $49,337.77              $49,337.77
         GREENWOOD COUNTY
         528 MONUMENT ST R-101                     ¨ Contingent
         GREENWOOD SC 29646
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.101.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $83.22                  $83.22
         GUILFORD COUNTY TAX DEPARTMENT
         PO BOX 71072                              ¨ Contingent
         CHARLOTTE NC 28272
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.102.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,536.76              $15,536.76
         GUILFORD COUNTY TAX DEPARTMENT
         PO BOX 71073                              ¨ Contingent
         CHARLOTTE NC 28273
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.103.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,270.84               $2,270.84
         HENDERSON COUNTY TAX
         COLLECTOR                                 ¨ Contingent
         200 NORTH GROVE STREET
         HENDERSONVILLE NC 28792                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.104.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,033.36               $2,033.36
         HORRY COUNTY TREASURER
         PO BOX 1828                               ¨ Contingent
         CONWAY SC 29528
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.105.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,757.88              $15,757.88
         HORRY COUNTY TREASURER
         PO BOX 1829                               ¨ Contingent
         CONWAY SC 29529
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.106.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,046.22               $2,046.22
         HOUSTON COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 7799
         WARNER ROBINS GA 31095                    ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.107.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $11,179.18              $11,179.18
         HOUSTON COUNTY TAX
         COMMISSIONER                              ¨ Contingent
         PO BOX 7800
         WARNER ROBINS GA 31096                    ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.108.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,925.77               $2,925.77
         JACKIE W. WILLIAMS COUNTY
         TREASURER                                 ¨ Contingent
         PO BOX 1267
         GAFFENY SC 29342                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.109.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,063.76               $3,063.76
         JACKIE W. WILLIAMS COUNTY
         TREASURER                                 ¨ Contingent
         PO BOX 1267
         GAFFENY SC 29342                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.110.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,888.48               $3,888.48
         KERSHAW COUNTY TREASURER
         PO BOX 622                                ¨ Contingent
         CAMDEN SC 29021
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.111.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,888.48               $3,888.48
         KERSHAW COUNTY TREASURER
         PO BOX 623                                ¨ Contingent
         CAMDEN SC 29022
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.112.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $29,106.62              $29,106.62
         KERSHAW COUNTY TREASURER
         PO BOX 624                                ¨ Contingent
         CAMDEN SC 29023
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.113.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $29,106.62              $29,106.62
         KERSHAW COUNTY TREASURER
         PO BOX 625                                ¨ Contingent
         CAMDEN SC 29024
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.114.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,131.47               $4,131.47
         LAURENS COUNTY
         22725 HWY 76E                             ¨ Contingent
         CLINTON SC 29325
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.115.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,131.47               $4,131.47
         LAURENS COUNTY
         22726 HWY 76E                             ¨ Contingent
         CLINTON SC 29326
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.116.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $27,899.22              $27,899.22
         LAURENS COUNTY
         22727 HWY 76E                             ¨ Contingent
         CLINTON SC 29327
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.117.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $27,899.22              $27,899.22
         LAURENS COUNTY
         22728 HWY 76E                             ¨ Contingent
         CLINTON SC 29328
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.118.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $16,082.12              $16,082.12
         LEXINGTON COUNTY TREASURER
         212 SOUTH LAKE DR                         ¨ Contingent
         LEXINGTON SC 29072
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.119.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $16,082.12              $16,082.12
         LEXINGTON COUNTY TREASURER
         212 SOUTH LAKE DR                         ¨ Contingent
         LEXINGTON SC 29072
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.120.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,650.77               $2,650.77
         LINCOLN COUNTY
         PO BOX 938                                ¨ Contingent
         LINCOLNTON NC 28093
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.121.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,827.45               $2,827.45
         LINCOLN COUNTY
         PO BOX 938                                ¨ Contingent
         LINCOLNTON NC 28093
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.122.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,048.40              $15,048.40
         LINCOLN COUNTY
         PO BOX 938                                ¨ Contingent
         LINCOLNTON NC 28093
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.123.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,048.40              $15,048.40
         LINCOLN COUNTY
         PO BOX 938                                ¨ Contingent
         LINCOLNTON NC 28093
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.124.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,985.93               $1,985.93
         MACON COUNTY TAX COLLECTOR
         PO BOX 71059                              ¨ Contingent
         CHAROLTTE NC 28272
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.125.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,016.26               $1,016.26
         MACON COUNTY TAX COLLECTOR
         PO BOX 71060                              ¨ Contingent
         CHAROLTTE NC 28273
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.126.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $5,093.23               $5,093.23
         MACON COUNTY TAX COLLECTOR
         PO BOX 71061                              ¨ Contingent
         CHAROLTTE NC 28274
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.127.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $5,233.30               $5,233.30
         MACON COUNTY TAX COLLECTOR
         PO BOX 71062                              ¨ Contingent
         CHAROLTTE NC 28275
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.128.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,158.59               $1,158.59
         MCDOWELL COUNTY TAX COLLECTOR
         60 E COURT ST                             ¨ Contingent
         MARION NC 28752
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.129.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,033.74               $4,033.74
         MCDOWELL COUNTY TAX COLLECTOR
         61 E COURT ST                             ¨ Contingent
         MARION NC 28753
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.130.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $143,433.22             $143,433.22
         NC DEPARTMENT OF REVENUE
         PO BOX 25000                              ¨ Contingent
         RALEIGH NC 27640
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017-2018                                 SALES & USE TAX

         Last 4 digits of account                  Is the claim subject to offset?
         number: 4946
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.131.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,265.60               $2,265.60
         OCONEE COUNTY
         PO BOX 718                                ¨ Contingent
         WEST UNION SC 29696
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.132.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,380.75               $2,380.75
         OCONEE COUNTY
         PO BOX 718                                ¨ Contingent
         WEST UNION SC 29696
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.133.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,562.69               $2,562.69
         OCONEE COUNTY
         PO BOX 718                                ¨ Contingent
         WEST UNION SC 29696
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.134.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,562.69               $2,562.69
         OCONEE COUNTY
         PO BOX 718                                ¨ Contingent
         WEST UNION SC 29696
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.135.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,812.04               $4,812.04
         ORANGEBURG COUNTY TREASURER
         PO BOX 9000                               ¨ Contingent
         ORANGEBURG SC 29116
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.136.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $5,030.77               $5,030.77
         ORANGEBURG COUNTY TREASURER
         PO BOX 9000                               ¨ Contingent
         ORANGEBURG SC 29116
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.137.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $25,536.90              $25,536.90
         ORANGEBURG COUNTY TREASURER
         PO BOX 9000                               ¨ Contingent
         ORANGEBURG SC 29116
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.138.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,987.89               $2,987.89
         OREN L BRADY, SPARTANBURG
         COUNTY TREASURER                          ¨ Contingent
         PO BOX 100260
         COLUMBIA SC 29202                         ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.139.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $28,578.78              $28,578.78
         OREN L BRADY, SPARTANBURG
         COUNTY TREASURER                          ¨ Contingent
         PO BOX 100260
         COLUMBIA SC 29202                         ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.140.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,266.20               $2,266.20
         OREN L BRADY, SPARTANBURG
         COUNTY TREASURER                          ¨ Contingent
         PO BOX 100260
         COLUMBIA SC 29202                         ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.141.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $43,621.26              $43,621.26
         OREN L BRADY, SPARTANBURG
         COUNTY TREASURER                          ¨ Contingent
         PO BOX 100260
         COLUMBIA SC 29202                         ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.142.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,110.53               $2,110.53
         PICKENS COUNTY
         222 MCDANIEL AVE B-15                     ¨ Contingent
         PICKENS SC 29671
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.143.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,569.27               $2,569.27
         PICKENS COUNTY
         222 MCDANIEL AVE B-15                     ¨ Contingent
         PICKENS SC 29671
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.144.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,428.41               $2,428.41
         PICKENS COUNTY
         1266 E CHURCH ST                          ¨ Contingent
         SUITE 112
         JASPER GA 30143                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.145.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $17,137.08              $17,137.08
         PICKENS COUNTY
         1267 E CHURCH ST                          ¨ Contingent
         SUITE 113
         JASPER GA 30144                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.146.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $17,137.08              $17,137.08
         PICKENS COUNTY
         1268 E CHURCH ST                          ¨ Contingent
         SUITE 114
         JASPER GA 30145                           ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.147.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $300.00                 $300.00
         PICKENS ENVIROMENTAL HEALTH
         1266 E CHURCH STREET                      ¨ Contingent
         JASPER GA 30143
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   HEALTH PERMIT

         Last 4 digits of account                  Is the claim subject to offset?
         number: NA
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.148.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $7,480.73               $7,480.73
         PULASKI COUNTY
         52 W MAIN ST                              ¨ Contingent
         SUITE 200
         PULASKI VA 24301                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.149.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $6,114.71               $6,114.71
         PULASKI COUNTY
         52 W MAIN ST                              ¨ Contingent
         SUITE 200
         PULASKI VA 24301                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.150.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $6,472.24               $6,472.24
         PULASKI COUNTY
         52 W MAIN ST                              ¨ Contingent
         SUITE 200
         PULASKI VA 24301                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.151.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,490.64               $8,490.64
         PULASKI COUNTY
         52 W MAIN ST                              ¨ Contingent
         SUITE 200
         PULASKI VA 24301                          ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.152.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,375.22               $4,375.22
         RICHLAND COUNTY
         PO BOX 8028                               ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.153.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,375.22               $4,375.22
         RICHLAND COUNTY
         PO BOX 8028                               ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.154.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $6,457.05               $6,457.05
         RICHLAND COUNTY
         PO BOX 8028                               ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.155.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $6,457.05               $6,457.05
         RICHLAND COUNTY
         PO BOX 8028                               ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.156.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,187.49               $4,187.49
         RICHLAND COUNTY TREASURER
         PO BOX 8028                               ¨ Contingent
         COLUMBIA SC 29202
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.157.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,907.14               $1,907.14
         RICHMOND COUNTY TAX COLLECTOR
         PO BOX 1070                               ¨ Contingent
         CHARLOTTE NC 28201
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.158.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,906.12               $1,906.12
         RICHMOND COUNTY TAX COLLECTOR
         PO BOX 1070                               ¨ Contingent
         CHARLOTTE NC 28201
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.159.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,598.61               $8,598.61
         RICHMOND COUNTY TAX COLLECTOR
         PO BOX 1070                               ¨ Contingent
         CHARLOTTE NC 28201
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.160.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,412.23               $8,412.23
         RICHMOND COUNTY TAX COLLECTOR
         PO BOX 1070                               ¨ Contingent
         CHARLOTTE NC 28201
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.161.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,086.80               $2,086.80
         RUTHERFORD COUNTY
         PO BOX 143                                ¨ Contingent
         RUTHERFORDTON NC 28139
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.162.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,200.58               $2,200.58
         RUTHERFORD COUNTY
         PO BOX 143                                ¨ Contingent
         RUTHERFORDTON NC 28139
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.163.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,681.17               $8,681.17
         RUTHERFORD COUNTY
         PO BOX 143                                ¨ Contingent
         RUTHERFORDTON NC 28139
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.164.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,919.90               $8,919.90
         RUTHERFORD COUNTY
         PO BOX 143                                ¨ Contingent
         RUTHERFORDTON NC 28139
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.165.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6347
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.166.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6347
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.167.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6356
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.168.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6356
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.169.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 3510
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.170.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6346
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.171.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6346
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.172.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6352
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.173.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6681
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.174.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6681
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.175.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6348
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.176.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6348
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.177.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,050.00               $3,050.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6342
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.178.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $2,305.00               $2,305.00
         SCDOR-BEVERAGE LICENSING
         ABL SECTION                               ¨ Contingent
         COLUMBIA SC 29214
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 6363
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.179.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $4,579.99               $4,579.99
         SPARTANBURG COUNTY TAX
         COLLECTOR                                 ¨ Contingent
         PO BOX 3060
         SPARTANBURG SC 29304                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.180.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $28,578.78              $28,578.78
         SPARTANBURG COUNTY TAX
         COLLECTOR                                 ¨ Contingent
         PO BOX 3060
         SPARTANBURG SC 29304                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.181.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,035.00               $1,035.00
         SULLIVAN COUNTY
         PO BOX 550                                ¨ Contingent
         BLOUNTVILLE TN 37617
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.182.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,035.00               $1,035.00
         SULLIVAN COUNTY
         PO BOX 550                                ¨ Contingent
         BLOUNTVILLE TN 37617
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.183.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,381.00              $15,381.00
         SULLIVAN COUNTY
         PO BOX 550                                ¨ Contingent
         BLOUNTVILLE TN 37617
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.184.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $15,381.00              $15,381.00
         SULLIVAN COUNTY
         PO BOX 550                                ¨ Contingent
         BLOUNTVILLE TN 37617
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.185.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,236.00               $1,236.00
         SULLIVAN COUNTY
         3528 HIGHWAY 126                          ¨ Contingent
         SUITE 101
         BLOUNTVILLE TN 37617                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.186.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,236.00               $1,236.00
         SULLIVAN COUNTY
         3528 HIGHWAY 126                          ¨ Contingent
         SUITE 101
         BLOUNTVILLE TN 37617                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.187.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $14,449.00              $14,449.00
         SULLIVAN COUNTY
         3528 HIGHWAY 126                          ¨ Contingent
         SUITE 101
         BLOUNTVILLE TN 37617                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.188.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $14,449.00              $14,449.00
         SULLIVAN COUNTY
         3528 HIGHWAY 126                          ¨ Contingent
         SUITE 101
         BLOUNTVILLE TN 37617                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.189.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $739.60                 $739.60
         TOWN OF FRANKLIN
         PO BOX 1479                               ¨ Contingent
         FRANKLIN NC 28744
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.190.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $686.34                 $686.34
         TOWN OF FRANKLIN
         PO BOX 1480                               ¨ Contingent
         FRANKLIN NC 28745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.191.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,963.90               $3,963.90
         TOWN OF FRANKLIN
         PO BOX 1481                               ¨ Contingent
         FRANKLIN NC 28746
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.192.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,468.42               $3,468.42
         TOWN OF FRANKLIN
         PO BOX 1482                               ¨ Contingent
         FRANKLIN NC 28747
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.193.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $803.00                 $803.00
         TOWN OF GREENEVILLE
         200 N COLLEGE ST                          ¨ Contingent
         GREENEVILLE TN 37745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.194.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $807.00                 $807.00
         TOWN OF GREENEVILLE
         200 N COLLEGE ST                          ¨ Contingent
         GREENEVILLE TN 37745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.195.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,260.00               $8,260.00
         TOWN OF GREENEVILLE
         200 N COLLEGE ST                          ¨ Contingent
         GREENEVILLE TN 37745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.196.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $9,140.00               $9,140.00
         TOWN OF GREENEVILLE
         200 N COLLEGE ST                          ¨ Contingent
         GREENEVILLE TN 37745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.197.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $100.00                 $100.00
         TOWN OF GREENEVILLE
         200 N COLLEGE STREET                      ¨ Contingent
         GREENEVILLE TN 37745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         11/2018                                   ALCOHOL LICENSE

         Last 4 digits of account                  Is the claim subject to offset?
         number: 181
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.198.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $998.73                 $998.73
         UNION COUNTY TAX COMMISSIONER
         65 COURTHOUSE ST                          ¨ Contingent
         SUITE 3
         BLAIRSVILLE GA 30512                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.199.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $1,055.47               $1,055.47
         UNION COUNTY TAX COMMISSIONER
         65 COURTHOUSE ST                          ¨ Contingent
         SUITE 3
         BLAIRSVILLE GA 30512                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.200.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $8,987.92               $8,987.92
         UNION COUNTY TAX COMMISSIONER
         65 COURTHOUSE ST                          ¨ Contingent
         SUITE 3
         BLAIRSVILLE GA 30512                      ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.201.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,523.70               $3,523.70
         YORK COUNTY TREASURER
         PO BOX 116                                ¨ Contingent
         YORK SC 29745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.202.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $3,523.70               $3,523.70
         YORK COUNTY TREASURER
         PO BOX 116                                ¨ Contingent
         YORK SC 29745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      PERSONAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.203.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $29,816.30              $29,816.30
         YORK COUNTY TREASURER
         PO BOX 116                                ¨ Contingent
         YORK SC 29745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2018                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.204.   Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $29,816.30              $29,816.30
         YORK COUNTY TREASURER
         PO BOX 116                                ¨ Contingent
         YORK SC 29745
                                                   ¨ Unliquidated                                                      Nonpriority amount

                                                   ¨ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         2017                                      REAL PROPERTY TAXES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           1 CALL PLUMBING                                                                                   $466.48
           7407 REEDY CREEK RD                               ¨ Contingent
           CHARLOTTE NC 28215
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           3 DIMENSIONS LAWN CARE                                                                            $8,050.00
           251 PLEASANT VALLEY ROAD                          ¨ Contingent
           CHERAW SC 29520
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           511 SPONSORSHIP GEORGIA, LLC                                                                      $150.00
           420 S HILL ST                                     ¨ Contingent
           BUFORD GA 30518
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A BETTER CLEAN                                                                                    $4,160.00
         PO BOX 632                                        ¨ Contingent
         CLYDE NC 28721
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A LOCKSMITH                                                                                       $303.17
         2756 MORGANTON BLVD SW                            ¨ Contingent
         LENIOR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A ROOTER KING, INC                                                                                $300.00
         PO BOX 6235                                       ¨ Contingent
         ASHEVILLE NC 28816-6235
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A.D.W. INC                                                                                        $530.00
         334-B WINGO HEIGHTS RD                            ¨ Contingent
         SPARTANBURG SC 29301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AAA APPLIANCE CARE                                                                                $335.00
         5644 SAXON AVE                                    ¨ Contingent
         UNIT 5
         N CHARLESTON SC 29406                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.9.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AAA SIGN COMPANY, INC                                                                             $377.84
         PO BOX 211410                                     ¨ Contingent
         AUGUSTA GA 30917
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AB BACKFLOW, LLC                                                                                  $66.34
         PO BOX 1966                                       ¨ Contingent
         CANDLER NC 28715
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABINGDON SNOW REMOVAL                                                                             $750.00
         1117 COLUMBIA ROAD                                ¨ Contingent
         BRISTOL TN 37620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABSOLUTE SIGN WORKS                                                                               $4,794.06
         1737-B POWDERSVILLE ROAD                          ¨ Contingent
         EASLEY SC 29642
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.13.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACCESS POINT                                                                                      $16,103.84
         PO BOX 382828                                     ¨ Contingent
         PITTSBURGH PA 15251-8828
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.14.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACE REFRIGERATION SERVICE                                                                         $17,857.25
         104 BLUEBIRD LANE                                 ¨ Contingent
         BLUE RIDGE GA 30513
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.15.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADAMS OUTDOOR ADVERTISING                                                                         $19,406.00
         PO BOX 809140                                     ¨ Contingent
         CHICAGO IL 60680-9140
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.16.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADP, INC                                                                                          $3,442.80
         PO BOX 842875                                     ¨ Contingent
         BOSTON MA 02284-2875
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.17.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADVANCED RESTAURANT SERVICES                                                                      $62,095.49
         P O BOX 595                                       ¨ Contingent
         SWANNANOA NC 28778
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.18.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AFFORDABLE DRAIN CLEANING&PLUMBING                                                                $3,830.00
         50 HICKORY DR                                     ¨ Contingent
         BRISTOL VA 24201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.19.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AFFORDABLE PLUMBING SOLUTIONS, INC                                                                $278.00
         216 TIMBER RIDGE DR                               ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.20.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AFFORDABLE SERVICES                                                                               $1,718.89
         391 WEST PALMER ST                                ¨ Contingent
         FRANKLIN NC 28734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.21.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AIKEN CHAMBER OF COMMERCE                                                                         $455.50
         PO BOX 892                                        ¨ Contingent
         AIKEN SC 29802
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.22.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AIR SERVICES & REFRIGERATION SPECIALTIES,                                                         $242.50
         INC                                               ¨ Contingent
         PO BOX 14651
         SAVANNAH GA 31416                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.23.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALAN GRAGG                                                                                        $860.99
         996 SUNRISE CIR. NE                               ¨ Contingent
         LENOIR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.24.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALETHA, WASHINGTON                                                                                UNDETERMINED
         136 MEGAN LANE                                    þ Contingent
         LEXINGTON SC 29073
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.25.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEXANDER, KENNETH                                                                                $56,688.00
         245 STRASBURG DR                                  ¨ Contingent
         SIMPSONVILLE SC 29681
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OP PAYOUT BALANCE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.26.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALL AMERICAN PLUMBING                                                                             $625.00
         124 WILLIAMS RD                                   ¨ Contingent
         AUBURN GA 30011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.27.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALL SEASON LAWN AND MORE                                                                          $200.00
         399 BROYLES LANE                                  ¨ Contingent
         BRISTOL TN 37620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.28.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALPHA MEDIA                                                                                       $31,509.59
         1900 PINEVIEW DRIVE                               ¨ Contingent
         COLUMBIA SC 29209
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.29.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALPINE ELECTRIC SERVICE                                                                           $130.00
         523 SENECA DRIVE                                  ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.30.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALTERNATIVE SOLUTIONS FLOOR CLEANING                                                              $2,504.00
         SERVICE                                           ¨ Contingent
         19 MEYER FARM RD
         ARNOLDSVILLE GA 30619                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.31.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AM WHKP 1450                                                                                      $154.14
         1450 7TH AVE EAST                                 ¨ Contingent
         HENDERSONVILLE NC 28792
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.32.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMBIANCE RADIO                                                                                    $3,985.94
         79 E DAILY DRIVE                                  ¨ Contingent
         STE 263
         CAMARILLO CA 93010                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.33.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMJ LEASING, LLC                                                                                  $77.04
         PO BOX 41602                                      ¨ Contingent
         PHILADELPHIA PA 19101-1602
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.34.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMPLIFII                                                                                          $1,228.65
         2005 NEWPOINT PARKWAY #100                        ¨ Contingent
         LAWRENCEVILLE GA 30043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.35.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AN EXTREAM CLEAN                                                                                  $387.00
         140 STATE AVE                                     ¨ Contingent
         SUITE 101
         CLAYTON NC 27520                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.36.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANDERSON AREA CHAMBER                                                                             $765.00
         907 N MAIN STREET                                 ¨ Contingent
         SUITE 200
         ANDERSON SC 29621                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.37.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANDERSON COUNTY SEWER                                                                             $399.68
         PO BOX 13666                                      ¨ Contingent
         ANDERSON SC 29624
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.38.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANDERSON PLUMBING & IRRIGATION, INC                                                               $287.50
         PO BOX 748                                        ¨ Contingent
         HARTSVILLE SC 29550
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.39.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APPALACHIAN ELECTRONICS                                                                           $1,269.65
         726 DOVER AVENUE                                  ¨ Contingent
         APPALACHIAN ELECTRONICS
         MT. CARMEL TN 37645                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.40.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APPALACHIAN POWER                                                                                 $9,616.39
         PO BOX 24414                                      ¨ Contingent
         CANTON OH 44701-4414
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.41.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARAMARK                                                                                           $44,786.26
         AUS CENTRAL LOCKBOX                               ¨ Contingent
         PO BOX 731676
         DALLAS TX 75373-1676                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.42.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AROUND THE CLOCK EQUIPMENT SERVICE                                                                $575.00
         8334 ARROWRIDGE BLVD-STE D                        ¨ Contingent
         CHARLOTTE NC 28273
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.43.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AROUND THE CLOCK PLUMBING SER, INC                                                                $426.44
         125 COTTONWOOD DRIVE                              ¨ Contingent
         SENECA SC 29678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.44.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARP'S CLEANING SERVICES                                                                           $350.00
         257 WEST VIEW DRIVE                               ¨ Contingent
         BLUE RIDGE GA 30513
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.45.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARRINGTON, JACOB                                                                                  UNDETERMINED
         325 JOCKEY CLUB DR                                þ Contingent
         ATHENS GA 30605
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AUTO LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.46.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARROW EXTERMINATORS                                                                               $500.00
         108 BLUE RIDGE HIGHWAY                            ¨ Contingent
         SUITE D
         BLAIRSVILLE GA 30512                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.47.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ART FOWLER                                                                                        $290.52
         123 VENUS WAY                                     ¨ Contingent
         BONAIRE GA 31005
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.48.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHEVILLE AREA CHAMBER                                                                            $656.00
         PO BOX 1010                                       ¨ Contingent
         ASHEVILLE NC 28802
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.49.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHEVILLE FIRE PROTECTION CO., INC                                                                $474.15
         PO BOX 6798                                       ¨ Contingent
         ASHEVILLE NC 28816
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.50.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASPIRE FIRE SPRINKLER, INC                                                                        $1,906.25
         PO BOX 1310                                       ¨ Contingent
         ELGIN SC 29045
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.51.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AT&T                                                                                              $1,062.36
         ATTN: REGIONAL SUMMARY BILL                       ¨ Contingent
         PO BOX 105320
         ATLANTA GA 30348                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.52.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AT&T                                                                                              $221.68
         PO BOX 105262                                     ¨ Contingent
         ATLANTA GA 30348-5262
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.53.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATC COOLING & HEATING                                                                             $685.23
         120 BROOKFIELD LANE                               ¨ Contingent
         KINGSPORT TN 37663
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.54.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATHENS CLARKE COUNTY FINANCE DEPT                                                                 $1,738.45
         PO BOX 16869                                      ¨ Contingent
         ATLANTA GA 30321-0869
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.55.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATMOS ENERGY                                                                                      $7,899.76
         PO BOX 790311                                     ¨ Contingent
         ST. LOUIS MO 63179-0311
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.56.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATMOS,                                                                                            UNDETERMINED
         PO BOX 790311                                     þ Contingent
         ST LOUIS MO 63179
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AUTO LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.57.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUGUST PRODUCE, INC                                                                               $92.00
         PO BOX 961                                        ¨ Contingent
         HIGHLANDS NC 28741
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.58.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUGUSTA CARPET CLEANING                                                                           $7,850.00
         PO BOX 14622                                      ¨ Contingent
         AUGUSTA GA 30919
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.59.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUTHORIZED COMMERCIAL EQUIP                                                                       $351.41
         PO BOX 602739                                     ¨ Contingent
         CHARLOTTE NC 28260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.60.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUTOMATIC FIRE SYSTEMS OF AUGUSTA                                                                 $556.86
         3326 MIKE PADGETT HWY                             ¨ Contingent
         AUGUSTA GA 30906
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.61.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AVERY HEATING & AIR CONDITIONING                                                                  $3,506.40
         PO BOX 1418                                       ¨ Contingent
         NEWLAND NC 28657
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.62.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         B AND T SAND COMPANY INC                                                                          $124,601.50
         715 BARRIER LN                                    ¨ Contingent
         LEXINGTON SC 29073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.63.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         B BROTHERS                                                                                        $4,164.50
         1035 S BATESVILLE RD                              ¨ Contingent
         GREER SC 29650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.64.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAGAT, INC                                                                                        $103.00
         PO BOX 292148                                     ¨ Contingent
         KETTERING OH 45429
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.65.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAILEY, GEORGE R JR.                                                                              $101,841.96
         125 JETT FOREST CT NW                             ¨ Contingent
         ATLANTA GA 30327
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.66.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BALLENTINE EQUIPMENT                                                                              $20,645.53
         PO BOX 476                                        ¨ Contingent
         GREENVILLE SC 29601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.67.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARNETT FAMILY TRUST                                                                              UNDETERMINED
         16869 ENCINO HILLS DRIVE                          þ Contingent
         ENCINO CA 91436
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.68.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARNETT FAMILY TRUST                                                                              $38,000.00
         NATALIE BARNETT                                   þ Contingent
         16869 ENCINO HILLS DRIVE
         ENCINO CA 91436                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.69.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARNETT,BILL                                                                                      $0.00
         11908 DARLINGTON AVE                              ¨ Contingent
         PH 2
         LOS ANGELES CA 90049                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.70.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BBI METRICS                                                                                       $1,641.25
         17304 PRESTON ROAD                                ¨ Contingent
         SUITE 430
         DALLAS TX 75252                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.71.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BB'S SERVICES                                                                                     $1,725.00
         2204 HWY 14                                       ¨ Contingent
         SIMPSONVILLE SC 29681
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.72.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BDO USA, LLP                                                                                      $12,500.00
         PO BOX 642743                                     ¨ Contingent
         PITTSBURGH PA 15264-2743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.73.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BECKS PLUMBING                                                                                    $1,110.00
         311 MORROW STREET                                 ¨ Contingent
         GREER SC 29650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.74.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENEFIT STREET PARTNERS, AS AGENT                                                                 $16,578,362.34
         SERGE KOZMIN                                      ¨ Contingent
         50 KENNEDY PLAZA
         18TH FLOOR                                        ¨ Unliquidated
         PROVIDENCE RI 02903                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         MARCH 21, 2014                                    SENIOR SUBORDINATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.75.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENFIELD MECHANICAL SER. INC                                                                      $265.17
         PO BOX 3365                                       ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.76.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENJAMIN FRANKLIN PLUMBING                                                                        $407.00
         3307 NEW EASLEY HEY                               ¨ Contingent
         GREENVILLE SC 29611
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.77.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENJAMIN FRANKLINPLUMBING                                                                         $1,799.81
         PO BOX 427                                        ¨ Contingent
         SOUTHERN PINES NC 28388
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.78.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENNETT'S FIRE EXTINGUISHER                                                                       $32.03
         716 E. WASHINGTON ST EXT                          ¨ Contingent
         ROCKINGHAM NC 28379
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.79.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BETHLEHEM LOCK AND KEY                                                                            $106.21
         PO BOX 637                                        ¨ Contingent
         BETHLEHEM GA 30620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.80.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEVERAGE SOUTH                                                                                    $14.27
         265 METROPOLITAN DRIVE                            ¨ Contingent
         WEST COLUMBIA SC 29170
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.81.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BFPE                                                                                              $1,766.31
         PO BOX 791045                                     ¨ Contingent
         BALTIMORE MD 21279-1045
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.82.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BIRCH COMMUNICATIONS                                                                              $234.52
         PO BOX 791371                                     ¨ Contingent
         BALTIMORE MD 21279-1371
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.83.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLACK BOX                                                                                         $3,450.00
         17304 PRESTON ROAD                                ¨ Contingent
         SUITE 430
         DALLAS TX 75252                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.84.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLACKBURN, SKYLLAR G                                                                              UNDETERMINED
         1902 EVANS MILL RD                                þ Contingent
         CHESTERFIELD SC 29709
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AUTO LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.85.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLAKLEY, SHELBY Y                                                                                 UNDETERMINED
         416 E WASHINGTON STREET E                         þ Contingent
         ROCKINGHAM NC 28379
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.86.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE OUTDOOR                                                                                      $3,400.00
         419 PARK AVENUE SOUT, SUITE 605                   ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.87.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE RIDGE ELECTRIC COOPERATIV                                                                    $8,247.02
         PO BOX 277                                        ¨ Contingent
         PICKENS SC 29671
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.88.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE RIDGE MOUNTAIN EMC                                                                           $9,974.17
         PO BOX 9                                          ¨ Contingent
         YOUNG HARRIS GA 30582-0009
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.89.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOARD OF PUBLIC WORKS                                                                             $6,650.12
         PO BOX 64                                         ¨ Contingent
         GAFFNEY SC 29342
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.90.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOOKER, RONNIE                                                                                    UNDETERMINED
         163 B HIDDEN HILL RD                              þ Contingent
         SPARTANBURG SC 29301
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.91.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOON ADMINISTRATIVE SERVICES, INC                                                                 $13,308.81
         PO BOX 671227                                     ¨ Contingent
         DALLAS TX 75267-1227
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.92.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BORDER STATES                                                                                     $476.18
         PO BOX 603585                                     ¨ Contingent
         CHARLOTTE NC 28260-3585
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.93.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRAD’S LAWN MAINTENANCE                                                                           UNDETERMINED
         P.O. BOX 671                                      þ Contingent
         ANDERSON SC 29622
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.94.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRAD'S LAWN MAINTENANCE                                                                           $1,800.00
         PO BOX 671                                        ¨ Contingent
         ANDERSON SC 29622
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.95.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRI-DARRA                                                                                         $5,100.00
         PO BOX 1733                                       ¨ Contingent
         CONWAY SC 29528
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.96.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRISCALL ELECTRIC                                                                                 $492.21
         PO BOX 8128                                       ¨ Contingent
         GRAY TN 37615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.97.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRISTOL BROADCASTING COMPANY, INC                                                                 $7,619.40
         PO BOX 1389                                       ¨ Contingent
         BRISTOL VA 24203
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.98.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRISTOL TN-VIRGINIA CHAMBER                                                                       $359.00
         PO BOX 519                                        ¨ Contingent
         BRISTOL VA 24203
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.99.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRITTINGHAM PLUMBING CO., INC                                                                     $550.00
         1912-A CENTRAL AVE                                ¨ Contingent
         AUGUSTA GA 30904
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.100.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROOKS & MALONE PLUMBING CONTRACTORS                                                              $327.63
         3260 ASHEVILLE HWY                                ¨ Contingent
         GREENEVILLE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.101.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROOKS ELECTRIC LLC                                                                               $230.00
         1018 HWY 246 N                                    ¨ Contingent
         GREENWOOD SC 29649
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.102.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROTHER AIR AND HEATING INC                                                                       $89.00
         1320 EAST MAIN ST                                 ¨ Contingent
         ROCK HILL SC 29730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.103.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROWNS CLEANING SERVICE                                                                           $55.00
         PO BOX 1733                                       ¨ Contingent
         AUGUSTA GA 30903
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.104.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRYAN ROBERTSON                                                                                   $603.00
         211 SEAGRAVES DR                                  ¨ Contingent
         ATHENS GA 30605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.105.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BTES                                                                                              $3,989.85
         PO BOX 549                                        ¨ Contingent
         BRISTOL TN 37621-0549
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.106.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUCHANAN'S MAINTENANCE & WINDO                                                                    $300.00
         2131 WOODRUFF ROAD                                ¨ Contingent
         SUITE 2100 BOX 112
         GREENVILLE SC 29607-5959                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.107.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUCKNER PLUMBING, INC                                                                             $2,496.52
         1240 US HWY 70 WEST                               ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.108.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUDDYS HARWARE                                                                                    $125.00
         210 N BROAD ST                                    ¨ Contingent
         CLINTON SC 29325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.109.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUFFINGTON, CHRIS W                                                                               UNDETERMINED
         2557 CAMREY COURT                                 þ Contingent
         LAWRENCEVILLE GA 30044
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.110.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BULLARD, TYLER M                                                                                  UNDETERMINED
         2433 TROUTMAN CIR                                 þ Contingent
         CONWAY SC 29526
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.111.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BULLDOG RESTORATION                                                                               $900.00
         6210 TREVOR WAY                                   ¨ Contingent
         YOUNG HARRIS GA 30582
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.112.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BURNS LANDSCAPING SERVICES                                                                        $645.00
         661 COOLEY ROAD                                   ¨ Contingent
         GRAY COURT SC 29645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.113.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUZZELL PLUMBING, HEATING & AIR                                                                   $1,013.52
         4811 RUSSELL PARKWAY                              ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.114.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         C&N BIOLOGIC SOLUTIONS                                                                            $450.00
         137 ARROWOOD LANDING                              ¨ Contingent
         BLAIRSVILLE GA 30512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.115.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         C.E. HOLT REFRIGERATION                                                                           $7,876.07
         3316 GIBBON ROAD                                  ¨ Contingent
         CHARLOTTE NC 28269
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.116.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CALDWELL COUNTY CHAMBER                                                                           $1,000.00
         1909 HICKORY BLVD. SW                             ¨ Contingent
         LENOIR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.117.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CALDWELL RESTAURANT EQUIPMENT                                                                     $313.73
         2702 NORWOOD ST. SW                               ¨ Contingent
         LENOIR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.118.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CALVIN ELMORE                                                                                     $625.00
         804 EAST MAINT ST                                 ¨ Contingent
         SHELBY NC 28150
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.119.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAMDEN MEDIA CO.                                                                                  $375.00
         PO BOX 1137                                       ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.120.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAMDEN PLUMBING CO, INC                                                                           $621.04
         2417 HAILE STREET                                 ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.121.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARAWAY FIRE & SAFETY                                                                             $2,348.13
         4310 AUGUSTA ROAD                                 ¨ Contingent
         LEXINGTON SC 29073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.122.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARLAND SIGNS AND LIGHTING LLC                                                                    $3,785.00
         PO BOX 852                                        ¨ Contingent
         LANCASTER SC 29721
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.123.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA BEER COMPANY                                                                             $192.00
         PO BOX 938                                        ¨ Contingent
         ANDERSON SC 29622
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.124.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA CHILD CARE PROPERTIES                                                                    $110,385.08
         RANDY DAVIS                                       ¨ Contingent
         887 JOHNNIE DODDS BLVD
         STE 208                                           ¨ Unliquidated
         MT. PLEASANT SC 29464                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.125.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA CHILD CARE PROPERTIES, LLC                                                               UNDETERMINED
         ATTN: DENNIS E. DREW, MGR.                        þ Contingent
         887 JOHNNIE DODDS BLVD., STE. 208
         MOUNT PLEASANT SC 29464                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.126.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA CUTLERY SERVICE INC.                                                                     $28.50
         PO BOX 7106                                       ¨ Contingent
         CHARLOTTE NC 28241
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.127.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA ELITE PLUMBING                                                                           $223.10
         2524 TIMBERWOOD LANE                              ¨ Contingent
         LENOIR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.128.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA FIRE SAFETY                                                                              $900.00
         PO BOX 2134                                       ¨ Contingent
         IRMO SC 29063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.129.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA HEADWEAR, LLC                                                                            $11,360.32
         3124B BOLING SPRINGS RD                           ¨ Contingent
         BOILING SPRINGS SC 29316
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.130.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA KITCHENS INC                                                                             $1,638.86
         901 HIGHWAY 348                                   ¨ Contingent
         LORIS SC 29569
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.131.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA PRO                                                                                      $2,620.00
         PO BOX 1152                                       ¨ Contingent
         VALDESE NC 28690
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.132.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA R.C.S                                                                                    $3,195.00
         105 PORT ROYAL DRIVE                              ¨ Contingent
         GREENVILLE SC 29615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.133.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA SIGNS                                                                                    $300.00
         3302 S NEW HOPE ROAD                              ¨ Contingent
         SUITE 300-B
         GASTONIA NC 28056                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.134.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA SOUND COMMUNICATIONS                                                                     $465.68
         PO BOX 890711                                     ¨ Contingent
         CHARLOTTE NC 28289-0711
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.135.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA STITCHES, INC                                                                            $24.00
         103 CLAY STREET                                   ¨ Contingent
         CLINTON SC 29325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.136.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA UNDER PRESSURE                                                                           $825.00
         141 CEDAR DRIVE NW                                ¨ Contingent
         CONCORD NC 28025
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.137.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROLINA WINDOW WORKS                                                                             $350.00
         14 TYRE LANE                                      ¨ Contingent
         TAYLORS SC 29687
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.138.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARROLL CO CIRCUIT COURT                                                                          $7.06
         PO BOX 218                                        ¨ Contingent
         HILLSVILLE VA 24343-0218
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.139.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARTER COUNTY CHAMBER OF COMMERCE                                                                 $350.00
         500 VETERANS MEMORIAL PKWY                        ¨ Contingent
         ELIZABETHTON TN 37644
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.140.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARTRIDGE WORLD                                                                                   $164.22
         1735 W STATE OF FRANKLIN RD                       ¨ Contingent
         SUITE 9
         JOHNSON CITY TN 37604                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.141.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARTRIDGE ZONE                                                                                    $113.58
         329 NEW LEICESTER HWY                             ¨ Contingent
         ASHEVILLE NC 28806
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.142.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASCOSIGNS INC                                                                                    $203.90
         PO BOX 1349                                       ¨ Contingent
         CONCORD NC 28026
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.143.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASPER'S BODY AND LOCKSMITH SHOP LLC                                                              $2,195.00
         402 WEST DEPOT STREET                             ¨ Contingent
         GREENEVILLE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.144.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CATER'S FOOD SERVICE EQUIPMENT                                                                    $3,354.51
         174 LONGVIEW DRIVE                                ¨ Contingent
         JEFFERSON GA 30549
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.145.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAULDER PLUMBING CO                                                                               $95.00
         829 MILL ST                                       ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.146.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CDG REAL ESTATE TENNESSEE LLC                                                                     $22,313.61
         GUO CHENG                                         ¨ Contingent
         9763 SCOTCH PINE DR
         SPRINGBORO OH 45066                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.147.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CDW COMPUTER SERVICES, INC.                                                                       $2,423.64
         PO BOX 75723                                      ¨ Contingent
         CHICAGO IL 60675-5723
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.148.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CEIL-BRITE                                                                                        $619.00
         JOHN M WEATHERS DBA CEILBRITE                     ¨ Contingent
         590 BABB ROAD
         TOWNVILLE SC 29689                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.149.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTER CAROLINA SPRINKLER COMPANY, INC                                                            $275.00
         PO BOX 602                                        ¨ Contingent
         LINCOLNTON NC 28093-0602
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.150.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTURYLINK                                                                                       $194.67
         PO BOX 1319                                       ¨ Contingent
         CHARLOTTE NC 28201-1319
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.151.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CGD REALESTATE TENNESSEE LLC                                                                      $9,549.79
         9763 SCOTCH PINE DR                               ¨ Contingent
         SPRINGBORO OH 45066
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.152.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHADWICK, HAYLEY N                                                                                UNDETERMINED
         550 OSCAR PRICE RD                                þ Contingent
         LEXINGTON SC 29073
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.153.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHANDLER SCHLUTOW                                                                                 $104.52
         175 MEADOW CREEK LANE                             ¨ Contingent
         ATHENS GA 30605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.154.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHANIN GILBERT                                                                                    $172.64
         WARNER ROBINS                                     ¨ Contingent
         13 LANWICK CT
         POOLER GA 31322                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.155.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHAPMAN PLUMBING                                                                                  $1,523.00
         1679 WILLISTON HWY                                ¨ Contingent
         BEECH ISLAND SC 29842
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.156.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHAPPELLS MAINTENANCE                                                                             $1,512.50
         PO BOX 702                                        ¨ Contingent
         NEWBERRY SC 29108
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.157.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLES A MARTIN                                                                                  $125.00
         3755 MT. TABOR ROAD                               ¨ Contingent
         BLACKSBURG VA 24060
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.158.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLESTON WATER SYSTEM                                                                           $4,096.52
         PO BOX 568                                        ¨ Contingent
         CHARLESTON SC 29402-0568
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.159.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARTER COMMUNICATIONS                                                                            $5,165.84
         PO BOX 742600                                     ¨ Contingent
         CINCINNATI OH 45274-2600
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.160.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHATTANOOGA FIRE PROTECTION                                                                       $512.95
         PO BOX 948                                        ¨ Contingent
         CHATTANOOGA TN 37401
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.161.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHEADLE SIGNWORKS                                                                                 $1,312.00
         134 JOHNSTON BLVD                                 ¨ Contingent
         ASHEVILLE NC 28806
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.162.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHEROKEE COUNTY TREASURER                                                                         $50.00
         PO BOX 1267                                       ¨ Contingent
         GAFFNEY SC 29342
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.163.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHESTERFIELD COUNTY RURAL WATER CO                                                                $108.00
         PO BOX 270                                        ¨ Contingent
         CHESTERFIELD SC 29709-0270
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.164.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CINDY BROWN                                                                                       $33.28
         515 S MCKEE ST                                    ¨ Contingent
         GREENEVILLE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.165.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CINTAS                                                                                            $43,075.33
         PO BOX 633173                                     ¨ Contingent
         CINCINNATI OH 45263-3173
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.166.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CIT                                                                                               UNDETERMINED
         21146 NETWORK PLACE                               þ Contingent
         CHICAGO IL 60673-1211
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.167.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CIT                                                                                               $37,221.00
         21146 NETWORK PLACE                               þ Contingent
         CHICAGO IL 60673-1211
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.168.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY GASTONIA                                                                                     $6,900.19
         PO BOX 580068                                     ¨ Contingent
         CHARLOTTE NC 28258-0068
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.169.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF AIKEN                                                                                     $2,927.41
         PO BOX 1608                                       ¨ Contingent
         AIKEN SC 29802
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.170.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ASHEVILLE                                                                                 $250.00
         PO BOX 7148                                       ¨ Contingent
         ASHEVILLE NC 28802
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.171.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF BLAIRSVILLE                                                                               $4,012.67
         PO BOX 307                                        ¨ Contingent
         BLAIRSVILLE GA 30514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.172.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF BRISTOL TN                                                                                $761.42
         FINANCE DEPT                                      ¨ Contingent
         PO BOX 1348
         BRISTOL TN 37621-1348                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.173.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF CAMDEN                                                                                    $16,804.06
         PO BOX 7002                                       ¨ Contingent
         CAMDEN SC 29021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.174.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF CHARLOTTE                                                                                 $694.46
         PO BOX 1316                                       ¨ Contingent
         CHAROLTTE NC 28201-1316
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.175.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF CLINTON                                                                                   $22,057.71
         PO DRAWER 748                                     ¨ Contingent
         CLINTON SC 29325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.176.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF COLUMBIA                                                                                  $1,132.27
         PO BOX 7997                                       ¨ Contingent
         COLUMBIA SC 29202-7997
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.177.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF CONWAY                                                                                    $1,874.04
         PO BOX 1507                                       ¨ Contingent
         CONWAY SC 29528-1507
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.178.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ELIZABETHTON, TN                                                                          $1,757.76
         ATTN: DAVID ORNDUFF                               ¨ Contingent
         136 S SYCAMORE STREET
         ELIZABETHTON TN 37643-3300                        ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.179.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF FLORENCE                                                                                  $2,892.37
         324 W EVANS ST                                    ¨ Contingent
         FLORENCE SC 29501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.180.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF GREENSBORO                                                                                $1,163.80
         PO BOX 1170                                       ¨ Contingent
         GREENSBORO NC 27402-1170
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.181.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF HENDERSONVILLE                                                                            $150.00
         PO BOX 603068                                     ¨ Contingent
         CHARLOTTE NC 28260-3068
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.182.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF JASPER                                                                                    $680.72
         200 BURNT MOUNTAIN RD                             ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.183.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF KINGSPORT                                                                                 $3,081.89
         225 WEST CENTER ST                                ¨ Contingent
         KINGSPORT TN 37660-4237
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.184.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LENOIR                                                                                    $360.00
         PO BOX 958                                        ¨ Contingent
         LENOIR NC 28645-0958
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.185.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LINCOLNTON                                                                                $4,390.30
         PO BOX 617                                        ¨ Contingent
         LINCOLNTON NC 28093-0617
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.186.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MARION                                                                                    $2,085.98
         PO DRAWER 700                                     ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.187.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MORGANTON                                                                                 $5,527.92
         PO BOX 3448                                       ¨ Contingent
         MORGANTON NC 28680-3448
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.188.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF POOLER POLICE DEPARTMENT                                                                  $500.00
         100 US HIGHWAY 80 SW                              ¨ Contingent
         POOLER GA 31322
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.189.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ROCK HILL                                                                                 $6,851.24
         PO BOX 63039                                      ¨ Contingent
         CHAROLTTE NC 28263-3039
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.190.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ROCKINGHAM                                                                                $1,136.00
         514 ROCKINGHAM ROAD                               ¨ Contingent
         ROCKINGHAM NC 28379
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.191.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SHELBY                                                                                    $1,844.86
         PO BOX 207                                        ¨ Contingent
         SHELBY NC 28151-0207
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.192.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SPARTANBURG FALSE ALARM                                                                   $2,610.00
         PO BOX 602829                                     ¨ Contingent
         CHARLOTTE NC 28260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.193.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF TOCCOA                                                                                    $2,652.49
         PO BOX 1010                                       ¨ Contingent
         TOCCOA GA 30577-1010
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.194.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF WINDER                                                                                    $8,882.67
         PO BOX 568                                        ¨ Contingent
         WINDER GA 30680
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.195.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITYSCAPE ROOFING COMPANY INC                                                                     $562.68
         4260 EAST NC HWY 10                               ¨ Contingent
         CLAREMONT NC 28610
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.196.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CK PARTS                                                                                          $4,380.21
         PO BOX 2082                                       ¨ Contingent
         WEST COLUMBIA SC 29171
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.197.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLASSIC HITS 102.7                                                                                $1,606.50
         222 COMMERCE STREET                               ¨ Contingent
         KINGSPORT TN 37660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.198.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLAYTON SIGN WORKS, INC                                                                           $5,475.04
         PO BOX 778                                        ¨ Contingent
         LINCOLNTON NC 28093
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.199.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLAYTON TILE                                                                                      $872.43
         PO BOX 6151                                       ¨ Contingent
         GREENVILLE SC 29606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.200.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLEAN CUTS                                                                                        $200.00
         161 EDWARDS RD                                    ¨ Contingent
         RUTHERFORDTON NC 28139
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.201.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLEMSON UNIVERSITY ATHLETIC DE                                                                    $18,853.38
         C/O LEARFIELD COMMUNICATIONS                      ¨ Contingent
         PO BOX 843256
         KANSAS CITY MO 64184-3256                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.202.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT                                                                                    $533.41
         PO BOX 1557                                       ¨ Contingent
         CAMDEN SC 29021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.203.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT                                                                                    $31.61
         PO BOX 777                                        ¨ Contingent
         PICKENS SC 29671
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.204.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT - GREENWOOD                                                                        $129.15
         528 MONUMENT STREET ROOM 103                      ¨ Contingent
         GREENWOOD SC 29646
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.205.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT GAFFNEY                                                                            $102.98
         P.O. DRAWER 2289                                  ¨ Contingent
         GAFFNEY SC 29342
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.206.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT-ANDERSON                                                                           $53.18
         PO BOX 8002                                       ¨ Contingent
         ANDERSON SC 29622
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.207.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF COURT-WALHALLA                                                                           $276.79
         PO BOX 678                                        ¨ Contingent
         WALHALLA SC 29691
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.208.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLEVELAND COUNTY CHAMBER                                                                          $324.00
         200 S. LAFAYETTE STREET                           ¨ Contingent
         P.O. BOX 879
         SHELBY NC 28151                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.209.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLINTON-NEWBERRY NATURAL GAS                                                                      $1,825.26
         AUTHORITY-                                        ¨ Contingent
         PO BOX 511
         CLINTON SC 29325                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.210.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COASTAL HEATING AND AIR                                                                           $474.00
         10 BRYCE INDUSTRIAL DRIVE                         ¨ Contingent
         GARDEN CITY GA 31405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.211.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CODY JONES                                                                                        $2,115.44
         618 SCOUT CABIN ROAD                              ¨ Contingent
         KERSHAW SC 29067
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.212.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLUMBIA COUNTY WATER AND SEWER                                                                   $710.66
         PO BOX 960                                        ¨ Contingent
         GROVETOWN GA 30813
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.213.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMBINED UTILITY SYSTEM                                                                           $5,283.73
         PO BOX 619                                        ¨ Contingent
         EASLEY SC 29641-0619
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.214.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMCAST                                                                                           $410.77
         PO BOX 3001                                       ¨ Contingent
         SOUTHEASTERN PA 19398-3001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.215.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMCAST SPOTLIGHT                                                                                 $1,607.35
         PO BOX 409558                                     ¨ Contingent
         ATLANTA GA 30384-9558
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.216.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMFORT INN                                                                                       $253.65
         1550 E MAINT STREET                               ¨ Contingent
         LINCOLNTON NC 28092
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.217.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMCO INC                                                                                        $67.11
         1615 MONTAGUE AVE EXT                             ¨ Contingent
         GREENWOOD SC 29649
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.218.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMERCIAL LIGHTING                                                                               $1,957.24
         PO BOX 270651                                     ¨ Contingent
         TAMPA FL 33688
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.219.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMISSION OF PUBLIC WORKS - G                                                                    $7,702.01
         PO BOX 160                                        ¨ Contingent
         GREER SC 29652-0160
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.220.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMISSION OF PUBLIC WORKS-GWD                                                                    $5,155.87
         PO BOX 549                                        ¨ Contingent
         GREENWOOD SC 29648
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.221.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMUNITY BROADCASTERS, LLC                                                                       $2,490.00
         PO BOX 6344                                       ¨ Contingent
         FLORENCE SC 29501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.222.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONTEC EQUIPMENT SERVICE                                                                          $646.00
         612 FOREST LANE                                   ¨ Contingent
         ROCK HILL SC 29730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.223.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONWAY AREA OF CHAMBERS                                                                           $281.00
         PO BOX 831                                        ¨ Contingent
         CONWAY SC 29528
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.224.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COOL CARE HEATING & AIR                                                                           $100.00
         PO BOX 6764                                       ¨ Contingent
         COLUMBIA SC 29260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.225.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COOPER MECHANICAL SERVICES, INC                                                                   $1,125.34
         PO BOX 1331                                       ¨ Contingent
         MRYTLE BEACH SC 29578
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.226.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COX & SON ROOFING,INC                                                                             $135.00
         17 COX LANE                                       ¨ Contingent
         HAYESVILLE NC 28904
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.227.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COZZINI BROS., INC                                                                                $911.06
         350 HOWARD AVE                                    ¨ Contingent
         DES PLAINES IL 60018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.228.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRAFTY BEER GUYS                                                                                  $972.77
         11959 RAMAH CHURCH RD                             ¨ Contingent
         HUNTERSVILLE NC 28078
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.229.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRANFORD'S PLUMBING SERVICE                                                                       $114.00
         PO BOX 828                                        ¨ Contingent
         CONCORD NC 28025
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.230.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CREATIVE SIGN SERVICE, INC                                                                        $2,250.00
         ONE FREEDOM SQUARE                                ¨ Contingent
         LAUREL MS 39440-3367
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.231.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CREEKPOINTE                                                                                       $18,254.58
         1200 WOODRUFF RD                                  ¨ Contingent
         SUITE A-19
         GREENVILLE SC 29607                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.232.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CROOKS PLUMBING                                                                                   $135.00
         120 NORTH RETREAT RD.                             ¨ Contingent
         WESTMINSTER SC 29693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.233.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CULBERTSON ENTERPRISES INC                                                                        $2,400.00
         2435 EAST NORTH ST                                ¨ Contingent
         #346
         GREENVILLE SC 29615                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.234.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CUMBEES ULTIMATE CLEANING SERVICES                                                                $2,290.00
         PO BOX 210422                                     ¨ Contingent
         COLUMBIA SC 29221
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.235.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CUMULUS MEDIA                                                                                     $8,049.50
         3658 MOMENTUM PLACE                               ¨ Contingent
         CHICAGO IL 60689-5336
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.236.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CUMULUS TRI CITIES                                                                                $12,712.60
         3658 MOMENTUM PLACE                               ¨ Contingent
         CHICAGO IL 60689-5336
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.237.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CUMULUS-COLUMBIA, SC WOMG-FM                                                                      $13,445.30
         3663 MOMENTUM PLACE                               ¨ Contingent
         CHICAGO IL 60689-5336
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.238.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CYCLONE TOUCHDOWN CLUB                                                                            $1,200.00
         PO BOX 1762                                       ¨ Contingent
         ELIZABETHTON TN 7643
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.239.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D&L INCORPORATED                                                                                  $160.00
         221 PALMETTO ROAD                                 ¨ Contingent
         DARLINGTON SC 29532
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.240.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAISY OUTDOOR ADVERTISING CO.                                                                     $4,750.00
         PO BOX 882                                        ¨ Contingent
         GAFFNEY SC 29342
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.241.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D'ANGELO PLUMBING                                                                                 $297.50
         PO BOX 10036                                      ¨ Contingent
         WARNER ROBINS GA 31095
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.242.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DANI RODDEY                                                                                       $83.72
         4505 MEADOWOOD RD                                 ¨ Contingent
         COLUMBIA SC 29206
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.243.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DATA SOURCE                                                                                       $63,052.31
         PO BOX 660919                                     ¨ Contingent
         DALLAS TX 75266-0919
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.244.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAVIDS LAWN MAINTENANCE                                                                           $125.00
         118 TODD CIRCLE                                   ¨ Contingent
         SIMPSONVILLE SC 29681
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.245.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAVIS LANDSCAPING COMPANY LLC                                                                     $450.00
         PO BOX 130609                                     ¨ Contingent
         BIRMINGHAM AL 35213-0609
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.246.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAVIS WHITTLE                                                                                     $79.56
         211 SEAGRAVES DR                                  ¨ Contingent
         ATHENS GA 30605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.247.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEATON MECHANICAL                                                                                 $247.95
         PO BOX 80066                                      ¨ Contingent
         ATHENS GA 30608
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.248.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEDMOND ELEETRIC, INC                                                                             $841.11
         527 BELWOOD LAWNDALE RD                           ¨ Contingent
         LAWNDALE NC 28090
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.249.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEFINITION 6                                                                                      $761.86
         PO BOX 105328                                     ¨ Contingent
         ATLANTA GA 30348-5328
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.250.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DELUXE BUSINESS FORMS                                                                             $118.45
         PO BOX 742572                                     ¨ Contingent
         CINCINNATI OH 45274-2572
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.251.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEMITRI'S GOURMET MIXES                                                                           $677.05
         PO BOX 84123                                      ¨ Contingent
         SEATTLE WA 98124
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.252.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DENTON LAWN & LANDSCAPING                                                                         $1,500.00
         2222 PINEFIELD COURT                              ¨ Contingent
         GASTONIA NC 28056
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.253.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEPT. OF PUBLIC UTILITIES                                                                         $7,112.60
         CITY OF ORANGEBURG                                ¨ Contingent
         PO BOX 1057
         ORANGEBURG SC 29116-1057                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.254.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEREK SOARES PLUMBING , INC                                                                       $709.85
         255 BOYD LANE NW                                  ¨ Contingent
         INDIAN VALLEY VA 24105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.255.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DILL'S LOCKSMITH                                                                                  $241.26
         PO BOX 50238                                      ¨ Contingent
         GREENWOOD SC 29649
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.256.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIRECTV                                                                                           $5,092.07
         PO BOX 105249                                     ¨ Contingent
         ATLANTA GA 30348-5249
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.257.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISCOVERY                                                                                         $458.32
         PO BOX 9528                                       ¨ Contingent
         FARGO ND 58106-9528
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.258.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISCOVERY PLACE, INC                                                                              $6,100.00
         301 N TRYON STREET                                ¨ Contingent
         CHARLOTTE NC 28202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.259.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISH NETWORK                                                                                      $227.63
         PO BOX 94063                                      ¨ Contingent
         PALATINE IL 60094-4063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.260.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIVISION OF CHILD SUPPORT ENFORCEMENT                                                             $131.32
         PO BOX 570                                        ¨ Contingent
         RICHMOND VA 23218-0570
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.261.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIXIE LOCK & SAFE, INC.                                                                           $152.56
         3801-E WASHINGTON ROAD                            ¨ Contingent
         MARTINEZ GA 30907
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.262.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DLS ALARM SYSTEMS, INC                                                                            $6,815.60
         36 ENTERPRISE AVE                                 ¨ Contingent
         AIKEN SC 29803
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.263.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DOC MAINTENANCE INC                                                                               $1,142.15
         3695 CENTRE CIRCLE DR                             ¨ Contingent
         FORT MILL SC 29715
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.264.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DR.VINYL OF THE FOOTHILLS                                                                         $209.00
         1065 13TH AVE PLACE NW                            ¨ Contingent
         HICKORY NC 28601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.265.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DRESSLER, BRUCE                                                                                   UNDETERMINED
         HUCKS & FELKER, LLC                               þ Contingent
         DANIEL K. FELKER, ESQ.
         9610 TWO NOTCH RD., STE. 5                        þ Unliquidated
         COLUMBIA SC 29223                                 þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.266.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DRESSLER, BRUCE                                                                                   $52,228.45
         596 COLDSTREAM DR                                 þ Contingent
         COLUMBIA SC 29212
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OP PAYOUT BALANCE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.267.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DUKE ENERGY PROGRESS                                                                              $10,756.41
         PO BOX 1003                                       ¨ Contingent
         CHARLOTTE NC 28201-1003
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.268.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DUKE POWER                                                                                        $93,074.27
         PO BOX 70516                                      ¨ Contingent
         CHARLOTTE NC 28272-0515
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.269.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DURO-LAST, INC                                                                                    $603.99
         525 MORLEY DRIVE                                  ¨ Contingent
         SAGINAW MI 48601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.270.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAGLEWOOD PROPERTIES                                                                              $138,000.00
         12222 MERIT DR                                    ¨ Contingent
         STE 1750
         DALLAS TX 75251                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.271.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EARTHLINK INC                                                                                     $1,495.33
         PO BOX 2252                                       ¨ Contingent
         BIRMINGHAM AL 35246-1058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.272.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAST COAST SOLUTIONS, LLC                                                                         $2,719.83
         PO BOX 869                                        ¨ Contingent
         LONGS SC 29568
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.273.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAST FOREST PLAZA III LLC                                                                         $50,539.01
         COLIERS KEENAN INC                                ¨ Contingent
         PO BOX 11610
         COLUMBIA SC 29211                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.274.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAST TENNESSEE LANDSCAPING                                                                        $3,350.00
         1011 W. MAIN STREET                               ¨ Contingent
         GREENEVILLE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.275.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAST TENNESSEE SPRINKLER CO                                                                       $175.00
         PO BOX 6173                                       ¨ Contingent
         JOHNSON CITY TN 37602
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.276.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECKSTEIN SIGNS                                                                                    $950.00
         1885 NAZARETH CHURCH RD                           ¨ Contingent
         SPARTANBURG SC 29301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.277.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECMC                                                                                              $8.44
         LOCKBOX #7096                                     ¨ Contingent
         PO BOX 16478
         ST. PAUL MN 55116-0478                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.278.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECOLAB                                                                                            $55,547.06
         PO BOX 32027                                      ¨ Contingent
         NEW YORK NY 10087-2027
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.279.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECOLAB EQUIPMENT CARE                                                                             $144.78
         24673 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 6673-1246
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.280.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECOLAB FOOD SAFETY SPECIALTIES                                                                    $1,157.75
         24198 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1241
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.281.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ECOLAB PEST ELIMINATION DIVISI                                                                    $32,263.30
         26252 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1262
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.282.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EDT CONSTRUCTION                                                                                  $1,470.00
         35 RAILROAD ST                                    ¨ Contingent
         ARNOLDSVILLE GA 30619
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.283.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EDUARDO VALDES                                                                                    $220.00
         2424 LEAPHART RD                                  ¨ Contingent
         LOT 1B
         WEST COLUMBIA SC 29169                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.284.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EDWARDS REFRIGERATION, INC                                                                        $2,897.81
         PO BOX 1174                                       ¨ Contingent
         BENNETTSVILLE SC 29512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.285.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELITE APPLIANCE SERVICE LLC                                                                       $808.97
         3045A MAYBANK HWY                                 ¨ Contingent
         JOHNS ISLAND SC 29455
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.286.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELIZABETHTON ELECTRIC SYSTEM                                                                      $3,652.34
         PO BOX 790                                        ¨ Contingent
         ELIZABETHTON TN 37644-0790
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.287.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELLIS REPAIR SERVICE, INC                                                                         $210.00
         199 JOHN B WHITE SR. BLVD                         ¨ Contingent
         SPARTANBURG SC 29306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.288.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EM GORDON SERVICES, INC                                                                           $360.00
         986 GARNETT WARD RD                               ¨ Contingent
         HULL GA 30646
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.289.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMEDIA GROUP INC.                                                                                 $15,712.61
         PO BOX 1808                                       ¨ Contingent
         GREENVILLE SC 29602
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.290.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMERALD SERVICES                                                                                  $1,443.75
         2670 ROFF AVENUE                                  ¨ Contingent
         MACON GA 312084422
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.291.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMPIRE DISTRIBUTORS                                                                               $95.00
         1117A LOUISVILLE RD                               ¨ Contingent
         SAVANNAH GA 31415
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.292.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMPLOYMENT SCREENING SERVICES                                                                     $9,760.75
         PO BOX 830520                                     ¨ Contingent
         DEPT 5
         BIRMINGHAM AL 35283                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.293.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ENECO INC                                                                                         $2,717.60
         PO BOX 2531                                       ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.294.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ENTERCOM GREENVILLE WTPT-FM                                                                       $26,390.80
         25 GARLINGTON RD                                  ¨ Contingent
         GREENVILLE SC 29615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.295.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EPLEE & ASSOCIATES DIRECTORIES                                                                    $570.00
         PO BOX 27045                                      ¨ Contingent
         GREENVILLE SC 29616
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.296.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERIC ALLERS                                                                                       $340.00
         3818 TRENHOLM RD                                  ¨ Contingent
         COLUMBIA SC 29206
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.297.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERICA LAWS                                                                                        $172.64
         434 WOODSWAY LANE NW                              ¨ Contingent
         LENOIR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.298.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESG UPHOLSTERY ENTERPRISES                                                                        $860.00
         PO BOX 876                                        ¨ Contingent
         MEADOWS OF DAN VA 24120
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.299.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EYERETURN MARKETING LLC                                                                           $32,988.21
         110 EGLINGTON AVE EAST                            ¨ Contingent
         SUITE 701
         TORONTO ON M4P2Y1                                 ¨ Unliquidated
         CANADA                                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.300.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         F N WHOLESALE LIGHTING & SUPPLY                                                                   $1,372.45
         44 KINGSTON DRIVE #116                            ¨ Contingent
         DALEVILLE VA 24083
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.301.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FAIRWAY OUTDOOR ADVERTISING                                                                       $12,000.00
         P.O. BOX 60125                                    ¨ Contingent
         CHARLOTTE NC 28260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.302.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FAMILY SUPPORT REGISTRY                                                                           $161.95
         PO BOX 1800                                       ¨ Contingent
         CARROLLTON GA 30112-1800
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.303.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FASTSIGNS OF SPARTANBURG                                                                          $530.00
         220 E HENRY ST                                    ¨ Contingent
         SPARTANBURG SC 29306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.304.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDERAL EXPRESS CORPORATION                                                                       $12,092.59
         PO BOX 371461                                     ¨ Contingent
         PITTSBURGH PA 15250-7461
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.305.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDERAL WAGE AND LABOR LAW INSTITUTE                                                              $96.63
         7001 W 43RD STREET                                ¨ Contingent
         HOUSTON TX 77092
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.306.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FERGUSON ENTERPRISES.INC                                                                          $113.10
         PO BOX 100286                                     ¨ Contingent
         ATLANTA GA 30384-0286
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.307.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FESCO                                                                                             $411.71
         2315 SYCAMORE DRIVE                               ¨ Contingent
         KNOXVILLE TN 39721-1750
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.308.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FHS ATHLETIC BOOSTER CLUB                                                                         $1,050.00
         PO BOX 282                                        ¨ Contingent
         FRANKLIN NC 28744
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.309.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIBERNEW ROANOKE VALLEY                                                                           $625.00
         1885 MULHOLLAND CR                                ¨ Contingent
         ROANOKE VA 24012
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.310.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRE CONTROL SYSTEMS                                                                              $1,045.63
         11515 REAMES ROAD                                 ¨ Contingent
         CHARLOTTE NC 28269
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.311.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRE EQUIPMENT COMPANY, INC                                                                       $322.69
         PO BOX 19711                                      ¨ Contingent
         ROANOKE VA 24019
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.312.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRE PROTECTION SERVICES, INC                                                                     $748.78
         5825 GLENRIDGE DRIVE                              ¨ Contingent
         BUILDING 3 SUITE 101
         ATLANTA GA 30328                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.313.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRE SAFETY PRODUCTS, INC                                                                         $308.72
         203 DEPOT STREET                                  ¨ Contingent
         CHRISTIANSBURG VA 24073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.314.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST CLASS MAILING SOLUTIONS                                                                     $956.58
         PO BOX 55                                         ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.315.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FISHBOWL, INC                                                                                     $213,293.87
         PO BOX 740513                                     ¨ Contingent
         ATLANTA GA 30374-0513
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.316.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FISHER & PHILLIPS                                                                                 UNDETERMINED
         ROE CASSIDY COATES & PRICE, P.A.                  þ Contingent
         JAMES H. CASSIDY
         P.O. BOX 10529                                    þ Unliquidated
         GREENVILLE SC 29603                               þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.317.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FISHER & PHILLIPS LLP                                                                             $35,279.50
         1075 PEACHTREE STREET, NE                         ¨ Contingent
         SUITE 3500
         ATLANTA GA 30309                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.318.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIVE STAR PLUMBING                                                                                $225.00
         3385 BRUSHY CREEK RD                              ¨ Contingent
         GREER SC 29650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.319.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FLOOR PRO                                                                                         $1,500.00
         103 VERA RD                                       ¨ Contingent
         LEXINGTON SC 29072
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.320.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FLORIDA STATE DISBURSEMENT                                                                        $132.07
         PO BOX 8500                                       ¨ Contingent
         TALLAHASSEE FL 32314-8500
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.321.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FLOWERS BY TAMMY                                                                                  $60.38
         515 TUSCULUM BLVD                                 ¨ Contingent
         GREENEVILLE TN 37745
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.322.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORT HILL NATURAL GAS AUTHORIT                                                                    $1,601.00
         PO BOX 189                                        ¨ Contingent
         EASLEY SC 29641
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.323.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FOUR OAKS LAWN SERVICE                                                                            $4,125.00
         235 RIVEROAK RD                                   ¨ Contingent
         INMAN SC 29349
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.324.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRANKLIN MACHINE PRODUCTS, INC                                                                    $3,162.87
         PO BOX 781570                                     ¨ Contingent
         PHILADELPHIA PA 19178
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.325.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRONTIER                                                                                          $172.87
         PO BOX 20550                                      ¨ Contingent
         ROCHESTER NY 14602-0550
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.326.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FUNK, BEVERLY                                                                                     UNDETERMINED
         2126 OAKLAND RD                                   þ Contingent
         CHARLESTON SC 29414
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.327.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GA XTREME PRESSURE CLEANING                                                                       $481.50
         PO BOX 738                                        ¨ Contingent
         WINTERVILLE GA 30683
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.328.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GALLOWAY CONSTRUCTION, INC                                                                        $2,875.00
         910 TURNER ROAD                                   ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.329.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GAMBLE, PATTY                                                                                     UNDETERMINED
         306 PENDLETON RD                                  þ Contingent
         LOT 2
         GREENVILLE SC 29611                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        PRODUCTS CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.330.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARCIA STUDIO, INC                                                                                $5,476.08
         933 FIELDER AVENUE NW                             ¨ Contingent
         ATLANTA GA 30318
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.331.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARCIA-VALDEZ, DEYSI J                                                                            UNDETERMINED
         568 PEACHTREE ROCK RD                             þ Contingent
         LEXINGTON SC 29073
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.332.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARY AND MARGARET SMITH                                                                           $19,194.43
         123 PECAN LANE                                    ¨ Contingent
         CAYCE SC 29033
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.333.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASKET GUY                                                                                        $285.40
         PO BOX 26965                                      ¨ Contingent
         MACON GA 31221
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.334.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASKET GUY OF CENTRAL GA                                                                          $685.57
         PO BOX 26965                                      ¨ Contingent
         MACON GA 31221
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.335.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASKET GUY OF JACKSONVILLE/SAVANNAH                                                               $757.48
         100 NAUTILUS CT                                   ¨ Contingent
         PONTE VEDRA BEACH FL 32082
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.336.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASKET GUY OF THE FOOTHILLS, LLC                                                                  $608.48
         PO BOX 724                                        ¨ Contingent
         HICKORY NC 28603-0724
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.337.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASS, TAMMIE                                                                                      $36,661.00
         55 BALL RD                                        ¨ Contingent
         GREENEVILLE TN 37745
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OP PAYOUT BALANCE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.338.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASTON CHAMBER OF COMMERCE                                                                        $550.00
         601 W. FRANKLIN BLVD                              ¨ Contingent
         GASTONIA NC 28052
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.339.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GASTON HEATING & AIR CONDITIONING                                                                 $375.00
         PO BOX 1120                                       ¨ Contingent
         COLUMBUS NC 28722
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.340.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GEOFFREY S STUTCHMAN AND LEEHOUANG                                                                $96,783.12
         LEA STUCHMAN                                      ¨ Contingent
         16124 GREENWOOD LN
         MONTE SERENO CA 95030                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.341.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GEORGIA GASKET LLC                                                                                $1,001.30
         135 STANLEY COURT SUITE 112                       ¨ Contingent
         LAWRENCEVILLE GA 30046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.342.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GEORGIA POWER                                                                                     $21,972.39
         96 ANNEX                                          ¨ Contingent
         ATLANTA GA 30396-0001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.343.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GERALD R. WALTERS D/B/A                                                                           UNDETERMINED
         JERRY’S AUTO TRIM                                 þ Contingent
         164 FORDTOWN RD.
         ROCKINGHAM NC 28379                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.344.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GLENN PLUMBING CO, INC                                                                            $1,160.20
         481 E. WHITNER ST                                 ¨ Contingent
         ANDERSON SC 29624
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.345.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLDBERG KOHN                                                                                     $41,317.90
         55 EAST MONROE STREET                             ¨ Contingent
         SUITE 3300
         CHICAGO IL 60603-5792                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.346.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOODWIN & ASSOCIATES, LLC                                                                         $4,600.00
         11 SOUTH MAIN STREET                              ¨ Contingent
         SUITE 200
         CONCORD NH 03301                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.347.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOOGLE LLC                                                                                        $16,675.53
         DEPT 33654                                        ¨ Contingent
         PO BOX 39000
         SAN FRANCISCO CA 94139                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.348.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOULDS STEAM CLEANING                                                                             $325.00
         103 JAMESTOWN ROAD                                ¨ Contingent
         ROCKY MOUNT VA 24151
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.349.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRAND RENTAL STATION                                                                              $165.17
         2215 E. ANDREW JOHNSON HIGHWAY                    ¨ Contingent
         GREENEVILLE TN 37745
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.350.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRANT, DERRICK "ANDRE"                                                                            UNDETERMINED
         251 MILLER FARM RD                                þ Contingent
         WESTMINSTER SC 29693
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.351.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREASEPRO                                                                                         $7,700.00
         451 OLD JOHN DODD RD                              ¨ Contingent
         BOILING SPRINGS SC 29316
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.352.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREAT MEADOWS LLC                                                                                 $9,937.50
         PO BOX 400                                        ¨ Contingent
         SPRUCE PINE NC 28777
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.353.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREATER EASLEY                                                                                    $375.00
         P.O. BOX 241                                      ¨ Contingent
         EASLEY SC 29641
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.354.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREATER FLORENCE CHAMBER                                                                          $729.00
         PO BOX 948                                        ¨ Contingent
         FLORENCE SC 29503
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.355.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREATER GREENVILLE CHAMBER OF                                                                     $950.00
         COMMERCE                                          ¨ Contingent
         24 CLEVELAND STREET
         GREENVILLE SC 29601                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.356.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREATER IRMO CHAMBER                                                                              $395.00
         1235 COLUMBIA AVE                                 ¨ Contingent
         IRMO SC 29063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.357.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENEVILLE LIGHT & POWER SYSTEM                                                                  $4,470.36
         110 NORTH COLLEGE STREET                          ¨ Contingent
         GREENEVILLE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.358.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENEVILLE LIGHT AN,D POW                                                                        UNDETERMINED
         110 NORTH COLLEGE STREET                          þ Contingent
         GREENEVILLE TN 37743
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AUTO LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.359.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENSKY GRAPHICS                                                                                 $1,625.00
         975 16TH ST                                       ¨ Contingent
         ASTORIA OR 97103
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.360.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENVILLE COUNTY FAMILY COURT                                                                    $691.79
         P.O. BOX 757                                      ¨ Contingent
         GREENVILLE SC 29602
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.361.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENVILLE REFRIGERATION SERVICES, INC                                                            $63,723.73
         426 S BUNCOMBE RD                                 ¨ Contingent
         GREER SC 29650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.362.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENWOOD COUNTY CHILD SUPPORT                                                                    $196.85
         528 MONUMENT ST ROOM 103                          ¨ Contingent
         GREENWOOD SC 29646
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.363.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREER CITIZEN                                                                                     $275.00
         PO BOX 5211                                       ¨ Contingent
         SPARTANBURG SC 29304
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.364.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRINNELL FIRE PROTECTION                                                                          $1,617.02
         DEPT CH 10320                                     ¨ Contingent
         PALATINE IL 60055-0320
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.365.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GUILS LAWN SERVICE LLC                                                                            $903.30
         167 SPRINGLAKES DR                                ¨ Contingent
         MARTINEZ GA 30907
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.366.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         H & R LANDSCAPING, INC.                                                                           $297.00
         129 RESERVATION DRIVE                             ¨ Contingent
         SPINDALE NC 28160
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.367.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMILTON CHASE CITADEL LLC                                                                        $133,065.84
         828 BALLARD CANYON RD                             ¨ Contingent
         SOLVANIA CA 93463
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.368.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMILTON CHASE-CITADEL, LLC                                                                       UNDETERMINED
         JAKE BARKER, ESQUIRE                              þ Contingent
         225 SEVEN FARMS DR., STE. 207
         CHARLESTON SC 29496                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.369.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMMS HOOD CLEANING, LLC                                                                          $375.00
         PO BOX 277                                        ¨ Contingent
         BONAIRE GA 31005
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.370.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAP SELECT                                                                                        $2,580.00
         1341 W MONCKINGBIRD LANE                          ¨ Contingent
         SUITE 700W
         DALLAS TX 75247                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.371.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HARRISON LANDSCAPE MANAGEMENT, INC                                                                $1,150.00
         PO BOX 155                                        ¨ Contingent
         WOODRUFF SC 29388
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.372.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAYNES AND BOONE, LLP                                                                             $10,625.00
         2505 NORTH PLANO RD, SUITE 4000                   ¨ Contingent
         RICHARDSON TX 75082-4101
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.373.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAYNES SIGN CO-BILLBOARD DIVISION                                                                 $3,100.00
         11015 TOURNAMENT BLVD                             ¨ Contingent
         MURRELLS INLET SC 29576
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.374.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEADRICH OUTDOOR MEDIA                                                                            UNDETERMINED
         BARR CREDIT SERVICES                              þ Contingent
         PAMELA BIM, SR. COLLECTION SPECIALIST
         5151 E BROADWAY BLVD, STE. 800                    þ Unliquidated
         TUCSON AZ 85711                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.375.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEAVEN'S LIGHT AND BOLT                                                                           $534.52
         1271 WALNOT RIDGE RD                              ¨ Contingent
         BEVARD NC 28712
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.376.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HENDERSON COUNTY CHAMBER                                                                          $421.00
         204 KANUGA ROAD                                   ¨ Contingent
         HENDERSONVILLE NC 28739
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.377.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HENDERSONVILLE WATER & SEWER D                                                                    $488.77
         PO BOX 603068                                     ¨ Contingent
         CHARLOTTE NC 28260-3068
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.378.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HI-IMPACT SIGNS                                                                                   $518.40
         1453 BELLA VISTA DR                               ¨ Contingent
         COLUMBIA SC 29223
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.379.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HILLTOP WAY LLC                                                                                   $83,725.00
         BILL MATHIAS                                      ¨ Contingent
         504 NORTHWOOD RD
         LEXINGTON SC 29072                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.380.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HITE MECHANICAL                                                                                   $2,696.91
         104 CONCORD DR                                    ¨ Contingent
         WATKINSVILLE GA 30677
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.381.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOBART-MACON                                                                                      $2,300.35
         3186 MERCER UNIVERSITY                            ¨ Contingent
         MACON GA 31204
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.382.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLCOMB'S OFFICE SUPPLY                                                                           $26.50
         PO BOX 579                                        ¨ Contingent
         WEST UNION SC 29696
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.383.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLIDAY INN EXPRESS                                                                               $695.20
         1315 W. WADE HAMPTIN BLVD                         ¨ Contingent
         GREER SC 29650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.384.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLSTON VALLEY BROADCASTING CORP                                                                  $9,825.15
         222 COMMERCE STREET                               ¨ Contingent
         KINGSPORT TN 37660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.385.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLT, ELIZABETH A                                                                                 UNDETERMINED
         125 MANDY LN                                      þ Contingent
         COWPENS SC 29330
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.386.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOMESTEADS                                                                                        $480.38
         PO BOX 351                                        ¨ Contingent
         DENVER NC 28037
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.387.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOODS UNLIMITED                                                                                   $3,003.00
         325 NEW POINT LANE                                ¨ Contingent
         CANTON GA 30114
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.388.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HORRY ELECTRIC                                                                                    $11,292.85
         PO BOX 119                                        ¨ Contingent
         CONWAY SC 29528-0119
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.389.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOUSTON COUNTY SOCCER BOOSTERS                                                                    $250.00
         920 HIGHWAY 96                                    ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.390.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOYLE PLUMBING, INC                                                                               $6,040.68
         1661 S. LAFAYETTE ST.                             ¨ Contingent
         SHELBY NC 28152
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.391.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         H-TOO-O                                                                                           $5,100.00
         213 HOLLINGSHED CREEK BLVD                        ¨ Contingent
         IRMO SC 29063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.392.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HULSEY ENVIORNMENTAL SERVICES INC                                                                 $375.00
         6724 CLEVELAND HWY                                ¨ Contingent
         CLERMONT GA 30527
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.393.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         I HEARTMEDIA                                                                                      $52,850.75
         PO BOX 406372                                     ¨ Contingent
         ATLANTA GA 30384-6372
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.394.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         I.B.N. DIST, INC                                                                                  $1,517.56
         23679 CALABASAS ROAD #276                         ¨ Contingent
         CALABASAS CA 91302
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.395.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ICE SERVICES CO, LLC                                                                              $57.50
         707 EAST HAMPTON STREET                           ¨ Contingent
         DARLINGTON SC 29532
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.396.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IDEAL SERVICES SOLUTIONS                                                                          $286.23
         2 SHANGRILA LANE                                  ¨ Contingent
         E TUWAS NC 28729
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.397.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INDEED                                                                                            $3,000.00
         MAIL CODE 5160                                    ¨ Contingent
         PO BOX 660367
         DALLAS TX 75266-0367                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.398.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INFINITY MARKETING SOLUTIONS, INC                                                                 $388,510.39
         874 S PLEASNTBURG DRIVE SUITE A                   ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.399.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INFINITY MARKETING, INC.                                                                          UNDETERMINED
         (PER SOS) ANTHONY W. WILLIAMS, REG. AGENT         þ Contingent
         874 S. PLEASANTBURG DR.
         GREENVILLE SC 29607                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.400.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INK BOY                                                                                           $211.68
         PO BOX 211643                                     ¨ Contingent
         MARTINEZ GA 30917-1643
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.401.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INSITE MEDIACOM 2, LLC                                                                            $3,879.61
         150 NW 70TH AVE                                   ¨ Contingent
         SUITE A
         PLANTATION FL 33317                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.402.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INTERGRATED BEHAVIORAL HEALTH                                                                     $1,125.00
         3070 BRISTOL ST                                   ¨ Contingent
         SUITE 350
         COSTA MESA CA 92626                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.403.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ISOM ELECTRIC                                                                                     UNDETERMINED
         3300 SUITE D N MAIN ST                            þ Contingent
         ANDERSON SC 29621
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.404.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ISOM ELECTRIC                                                                                     $3,223.00
         3300 SUITE D N. MAIN STREET                       ¨ Contingent
         ANDERSON SC 29621
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.405.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         J AND E PRESSUREWASHING                                                                           $425.00
         230 SWALLOW LAKE DRIVE                            ¨ Contingent
         NORTH AUGUSTA SC 29841
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.406.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         J T ANDERSON                                                                                      $725.00
         PO BOX 37                                         ¨ Contingent
         CLINTON SC 29325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.407.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         J.E.S EQUIPMENT SALES & SERVICE                                                                   $7,680.71
         PO BOX 902                                        ¨ Contingent
         ABBEVILLE SC 29620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.408.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         J.I. REECE                                                                                        $1,458.43
         219 MAPLE VALLEY DRIVE                            ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.409.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAC SERVICES LLC                                                                                  $4,413.82
         107 ELKS LODGE LANE                               ¨ Contingent
         SUMMERVILLE SC 29483
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.410.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAG PUBLISHING                                                                                    $452.25
         WALKER & WEISS HOLDINGS, LLC                      ¨ Contingent
         643 GREENWAY ROAD
         BOONE NC 28607                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.411.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMES OXYGEN AND SUPPLY COMPANY                                                                   $85.25
         PO BOX 159                                        ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.412.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMIE BARBEE                                                                                      $69.68
         422 DOGWOOD DR                                    ¨ Contingent
         GREENWOOD SC 29646
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.413.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAN-PRO OF THE WESTERN CAROLINAS                                                                  $1,230.00
         128 MILESTONE WAY                                 ¨ Contingent
         GREENVILLE SC 29615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.414.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JEFF PEAK'S PLUMBING                                                                              $175.00
         121 5TH STREET N.E.                               ¨ Contingent
         PULASKI VA 24301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.415.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JEFFERY GOEGELINE                                                                                 $124.28
         234 WINDY HOLLOW DRIVE                            ¨ Contingent
         LEXINGTON SC 29073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.416.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JERRY'S AUTO TRIM                                                                                 $3,202.50
         164 FORDTOWN RD                                   ¨ Contingent
         ROCKINGHAM NC 28379
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.417.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JERRY'S LOCK & KEY                                                                                $326.55
         2198 LEXINGTON ROAD                               ¨ Contingent
         ATHENS GA 30605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.418.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JMJ TOMATO                                                                                        $250.50
         PO BOX 16528                                      ¨ Contingent
         ASHEVILLE NC 28816
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.419.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOE N COLLINS                                                                                     $335.02
         5644 SAXON AVE                                    ¨ Contingent
         APT 5
         NORTH CHARLESTON SC 29406                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.420.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSON CONTROLS                                                                                  $612.90
         DEPT CH 10320                                     ¨ Contingent
         PALATINE IL 60055-0320
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.421.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSON LANDSCAPING                                                                               $6,636.00
         PO BOX 415                                        ¨ Contingent
         FALL BRANCH TN 37656
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.422.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSONS LAWNCARE                                                                                 $1,610.00
         1752 TAYLORTOWN RD NE                             ¨ Contingent
         RANGER GA 30734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.423.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JONES, SANDRA                                                                                     UNDETERMINED
         116 SOUTHVIEW DR                                  þ Contingent
         GAFFNEY SC 29340
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.424.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JUNES-BRADLEY, MONTERRIS                                                                          UNDETERMINED
         588 SUBSTATION ST                                 þ Contingent
         HENDERSONVILLE NC 28792
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.425.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KANNAPOLIS FARP                                                                                   $150.00
         PO BOX 741007                                     ¨ Contingent
         ATLANTA GA 30374-1007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.426.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAY PLUMBING SERVICES                                                                             $2,813.00
         199 ALTA VISTA CT                                 ¨ Contingent
         LEXINGTON SC 29073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.427.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEATING MARSHALL PLLC                                                                             $0.00
         5960 W PARKER ROAD                                ¨ Contingent
         278-438
         PLANO TX 75093                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.428.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEEVER'S KEY & REPAIR SERVICE, INC                                                                $198.05
         PO BOX 662                                        ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.429.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KELLY, MATTHEW                                                                                    UNDETERMINED
         3017 GEORGETOWN HWY                               þ Contingent
         GEORGETOWN SC 29440
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.430.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KENT NELSON                                                                                       $2,645.00
         850 EAST ST                                       ¨ Contingent
         WAYNESVILLE NC 28786
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.431.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KERSHAW COUNTY CHAMBER/VIS CTR                                                                    $430.00
         PO BOX 605                                        ¨ Contingent
         CAMDEN SC 29021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.432.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KERSHAW NEWS-ERA                                                                                  $212.92
         PO BOX 398                                        ¨ Contingent
         KERSHAW SC 29067
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.433.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEY APPROACH INC                                                                                  $221.25
         PO BOX 20837                                      ¨ Contingent
         ROANOKE VA 24018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.434.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEYMASTERS SAFE & LOCK                                                                            $392.75
         26 MO'S WAY                                       ¨ Contingent
         CANDLER NC 28715
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.435.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEYS INNOVATIVE SOLUTIONS                                                                         $9,156.32
         PO BOX 842307                                     ¨ Contingent
         BOSTON MA 02284-2307
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.436.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KILO, LLC D/B/A ROTO-ROOTER                                                                       UNDETERMINED
         P.O. BOX 669                                      þ Contingent
         FAYETTEVILLE NC 28302
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.437.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KING'S LANDSCAPING & IRRIGATION                                                                   $6,100.00
         311 BOST ROAD                                     ¨ Contingent
         MORGANTON NC 28655
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.438.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KINGSPORT CHAMBER OF COMMERCE                                                                     $1,160.00
         400 CLINCHFIELD STREET                            ¨ Contingent
         SUITE 100
         KINGSPORT TN 37660                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.439.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KINGSPORT HEATING                                                                                 $450.00
         1905 BROOKSIDE LANE                               ¨ Contingent
         KINGSPORT TN 37660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.440.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KLEEN-CO                                                                                          $865.00
         PO BOX 6592                                       ¨ Contingent
         WARNER ROBINS GA 31095
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.441.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KOLAGAPE PROMOTIONS INV                                                                           $150.00
         131 FRANKLIN PLAZA                                ¨ Contingent
         SUITE 347
         FRANKLIN NC 28734                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.442.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KOURY CORP                                                                                        $165,066.02
         2275 VANSTORY ST                                  ¨ Contingent
         STE 200
         GREENSBORO NC 27403                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.443.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KOURY CORPORATION                                                                                 UNDETERMINED
         CARRUTHERS & ROTH, P.A.                           þ Contingent
         ROBERT N. YOUNG RICHARD L VANORE
         NORMAN F KLICK JR                                 þ Unliquidated
         P.O. BOX 540
         GREENSBORO NC 27402
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.444.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KOURY CORPORATION                                                                                 $1,185.54
         2275 VANSTORY STREET                              ¨ Contingent
         SUITE 200
         GREENSBORO NC 27403                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.445.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         L..R PRICE EQUIPMENT CO, INC                                                                      $261.27
         PO BOX 16051                                      ¨ Contingent
         GREENSBORO NC 27406
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.446.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAIL ELECTRIC SERVICE, INC                                                                        $151.15
         PO BOX 582                                        ¨ Contingent
         LINCOLNTON NC 28093-0582
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.447.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAMAR COMPANIES                                                                                   $21,190.85
         PO BOX 96030                                      ¨ Contingent
         BATON ROUGE LA 70896
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.448.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANE'S LAWN CARE                                                                                  $1,840.00
         30 CHATHAM DRIVE                                  ¨ Contingent
         BLAIRSVILLE GA 30512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.449.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAURENS ELECTRIC                                                                                  $384.82
         ATTN:MELODYE HINES                                ¨ Contingent
         PO BOX 700
         LAURENS SC 29360                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.450.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAWN MAINT. SERVICE, INC.                                                                         UNDETERMINED
         SHERYL FAMBROUGH                                  þ Contingent
         LAW OFFICE OF SHERYL FAMBROUGH
         1104B SOUTH MADISON AVE.                          þ Unliquidated
         MONROE GA 30655                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.451.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAWN MANAGEMENT SERVICE                                                                           $1,740.00
         PO BOX 902                                        ¨ Contingent
         MONROE GA 30655
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.452.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAWNS BY GREG                                                                                     $600.00
         3449 BANKS MILL RD                                ¨ Contingent
         AIKEN SC 29803
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.453.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAZY LIFE UPHOLSTERY                                                                              $572.00
         4342 EVANS TO LOCKS RD                            ¨ Contingent
         EVANS GA 30809
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.454.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEGRAND'S LAWN CARE                                                                               $1,105.00
         1016 HUNTER VALLEY RD                             ¨ Contingent
         SHELBY NC 28150
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.455.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEROY DYER SIGNS                                                                                  $1,474.32
         PO BOX 14096                                      ¨ Contingent
         GREENVILLE SC 29610
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.456.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIGON PROPERTIES LLC                                                                              $73,417.22
         RICHARD LIGON                                     ¨ Contingent
         5159 PELHAM RD
         GREENVILLE SC 29615                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.457.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIMESTONE ATHLETIC DEPT                                                                           $500.00
         BEN PRICE, SAINTS CLUB                            ¨ Contingent
         1115 COLLEGE DRIVE
         GAFFNEY SC 29340                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.458.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LINCOLNTON PAINT AND GLASS                                                                        $555.10
         2190 HARTMAN ST                                   ¨ Contingent
         LINCOLNTON NC 28092
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.459.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIQUID ASSETS PLUMBING                                                                            $112.62
         PO BOX 18502                                      ¨ Contingent
         GREENSBORO NC 27419
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.460.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOWE, BRADLEY J                                                                                   UNDETERMINED
         363 GAP CREEK RD                                  þ Contingent
         DUNCAN SC 29334-9102
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.461.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOWES                                                                                             $2,771.05
         PO BOX 530954                                     ¨ Contingent
         ATLANTA GA 30353-0954
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.462.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUTZ RESIDENTIAL GARAGE DOORS                                                                     $1,225.00
         359 HUFFSTETLER LAKE ROAD                         ¨ Contingent
         DALLAS NC 28034
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.463.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LYNCHS COMMERCIAL REFRIGERATION                                                                   $599.82
         107 S BROAD ST                                    ¨ Contingent
         FAYETTEVILLE NC 28301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.464.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LYTTEN LOCKSMITH, INC                                                                             $90.74
         215 S COLUMBIA STREET                             ¨ Contingent
         GASTONIA NC 28054-7141
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.465.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         M & W OUTDOOR, LLC                                                                                $1,180.00
         PO BOX 1282                                       ¨ Contingent
         ORANGEBURG SC 29116
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.466.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         M&R INVESTORS (JAMES B. ROGERS AND                                                                UNDETERMINED
         LOUIS C. MANIOS)                                  þ Contingent
         340 NORTH MAIN ST.
         GREENVILLE SC 29601                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.467.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MANIOS, JAMES ROGERS AND LOUIS                                                                    $191,781.65
         340 NORTH MAIN ST                                 ¨ Contingent
         GREENVILLE SC 29601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.468.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARKET FORCE INFORMATION                                                                          $20,115.00
         DEPT 0320                                         ¨ Contingent
         PO BOX 120320
         DALLAS TX 75312-0320                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.469.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARS BLUFF SPECIALTY SERVICES                                                                     $1,135.24
         721 1/2 N. PRICE RD                               ¨ Contingent
         FLORENCE SC 29506
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.470.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARVINS PRODUCE                                                                                   $99.21
         240 GENOBLE ROAD                                  ¨ Contingent
         GREER SC 29651
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.471.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MASSEY PLUMBING, INC                                                                              $836.00
         134 MCCULLY RD                                    ¨ Contingent
         GASTONIA NC 28052
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.472.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MASTER'S ELECTRICAL SERVICES                                                                      $151.05
         PO BOX 1610                                       ¨ Contingent
         BLAIRSVILLE GA 30514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.473.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MASTERS MARK DRY CLEANING                                                                         $85.56
         PO BOX 2234                                       ¨ Contingent
         SPARTANBURG SC 29304
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.474.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MATHIS PLUMBING & HEATING CO, INC                                                                 $964.00
         PO BOX 716                                        ¨ Contingent
         GREENWOOD SC 29648
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.475.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCDOWELL CHEER MASTERS LLC                                                                        $18.98
         1219 ASHE BRIDGE RD                               ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.476.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCDOWELL COUNTY FINANCE                                                                           $1.89
         60 EAST COURT STREET                              ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.477.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCDOWELL SQUARE ASSOCIATES, LLC                                                                   UNDETERMINED
         455 FAIRWAY DR., STE. 301                         þ Contingent
         DEERFIELD BEACH FL 33441
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.478.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCGRADY-PERDUE HEATING AND COOLING,                                                               $2,075.00
         INC                                               ¨ Contingent
         690 NORTH FRANKLIN ST
         CHRISTIANSBURG VA 24073                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.479.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCT ENTERPRISES                                                                                   $7,046.90
         PO BOX 51404                                      ¨ Contingent
         PIEDMONT SC 29673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.480.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEAN STEAM CARPET CLEANING                                                                        $360.80
         601 TUG CT                                        ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.481.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEANS WELDING                                                                                     $100.00
         2030 CENTER ST                                    ¨ Contingent
         SPARTANBURG SC 29303
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.482.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELTING POT MUSIC SOCIETY                                                                         $500.00
         104 A FRANKLIN AVE                                ¨ Contingent
         PMB 178
         SPARTANBURG SC 29301                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.483.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHAEL D'S CARPET CLEANING                                                                       $350.00
         107 RESERVOIR ST                                  ¨ Contingent
         DARLINGTON SC 29532
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.484.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHAEL LANDRETH                                                                                  $251.19
         124 COUNTRY LN                                    ¨ Contingent
         EASLEY SC 29642
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.485.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHAEL LATTIMER                                                                                  $75.00
         471 ROBINSON ST                                   ¨ Contingent
         ORANGEBURG SC 29115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.486.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHELLE GITZINGER                                                                                $168.27
         1514 BRYANT RD                                    ¨ Contingent
         RANGER GA 30734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.487.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICROTEL INN & SUITES                                                                             $180.98
         171 H. MULLINS COURT                              ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.488.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICROTEL INN & SUITES                                                                             $92.08
         1047 RIVERVIEW ROAD                               ¨ Contingent
         ROCK HILL SC 29730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.489.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MID-CAROLINA ELECTRIC                                                                             $6,525.10
         PO BOX 669                                        ¨ Contingent
         LEXINGTON SC 29071-0669
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.490.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MILESTONE PARTNERS III LP                                                                         $751,364.57
         555 EAST LANCASTER AVE                            ¨ Contingent
         STE 500
         RADNOR PA 19087                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         MARCH 21, 2014                                    SENIOR SUBORDINATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.491.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MILESTONE PARTNERS III LP 2                                                                       $281,190.37
         555 EAST LANCASTER AVE                            ¨ Contingent
         STE 500
         RADNOR PA 19087                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         MARCH 21, 2014                                    SENIOR SUBORDINATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.492.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MILLER DRILLING AND REPAIR                                                                        $700.00
         289 BERNHARDT DR                                  ¨ Contingent
         ELLIJAY GA 30536
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.493.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MONARCH CALENDAR                                                                                  $300.00
         PO BOX 641                                        ¨ Contingent
         MORRISTOWN TN 37815
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.494.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MORGANTON HAMPTON INN                                                                             $1,778.00
         C/O IMIC HOTELS                                   ¨ Contingent
         ONE SURREY COURT
         COLUMBIA SC 29212                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.495.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MORRIS MECHANICAL, INC                                                                            $286.54
         PO BOX 1215                                       ¨ Contingent
         DALLAS NC 28034-1215
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.496.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MOUNTAIN EXPRESS SERVICES, INC                                                                    $136.10
         1620 OLD MURPHY ROAD                              ¨ Contingent
         FRANKLIN NC 28734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.497.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MOUNTAIN MECHANICAL SERVICES                                                                      $445.00
         762 KINGTOWN STREET                               ¨ Contingent
         BLUE RIDGE GA 30513
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.498.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MR ELECTRIC                                                                                       $331.74
         710 CHEROKEE NATIONAL HWY                         ¨ Contingent
         GAFFNEY SC 29341
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.499.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MR ROOTER PLUMBING                                                                                $545.54
         PO BOX 407                                        ¨ Contingent
         LEXINGTON SC 29071
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.500.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MR. ROOTER                                                                                        $1,442.51
         PO BOX 577                                        ¨ Contingent
         POOLER GA 31322
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.501.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MR. ROOTER PLUMBING                                                                               $666.09
         130 POWELL RD                                     ¨ Contingent
         ANDERSON SC 29625
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.502.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MRB LLC                                                                                           $47,687.50
         1249 S. PLEASANTBURG DR                           ¨ Contingent
         GREENVILLE SC 29605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.503.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MRB LLC                                                                                           $197,880.00
         1249 S. PLEASANTBURG DR                           ¨ Contingent
         GREENVILLE SC 29605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.504.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MRB. LLC                                                                                          UNDETERMINED
         1249 S. PLEASANTBURG DR.                          þ Contingent
         GREENVILLE SC 29605
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.505.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MSPARK-DALLAS LOCKBOX                                                                             $24,873.38
         PO BOX 848469                                     ¨ Contingent
         DALLAS TX 75284-8469
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.506.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MY EMPLOYEES                                                                                      $2,860.56
         312 CROWATAN RD                                   ¨ Contingent
         CASTLE HAYNE NC 28429
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.507.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NARGUIZIAN, JOHN                                                                                  $46,313.09
         PAUL NARGUZIAN                                    ¨ Contingent
         13138 CHANDLER BLVD
         SHERMAN OAKS CA 91401                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.508.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATIONAL FOOD EQUIPMENT                                                                           $1,919.47
         PO BOX 26405                                      ¨ Contingent
         RALEIGH NC 27611-6405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.509.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATIONAL WELDERS SUPPLY CO., INC                                                                  $6,192.40
         PO BOX 602792                                     ¨ Contingent
         CHARLOTTE NC 28260-2792
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.510.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NC CHILD SUPPORT CENTRAL COLLE                                                                    $1,022.80
         PO BOX 900012                                     ¨ Contingent
         RALEIGH NC 27675-9012
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.511.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NC DEPARTMENT OF TRANSPORTATIO                                                                    $1,500.00
         1514 MAIL SERVICE CENTER                          ¨ Contingent
         RALEIGH NC 27699-1514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.512.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NC DOR                                                                                            $9.35
         ATTN: PAYMENT PROCESSING UNIT                     ¨ Contingent
         PO BOX 27431
         RALEIGH NC 27611-7431                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.513.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NCR CORPORATION                                                                                   $84,143.76
         PO BOX 198755                                     ¨ Contingent
         ATLANTA GA 30384-8755
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.514.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NCR CORPORATION                                                                                   $599.97
         2142 EXECUTIVE HALL ROAD                          ¨ Contingent
         CHARLESTON SC 29407
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.515.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NELSON BUCKET TRUCK SERVICES                                                                      $222.38
         360 NELSON CIRCLE                                 ¨ Contingent
         BLAIRSVILLE GA 30512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.516.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NELSON, MULLINS, RILEY & SCARB                                                                    $4,129.54
         ATTN: ACCOUNTS RECEIVABLE                         ¨ Contingent
         P.O. DRAWER 11009
         COLUMBIA SC 29211-2000                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.517.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEW IMAGE LANDSCAPING SUPPLY                                                                      $3,200.00
         1380 SIMS STREET                                  ¨ Contingent
         ORANGEBURG SC 29115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.518.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEW RIVER CARPET CLEANING , INC                                                                   $300.00
         PO BOX 400                                        ¨ Contingent
         MCCOY VA 24111
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.519.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEW RIVER VALLEY RESTAURANT SERVICES                                                              $2,452.70
         6695 DUNKARD ROAD                                 ¨ Contingent
         DUBLIN VA 24084
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.520.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NIMBLE                                                                                            $37,036.27
         1600 INDIAN BROOK WAY                             ¨ Contingent
         NORCROSS GA 30093
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.521.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORRIS, AVERY                                                                                     UNDETERMINED
         402 EAST SILVERLEAF ST                            þ Contingent
         GREER SC 29650
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.522.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTH CAROLINA STATE EDUCATION                                                                    $83.12
         ATTENTION:ADMINISTRATIVE WAGE                     ¨ Contingent
         PO BOX 14002
         RESEARCH TRIANGLE PARK NC 27709                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.523.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTH CHARLESTON SEWER DISTRICT                                                                   $5.00
         PO BOX 63009                                      ¨ Contingent
         NORTH CHARLESTON SC 29419
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.524.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTH GEORGIA NEWS                                                                                $91.60
         PO BOX 2029                                       ¨ Contingent
         BLAIRSVILLE GA 30514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.525.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHLAND CABLE TELEVISION - GWD                                                                  $97.78
         PO BOX 790307                                     ¨ Contingent
         ST LOUIS MO 63179-0307
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.526.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHLAND CABLE TELEVISION - SEN                                                                  $92.16
         PO BOX 790307                                     ¨ Contingent
         ST LOUIS MO 63179-0307
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.527.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NUCO2 INC                                                                                         $15,040.01
         PO BOX 417902                                     ¨ Contingent
         BOSTON MA 02241-7902
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.528.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NYS CHILD SUPPORT PROCESSING CENTER                                                               $19.29
         PO BOX 15363                                      ¨ Contingent
         ALBANY NY 12212-5363
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.529.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OCONEE CHAMBER                                                                                    $250.00
         PO BOX 8102                                       ¨ Contingent
         SENECA SC 29678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.530.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OHLANDT PROPERTIES LLC                                                                            $87,081.50
         197 RIVER RD                                      ¨ Contingent
         BARNWELL SC 29812
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.531.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OHMSTEAD PLUMBING CO., LLC                                                                        $1,037.90
         470 WASHINGTON STREET                             ¨ Contingent
         FOREST CITY NC 28043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.532.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $1,943,830.22
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         MARCH 21, 2014                                    AMENDED & RESTATED SUBORDINATED
                                                           PROMISSORY NOTE
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.533.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $166,258.90
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.534.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $159,725.30
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.535.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $158,650.61
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.536.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $178,773.30
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.537.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM LLC                                                                               $194,681.40
         WILLIAM H BURTON III                              ¨ Contingent
         491 CONNECTICUT AVE
         SPARTANBURG SC 29302                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.538.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM, LLC                                                                              UNDETERMINED
         ATTN: WILLIAM H. BURTON, III                      þ Contingent
         491 CONNECTICUT AVE.
         SPARTANBURG SC 29302                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.539.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM, LLC                                                                              UNDETERMINED
         ATTN: WILLIAM H. BURTON, III                      þ Contingent
         491 CONNECTICUT AVE.
         SPARTANBURG SC 29302                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.540.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM, LLC                                                                              UNDETERMINED
         ATTN: WILLIAM H. BURTON, III                      þ Contingent
         491 CONNECTICUT AVE.
         SPARTANBURG SC 29302                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.541.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM, LLC                                                                              UNDETERMINED
         ATTN: WILLIAM H. BURTON, III                      þ Contingent
         491 CONNECTICUT AVE.
         SPARTANBURG SC 29302                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.542.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLD MILL STREAM, LLC                                                                              UNDETERMINED
         ATTN: WILLIAM H. BURTON, III                      þ Contingent
         491 CONNECTICUT AVE.
         SPARTANBURG SC 29302                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.543.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ON CALL PLUMBING, HEATING & AC                                                                    $345.00
         3770 FERNANDINA ROAD                              ¨ Contingent
         COLUMBIA SC 29210
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.544.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ONE CALL PLUMBING, INC                                                                            $5,038.00
         336 EXCHANGE ST                                   ¨ Contingent
         SPARTANBURG SC 29306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.545.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ONE SOURCE                                                                                        $1,360.20
         PO BOX 641                                        ¨ Contingent
         ORANGEBURG SC 29118
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.546.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORANGEBURG COUNTY CHAMBER                                                                         $295.00
         PO BOX 328                                        ¨ Contingent
         ORANGEBURG SC 29116-0328
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.547.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORANGEBURG COUNTY FAMILY COURT                                                                    $32.17
         P.O. BOX 9000                                     ¨ Contingent
         ORANGEBURG SC 29116
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.548.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OSBORN, MARYANNE                                                                                  UNDETERMINED
         866 MANNING GEN RD                                þ Contingent
         MONROE GA 30620
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.549.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PAIR NETWORKS, INC                                                                                $179.85
         2403 SIDNEY ST                                    ¨ Contingent
         SUITE 210
         PITTSBURGH PA 15203                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.550.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PALMETTO HEATING & AIR, LLC                                                                       $2,958.00
         3974 HIGHWAY 153                                  ¨ Contingent
         GREENVILLE SC 29611
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.551.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PALMETTO HEATING & COOLING                                                                        $725.00
         3695 CLAUSSEN ROAD                                ¨ Contingent
         FLORENCE SC 29505
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.552.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PALMETTO RESTAURANT CLEANING                                                                      $775.00
         920 BOILING SPRINGS ROAD                          ¨ Contingent
         LEXINGTON SC 29073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.553.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PANDORA MEDIA                                                                                     $21,704.31
         25601 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1256
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.554.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PARKER, CHARNISE                                                                                  UNDETERMINED
         3509 LAKE AVE                                     þ Contingent
         APT 2084
         COLUMBIA SC 29206                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        PRODUCTS CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.555.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATRIOT PRO TURF AND LANDSCAPE                                                                    $3,115.00
         PO BOX 3191                                       ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.556.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATTON HIGH SCHOOL                                                                                $300.00
         701 ENOLA                                         ¨ Contingent
         MORGANTON NC 28655
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.557.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PENSKE TRUCK LEASING CO.,L.P                                                                      $9,406.44
         PO BOX 532658                                     ¨ Contingent
         ATLANTA GA 30353
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.558.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PEPPER HAMILTON LLP                                                                               $107,276.81
         ATTN: ACCOUNTING DEPT                             ¨ Contingent
         3000 TWO LOGAN SQUARE
         PHILADELPHIA PA 19103-2799                        ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.559.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PEPSI-COLA GREENVILLE                                                                             $266.86
         P.O. BOX 3567                                     ¨ Contingent
         GREENVILLE SC 29608
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.560.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PEPSI-COLA NATIONAL                                                                               $5,480.27
         PO BOX 75948                                      ¨ Contingent
         CHICAGO IL 60675-5948
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.561.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PETER TELL                                                                                        $36.40
         2749 OLD KNOXVILLE HWY                            ¨ Contingent
         GREENEVILE TN 37743
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.562.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PHASE 3 MEDIA, LLC                                                                                $24,836.09
         DEPT 7052                                         ¨ Contingent
         PO BOX 740209
         ATLANTA GA 30374                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.563.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PICKENS COUNTY CHAMBER                                                                            $200.00
         500 STEGALL DRIVE                                 ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.564.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIEDMONT NATURAL GAS                                                                              $19,567.01
         PO BOX 1246                                       ¨ Contingent
         CHARLOTTE NC 28201-1246
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.565.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIERCE PARTS & SERVICE, INC                                                                       $342.65
         2422 ALLEN ROAD                                   ¨ Contingent
         MACON GA 31216
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.566.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PINNACLE HEATING & COOLING                                                                        $249.00
         601 WATERSIDE STREET                              ¨ Contingent
         NORTH MYRTLE BEACH SC 29582
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.567.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIONEER CLEANING SERVICES                                                                         $90.00
         716 FAIRFOREST DRIVE                              ¨ Contingent
         GREENWOOD SC 29646
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.568.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLUM 4 U LLC                                                                                      $446.52
         PO BOX 1463                                       ¨ Contingent
         LINCOLNTON NC 28093
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.569.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLUMBING MATTERS                                                                                  $200.00
         4875 HWY 11                                       ¨ Contingent
         INMAN SC 29349
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.570.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLUMBSMART                                                                                        $135.00
         PO BOX 2200                                       ¨ Contingent
         WEAVERVILLE NC 28787
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.571.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POLK ELECTRIC LLC                                                                                 $95.00
         PO BOX 10547                                      ¨ Contingent
         ROCK HILL SC 29731
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.572.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POP A LOCK                                                                                        $340.05
         PO BOX 41241                                      ¨ Contingent
         CHARLESTON SC 29423
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.573.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POTEAT'S LOCK & KEY                                                                               $180.83
         1015 HIGHLAND AVE NE                              ¨ Contingent
         PO BOX 2203
         HICKORY NC 28603-2203                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.574.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PP GASTON MALL                                                                                    $90,000.00
         JOE AND CHARLIE PEARSON                           ¨ Contingent
         1422 BURTONWOOD DR
         STE 200                                           ¨ Unliquidated
         GASTONIA NC 28054                                 ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.575.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PP-COX ROAD                                                                                       UNDETERMINED
         GRAY LAYTON KERSH SOLOMON FURR &                  þ Contingent
         SMITH, P.A.
         WILLIAM E. MOORE, JR.                             þ Unliquidated
         516 S NEW HOPE RD.
         GASTONIA NC 28054
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.576.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PP-GASTON MALL, LLC                                                                               $13,955.92
         1422 BURTONWOOD DRIVE                             ¨ Contingent
         SUITE 200
         GASTONIA NC 28054                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.577.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRECISION ELECTRIC                                                                                $2,304.86
         2808 BLOOMINGDALE PIKE                            ¨ Contingent
         KINGSPORT TN 37660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.578.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRECISION LAWN CARE                                                                               $225.00
         312 PALOMINO LANE                                 ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.579.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PREMIER FIRE PROTECTION, INC                                                                      $3,813.16
         P.O. BOX 1103                                     ¨ Contingent
         BRISTOL TN 37621
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.580.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PREMIER GREASE INC                                                                                $952.92
         PO BOX 3535                                       ¨ Contingent
         ALPHARETTA GA 30023
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.581.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRESBYTERIAN COLLEGE ATHLETICS                                                                    $15,000.00
         105 ASHLAND AVENUE                                ¨ Contingent
         ATHLETIC DEPT
         CLINTON SC 29325                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.582.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRESLEY MABUS                                                                                     $533.45
         121 NORTHPOINTDE                                  ¨ Contingent
         APT 1208
         LEXINGTON SC 29072                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.583.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRINT DEPOT                                                                                       $37.78
         428 D HYATT STREET                                ¨ Contingent
         GAFFNEY SC 29340
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.584.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROFESSIONAL CARPET CARE                                                                          $2,695.00
         117 FIDDLER DRIVE                                 ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.585.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROFESSIONAL PARTY RENTALS                                                                        $1,221.66
         647 CONGAREE RD                                   ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.586.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROFLAME                                                                                          $2,381.98
         PO BOX 910                                        ¨ Contingent
         BLAIRSVILLE GA 30514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.587.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROLECTRIC                                                                                        $169.50
         6606 ABERCORN ST. SUITE 120                       ¨ Contingent
         SAVANNAH GA 31405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.588.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRO-TECH FIRE SERVICES, LLC                                                                       $2,094.50
         1220 BROUGHTON BLVD                               ¨ Contingent
         FLORENCE SC 29501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.589.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROVIDENCE ENVIRONMENTAL CONCEPTS                                                                 $21,315.00
         AND SERVICES, LLC                                 ¨ Contingent
         PO BOX 3216
         COLUMBIA SC 29230                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.590.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PSA                                                                                               $2,616.22
         PO BOX 998                                        ¨ Contingent
         PULASKI VA 24301-0998
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.591.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PUBLIC SERVICE COMPANY OF N.C.                                                                    $15,956.40
         PO BOX 100256                                     ¨ Contingent
         COLUMBIA SC 29202-3256
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.592.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PURIFIED AIR SERVICES, INC.                                                                       $1,395.10
         280 OLD CLAY STREET                               ¨ Contingent
         MARIETTA GA 30060
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.593.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PYE BARKER                                                                                        $30,339.17
         13142 ALBEMARLE RD                                ¨ Contingent
         MINT HILL NC 28227
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.594.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PYE BARKER                                                                                        $154.58
         PO BOX 503                                        ¨ Contingent
         PIEDMONT SC 29673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.595.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QSR AUTOMATIONS, INC                                                                              $1,026.97
         2301 STANLEY GAULT PARKWAY                        ¨ Contingent
         LOUISVILLE KY 40223
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.596.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUALITY GLASS                                                                                     $758.00
         234 OLD EPPS BRIDGE ROAD                          ¨ Contingent
         ATHENS GA 30606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.597.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUALITY INN                                                                                       $1,935.91
         177 W ATHENS ST                                   ¨ Contingent
         WINDER GA 30680
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.598.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUALITY INN                                                                                       $175.90
         226 HITECH RD                                     ¨ Contingent
         SENECA SC 29678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.599.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUILL CORPORATION                                                                                 $525.31
         PO BOX 37600                                      ¨ Contingent
         PHILADELPHIA PA 19101-0600
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.600.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         R & R SERVICES                                                                                    $244.58
         889 SUMMER SOUND ROAD                             ¨ Contingent
         PINEY FLATS TN 37686
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.601.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         R&G PLUMBING & SEWER SERVICE                                                                      $1,261.47
         PO BOX 60835                                      ¨ Contingent
         CHARLESTON SC 29419
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.602.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAMAL LEASING COMPANY LLC                                                                         $600.00
         420 S HILL ST                                     ¨ Contingent
         BUFORD GA 30518
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.603.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAMSEY ENTERPRISES, LLC                                                                           $300.00
         PO BOX 294                                        ¨ Contingent
         REMBERT SC 29128
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.604.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RANDOLPH, DEBRAH                                                                                  UNDETERMINED
         565 LIBERTY S RD                                  þ Contingent
         CHUCKEY TN 37641
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AUTO LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.605.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RANDY FINLEY                                                                                      $475.00
         66 HEDGEWOOD DRIVE                                ¨ Contingent
         MARION NC 28752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.606.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAPID RESPONSE                                                                                    $151.00
         160 WINKLER RD                                    ¨ Contingent
         SENECA SC 29678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.607.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAPID ROOTER INC                                                                                  $270.00
         22 SUNNY HILLS DR                                 ¨ Contingent
         ATHENS GA 30601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.608.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAPIT ROOTER PLUMBING                                                                             $1,015.00
         68 LAKESIDE CIRCLE                                ¨ Contingent
         FRANKLIN NC 28734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.609.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RB LOCKSMITH                                                                                      $939.70
         106 HERITAGE OAKS DR                              ¨ Contingent
         BALL GROUND GA 30107
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.610.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RCC SHOPPES AT WEST MARKET                                                                        $35,636.81
         NEW LINK MANAGEMENT GROUP                         ¨ Contingent
         PO BOX 17710
         RICHMOND VA 23226                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.611.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RDK EQUIPMENT                                                                                     $1,300.49
         2988 GILLESPIE ST                                 ¨ Contingent
         FAYETTEVILLE NC 28306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.612.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RDK EQUIPMENT COMPANY, INC                                                                        $3,465.47
         PO BOX 64666                                      ¨ Contingent
         FAYETTEVILLE NC 28306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.613.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REA LANDSCAPE MANAGEMENT, LLC                                                                     $1,150.00
         2544 H ASHLEY RIVER RD                            ¨ Contingent
         CHARLESTON SC 29414
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.614.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RED AND BLACK                                                                                     $480.00
         540 BAXTER ST                                     ¨ Contingent
         ATHENS GA 30605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.615.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REDMOND, NATE                                                                                     $56,515.00
         165 CUDDLES LANE                                  ¨ Contingent
         BOSTIC NC 28018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OP PAYOUT BALANCE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.616.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REECE HEATING AND AIR, LLC                                                                        $2,493.00
         252A LAKE JOY ROAD                                ¨ Contingent
         PERRY GA 31069
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.617.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REGAL CARPET CLEANERS                                                                             $650.00
         22 SPRINGSIDE LN                                  ¨ Contingent
         FRANKLIN NC 28734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.618.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REGGIE FRYE                                                                                       $1,600.00
         5211 SOUTH MAIN STREET                            ¨ Contingent
         COWPENS SC 29330
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.619.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RESTAURANT CARD CENTRAL, LLC                                                                      $116.77
         PO BOX 1192                                       ¨ Contingent
         WHITE HOUSE TN 37188
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.620.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RESTAURANT EQUIPMENT SERVICES, INC                                                                $465.00
         5119 S ROYAL ATLANTA DR                           ¨ Contingent
         TUCKER GA 30084
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.621.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RESTAURANT MAGIC                                                                                  $17,656.94
         4010 W BOY SCOUT BLVD                             ¨ Contingent
         SUITE 300
         TAMPA FL 33607                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.622.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RESTAURANT TECHNOLOGIES, INC                                                                      $118,439.05
         12962 COLLECTIONS CENTER DRIVE                    þ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.623.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICE PLUMBING                                                                                     $628.00
         112 WILLIAMS DRIVE                                ¨ Contingent
         ATHENS GA 30606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.624.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICHLAND COUNTY FINANCE                                                                           $3,474.12
         PO BOX 192                                        ¨ Contingent
         COLUMBIA SC 29202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.625.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICHMOND COUNTY CHAMBER                                                                           $450.00
         2 MAIN STREET                                     ¨ Contingent
         SUITE 204
         HAMLET NC 28345                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.626.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIDGEWAY PLUMBING                                                                                 $959.00
         428 CHILDERS ST                                   ¨ Contingent
         PMB 24211
         PENSACOLA FL 32534                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.627.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIVERS PLUMBING & ELECTRICAL                                                                      $1,626.05
         PO BOX 647                                        ¨ Contingent
         CHESTERFIELD SC 29709
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.628.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIVERVIEW OFFICE PARK                                                                             $36,960.06
         LEANN WEBER                                       ¨ Contingent
         PO BOX 616
         TAYLORS SC 29687                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.629.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIVERVIEW OFFICE PARK, LLC                                                                        UNDETERMINED
         P.O. BOX 616                                      þ Contingent
         TAYLORS SC 29687
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.630.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIZON RESTAURANT SERVICES, INC                                                                    $19,294.27
         103 SCHOOLSIDE DRIVE, STE 131                     ¨ Contingent
         ROCK HILL SC 29730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.631.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROBINSON, BRADSHAW & HINSON                                                                       $96,781.88
         101 N TRYON STREET                                ¨ Contingent
         SUITE 1900
         CHARLOTTE NC 28246                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.632.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCKINGHAM ABC                                                                                    $30.00
         642 EAST BOARD AVE                                ¨ Contingent
         ROCKINGHAM NC 28630
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.633.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RODGERS UPHOLSTERY SHOP                                                                           $1,599.50
         4490 COLUMBUS RD                                  ¨ Contingent
         MACON GA 31206
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.634.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RON'S CARPET CLEANERS                                                                             $3,427.50
         62 AIRVIEW DRIVE                                  ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.635.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROOTER MAN                                                                                        $487.78
         PO BOX 549                                        ¨ Contingent
         GUYTON GA 31312
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.636.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROSSON SIGN COMPANY                                                                               $782.72
         3071 BROADWAY                                     ¨ Contingent
         MACON GA 31026
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.637.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO ROOTER                                                                                       $524.30
         136 TANNER ROAD                                   ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.638.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO ROOTER-BRISTOL                                                                               $563.00
         PO BOX 454                                        ¨ Contingent
         BRISTOL VA 24203
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.639.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER                                                                                       $3,514.00
         PO BOX 577                                        ¨ Contingent
         ROEBUCK SC 29376
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.640.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER                                                                                       $478.95
         PO BOX 2506                                       ¨ Contingent
         ROCK HILL SC 29732-2506
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.641.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER                                                                                       $425.00
         PO BOX 652                                        ¨ Contingent
         HIGHLANDS NC 28741
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.642.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER ANDERSON                                                                              $269.00
         136 TANNER RD                                     ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.643.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER CHARLESTON                                                                            $182.50
         PO BOX 31237                                      ¨ Contingent
         CHARLESTON SC 29417
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.644.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER OF GREENVILLE                                                                         $269.00
         136 TANNER RD                                     ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.645.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER OF GREENWOOD                                                                          $1,750.00
         PO BOX 3512                                       ¨ Contingent
         GREENWOOD SC 29648
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.646.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER PLUMBING                                                                              $1,138.98
         PO BOX 2834                                       ¨ Contingent
         IRMO SC 29063
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.647.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER SEWER SERVICE                                                                         $1,390.84
         P O BOX 488                                       ¨ Contingent
         GREENEVILLE TN 37744-0488
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.648.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER-FAYETTEVILLE                                                                          $4,243.09
         PO BOX 669                                        ¨ Contingent
         FAYETTEVILLE NC 28302
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.649.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROTO-ROOTER-HICKORY                                                                               $550.00
         PO BOX 1508                                       ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.650.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUSHTON GENERAL CONTRACTING                                                                       $854.61
         195 FOREST ROAD                                   ¨ Contingent
         LINCOLNTON NC 29092
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.651.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUTHERFORD HEATING & AIR, INC                                                                     $942.00
         737 EAST MAINT STREET                             ¨ Contingent
         SPINDALE NC 28160
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.652.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAFE GARD PRODUCTS                                                                                $1,664.57
         PO BOX 88043                                      ¨ Contingent
         CHICAGO IL 60680-1043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.653.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SANDY SPRINGS WATER DIST.                                                                         $133.45
         PO BOX 730                                        ¨ Contingent
         SANDY SPRINGS SC 29677
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.654.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAWYERS PRODUCE                                                                                   $84.80
         2350 EBENEZER RD                                  ¨ Contingent
         ROCK HILL SC 29732
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.655.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SC DEPT OF LLR                                                                                    $25.00
         PO BOX 11329                                      ¨ Contingent
         COLUMBIA SC 29211-1329
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.656.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SC DEPT. OF REVENUE                                                                               $29.81
         PO BOX 125                                        ¨ Contingent
         COLUMBIA SC 29214-0215
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.657.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCANA ENERGY                                                                                      $14,624.91
         PO BOX 100157                                     ¨ Contingent
         COLUMBIA SC 29202-3157
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.658.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCEPF                                                                                             $1,200.00
         PO BOX 2174                                       ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.659.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCOTTS EQUIPMENT REPAIR                                                                           $470.05
         122 CHILDERS CIRCLE                               ¨ Contingent
         PIEDMONT SC 29673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.660.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SEATING CONSULTANTS INC                                                                           $90.50
         323 PEIRCE STREET NE                              ¨ Contingent
         MINNEAPOLIS MN 55413
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.661.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SELF OPPORTUNITY INC                                                                              $2,990.00
         PO BOX 292788                                     ¨ Contingent
         LEWISVILLE TX 75029
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.662.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SENECA LIGHT & WATER PLANT                                                                        $2,631.97
         PO BOX 4773                                       ¨ Contingent
         SENECA SC 29679
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.663.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SERVICE PLUMBING                                                                                  $1,710.45
         PO BOX 2031                                       ¨ Contingent
         BLAIRSVILLE GA 30514
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.664.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SERVICES AND BEYOND                                                                               $8,222.58
         409 N GREEN STREET                                ¨ Contingent
         MORGANTON NC 28655
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.665.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SFA FIRE PROTECTION INC                                                                           $391.90
         4809 S MAIN ST                                    ¨ Contingent
         SALISBURY NC 28147
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.666.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHEALY ELECTRICAL WHOLESALERS                                                                     $127.08
         120 SAXE GOTHA ROAD                               ¨ Contingent
         WEST COLUMBIA SC 29172
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.667.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHORE'S DOORS AND MOORE                                                                           $1,275.00
         60 MIDLOTHIAN DR                                  ¨ Contingent
         SOUTHERN PINES NC 28387
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.668.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHRED-IT USA                                                                                      $1,292.82
         28883 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1288
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.669.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIB DEVELOPMENT & CONSULTING, INC                                                                 $26,818.00
         PO BOX 100199                                     ¨ Contingent
         COLUMBIA SC 29202-3199
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.670.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIB FIXED REDUCTION                                                                               UNDETERMINED
         PO BOX 100199                                     þ Contingent
         COLUMBIA SC 29202-3199
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.671.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIGN SYSTEMS, INC                                                                                 $1,464.61
         PO BOX 3767                                       ¨ Contingent
         HICKORY NC 28603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.672.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SINCLAIR BROADCAST                                                                                $15,425.25
         C/O WCYB                                          ¨ Contingent
         PO BOX 206270
         DALLAS TX 75320-6270                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.673.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SINCLAIR BROADCAST GROUP                                                                          $7,092.00
         C/O WACH                                          ¨ Contingent
         PO BOX 206270
         DALLAS TX 75320-6270                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.674.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SISSON, TRYON                                                                                     $124,750.00
         TY SISSON                                         ¨ Contingent
         1279 WESTWIND CIR
         WESTLAKE VILLAGE CA 91361                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.675.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SKIPPER, JAMES E                                                                                  UNDETERMINED
         528 JAMESTOWN AVE                                 þ Contingent
         DARLINGTON SC 29532
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.676.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SMITH GLASS                                                                                       $75.00
         64 BRACKETT'S WAY                                 ¨ Contingent
         BLAIRSVILLE GA 30512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.677.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SMITH,GARY AND MARGARET                                                                           $150,176.00
         123 PECAN LN                                      ¨ Contingent
         CAYCE SC 29033
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.678.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SMOKY MOUNTAIN CENTER                                                                             $1,375.00
         1028 GEORGIA ROAD                                 ¨ Contingent
         FRANKLIN NC 28734
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.679.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SNAGAJOB/PEOPLEMATTER                                                                             $26,172.60
         32978 COLLECTIONS CENTER DRIVE                    ¨ Contingent
         CHICAGO IL 60693-0329
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.680.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTH CAROLINA DEPT REVENUE                                                                       $209.84
         POST BOX 2535                                     ¨ Contingent
         COLUMBIA SC 29202-2535
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.681.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTH CAROLINA ELECTRIC & GAS                                                                     $51,799.15
         PO BOX 100255                                     ¨ Contingent
         COLUMBIA SC 29202-3255
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.682.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHERN BAKING                                                                                   $23.88
         419 THE PARKWAY                                   ¨ Contingent
         PMB 115
         GREER SC 29650                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.683.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHERN FILTER SERVICES,INC                                                                      $1,152.00
         PO BOX 44571                                      ¨ Contingent
         ATLANTA GA 30336
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.684.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHERN LIGHTING SERVICES                                                                        $554.33
         PO BOX 7599                                       ¨ Contingent
         OCEAN ISLE BEACH NC 28469-1599
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.685.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPARTANBURG WATER SYSTEM                                                                          $6,019.66
         PO BOX 251                                        ¨ Contingent
         200 COMMERCE STREET
         SPARTANBURG SC 29304                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.686.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPECTANK                                                                                          $300.00
         200 VICEROY ROAD, UNIT 15                         ¨ Contingent
         VAUGHAN ON L4K 3N8
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.687.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPENDIFFERENCE                                                                                    $115,605.50
         SPENDIFFERENCE, LLC                               þ Contingent
         C/O MARYANNE ROSE, CEO
         2000 CLAY STREET                                  þ Unliquidated
         STE 300
         DENVER CO 80211
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           SETTLEMENT
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.688.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STAIN-PRO CARPET CLEANING                                                                         $200.00
         5417 FLEMINGTON RD                                ¨ Contingent
         ELLABELL GA 31308
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.689.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STANLEY STEEMER                                                                                   $422.00
         3169 NATAL ST                                     ¨ Contingent
         FAYETTEVILLE NC 28306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.690.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STANLEY STEEMER OF COLUMBIA                                                                       $596.00
         710 B BUCKNER RD                                  ¨ Contingent
         COLUMBIA SC 29203
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.691.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STANLEY STEEMER OF TRI-CITIES                                                                     $3,244.33
         1171 SHIPP STREET                                 ¨ Contingent
         SUITE A
         KINGSPORT TN 37660                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.692.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STAPLES BUSINESS ADVANTAGE                                                                        $16,134.55
         DEPT ATL                                          ¨ Contingent
         PO BOX 405386
         ATLANTA GA 30384-5386                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.693.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STATE DISBURSEMENT UNIT                                                                           $87.16
         PO BOX 5400                                       ¨ Contingent
         CAROL STREAM IL 60197-5400
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.694.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STATE DISBURSEMENT UNIT                                                                           $6.18
         PO BOX 17396                                      ¨ Contingent
         BALTIMORE MD 21297
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.695.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEAM SOURCE                                                                                      $15,292.00
         3049 SALEM INDUSTRIAL DRIVE                       ¨ Contingent
         WINSTON-SALEM NC 27127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.696.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEAMASTER                                                                                        $2,320.00
         553 SOUTH BOUNDARY                                ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.697.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEVENS & STEVENS BRM, INC                                                                        $119.85
         PO BOX 388                                        ¨ Contingent
         PINELLAS PARK FL 33780-0388
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.698.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORAGE 24/7                                                                                      $48.00
         338 SUMTER HWY                                    ¨ Contingent
         CAMDEN SC 29020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.699.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $90,469.10
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.700.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $91,088.29
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.701.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $88,006.22
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.702.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $79,178.66
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.703.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $94,681.21
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.704.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $97,751.95
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.705.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $91,033.58
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.706.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $84,482.66
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.707.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $61,312.52
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.708.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $74,042.12
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.709.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $94,397.62
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.710.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $92,112.98
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.711.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $74,643.92
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.712.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $86,933.05
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.713.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING I LLC                                                                        $78,372.50
         MICHAEL T BENNETT                                 ¨ Contingent
         8501 E. PRINCESS DR
         STE 190                                           ¨ Unliquidated
         SCOTTSDALE AZ 85255                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.714.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORE MASTER FUNDING V LLC                                                                        $64,277.60
         8501 E. PRINCESS DR                               ¨ Contingent
         STE 190
         SCOTTSDALE AZ 85255                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.715.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUMMIT MEDIA                                                                                      $23,375.00
         DEPT #2409                                        ¨ Contingent
         PO BOX 11407
         BIRMINGHAM AL 35246-2409                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.716.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SURE TEMP REFRIGERATION LLC                                                                       $562.50
         4912 AUGUSTA RD                                   ¨ Contingent
         SAVANNAH GA 31408
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.717.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUSO3 HOLDING                                                                                     $51,568.72
         32738 COLLECTION CENTER DR                        ¨ Contingent
         CHICAGO IL 60693-0327
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.718.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SWAFFORD PLUMBING LLC                                                                             $135.00
         133B W FREEMAN RD                                 ¨ Contingent
         WESTMINSTER SC 29693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.719.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         T ALLEN ELECTRIC, INC                                                                             $397.00
         1466 UPPER BETHANY ROAD                           ¨ Contingent
         BALL GROUND GA 30107
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.720.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         T.P. HOWARD'S PLUMBING CO., INC                                                                   $273.92
         90 NUMBER NINE ROAD                               ¨ Contingent
         FAIRVIEW NC 28730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.721.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAYLOR, JOHN M                                                                                    UNDETERMINED
         1986 OLD BALSAM RD                                þ Contingent
         WAYNESVILLE NC 28786
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        WORKERS COMPENSATION CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.722.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAYLORS MINI WAREHOUSE                                                                            $1,545.00
         221 W MAIN ST                                     ¨ Contingent
         TAYLORS SC 29687
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.723.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TECH-TRONICS MICRAWAVE REPAIR                                                                     $1,530.39
         220 A THREE BROTHERS DRIVE                        ¨ Contingent
         SHELBY NC 28152
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.724.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TED NICHOLS                                                                                       $26,286.00
         413 BRIGHTON WOODS DRIVE                          ¨ Contingent
         MOORE SC 29369
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OP PAYOUT BALANCE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.725.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TENNESSEE CHILD SUPPORT                                                                           $188.52
         P.O. BOX 305200                                   ¨ Contingent
         NASHVILLE TN 37229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.726.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE BARS PROGRAM                                                                                  $105.00
         7112 WEST JEFFERSON AVE                           ¨ Contingent
         LAKEWOOD CO 80235
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.727.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE BOELTER COMPANIES                                                                             $76.08
         PO BOX 8741                                       ¨ Contingent
         CAROL STREAM IL 60197-8741
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.728.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE JOURNAL                                                                                       $175.00
         601 PENNSYLVANIA AVE NW STE 900                   ¨ Contingent
         WASHINGTON DC 20004-3615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.729.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE KNOT                                                                                          $735.00
         11106 MOCKINGBIRD DRIVE                           ¨ Contingent
         OMAHA NE 68137
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.730.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE PLUMBING EXPERTS                                                                              $407.00
         3307B NEW EASLEY HIGHWAY                          ¨ Contingent
         GREENVILLE SC 29611
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.731.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE SEALS                                                                                         $1,382.31
         1914 J.N PEASE PLACE                              ¨ Contingent
         CHARLOTTE NC 28262
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.732.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE SEAT DOCTOR                                                                                   $8,735.00
         110 HERNDON SPRINGS                               ¨ Contingent
         GROVER NC 28073
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.733.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE SHERWIN-WILLIAMS CO                                                                           $1,266.85
         234 E BLACKSTOCK RD                               ¨ Contingent
         SPARTANBURG SC 29301-2607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.734.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE STATE MEDIA                                                                                   UNDETERMINED
         RAUCH MILLIKEN, INC.                              þ Contingent
         CORPORATE INVESTIGATOR
         P.O. BOX 8390                                     þ Unliquidated
         METARIE LA 70011                                  þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.735.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE STATE NEWSPAPER                                                                               $3,123.63
         PO BOX 51878                                      ¨ Contingent
         LIVONIA MI 48151
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.736.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE VANS STEENNIS FAMILY TRUST                                                                    $65,395.01
         PETER VAN STEENIS                                 ¨ Contingent
         202 KALKAR DR
         SANTA CRUZ CA 95060                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.737.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE WASSERSTROM COMPANY                                                                           $4,098.00
         477 SOUTH FRONT ST                                ¨ Contingent
         COLUMBUS OH 43215
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.738.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE WATER COMMISSION                                                                              $1,595.81
         PO BOX 368                                        ¨ Contingent
         GREENEVILLE TN 37744
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.739.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THOMAS & COMPANY                                                                                  $5,400.00
         PO BOX 645555                                     ¨ Contingent
         CINCINNATI OH 45264-5555
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.740.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THOMAS & THORNGREN                                                                                $1,800.00
         PO BOX 280100                                     ¨ Contingent
         NASHVILLE TN 37228
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.741.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THOMPSON ELECTRICAL SERVICE                                                                       $608.46
         295 EASTERN STAR ROAD                             ¨ Contingent
         KINGSPORT TN 37663
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.742.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THRIFT BROTHERS                                                                                   $89,750.00
         TUCK HYDRICK                                      ¨ Contingent
         PO BOX 1293
         SENECA SC 29679                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.743.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THRIFT BROTHERS, INC.                                                                             UNDETERMINED
         TRUST BROTHER                                     þ Contingent
         P.O. BOX 1293
         SENECA SC 29579                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.744.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIDEWATER LANDSCAPE MANAGEMENT                                                                    $1,464.00
         PO BOX 7571                                       ¨ Contingent
         GARDEN CITY GA 31418
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.745.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIDWELL, GWENDOLIN                                                                                UNDETERMINED
         200 SPARGER RD                                    þ Contingent
         BRISTOL TN 37620
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.746.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIME WARNER CABLE                                                                                 $1,469.22
         PO BOX 70872                                      ¨ Contingent
         CHARLOTTE NC 28272-0872
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.747.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIMER WARNER CABLE                                                                                $274.93
         BOX 223085                                        ¨ Contingent
         PITTSBURGH PA 15251-2085
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.748.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIMES AND DEMOCRAT                                                                                $277.89
         PO DRAWER 1766                                    ¨ Contingent
         ORANGEBURG SC 29115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.749.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TONYA SWARTHOUT                                                                                   $118.35
         446 OLD HICKORY CIRCLE                            ¨ Contingent
         MT CARMEL TN 37645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.750.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TONY'S PLUMBING & GAS PIPING                                                                      $331.00
         120 OLETA RD                                      ¨ Contingent
         HENDERSONVILLE NC 28792
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.751.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TONY'S PLUMBING REPAIRS & SERVICES                                                                $1,046.00
         107 MEEKS RD                                      ¨ Contingent
         BLAIRSVILLE GA 30512
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.752.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOPSHELF                                                                                          $600.00
         1545 WESTERN AVE                                  ¨ Contingent
         SUITE 210
         KNOXVILLE TN 37921                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.753.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOSHIBA BUSINESS SOLUTIONS                                                                        $68.00
         9201 SOUTHERN PINE BLVD                           ¨ Contingent
         SUITE J
         CHARLOTTE NC 28273                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.754.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWN OF CHERAW WATER WORKS                                                                        $1,134.25
         PO BOX 219                                        ¨ Contingent
         CHERAW SC 29520
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.755.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWN OF DUBLIN                                                                                    $1,156.09
         PO BOX 1066                                       ¨ Contingent
         DUBLIN VA 24084
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.756.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWN OF FOREST CITY                                                                               $4,983.67
         PO BOX 728                                        ¨ Contingent
         FOREST CITY NC 28043-0728
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.757.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWN OF FRANKLIN                                                                                  $583.81
         PO BOX 1479                                       ¨ Contingent
         FRANKLIN NC 28744
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.758.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWN OF LEXINGTON                                                                                 $2,874.61
         PO BOX 397                                        ¨ Contingent
         LEXINGTON SC 29071
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.759.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRI STATE UPHOLSTERY                                                                              $480.00
         2966 NC HWY 69                                    ¨ Contingent
         HAYESVILLE NC 28904
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.760.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRIANGLE SAFE & LOCK, INC.                                                                        $412.25
         1400 SUNSET BLVD                                  ¨ Contingent
         WEST COLUMBIA SC 29169
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.761.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRIPLE C LAWN CARE                                                                                $450.00
         PO BOX 523                                        ¨ Contingent
         FRANKLIN NC 28744
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.762.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TROUBLESHOOTER                                                                                    $57,936.05
         PO BOX 3416                                       ¨ Contingent
         WEST COLUMBIA SC 29171
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.763.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRUVISTA                                                                                          $481.87
         PO BOX 189                                        ¨ Contingent
         CHESTER SC 29706-0189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.764.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TWC SERVICES                                                                                      $11,515.91
         PO BOX 1612                                       ¨ Contingent
         DES MOINES IA 50306-1612
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.765.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ULRICH JACOB                                                                                      $215.00
         2133 TWIN BRIDGE DR                               ¨ Contingent
         FLORENCE SC 29505
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.766.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNICOI COUNTY CHAMBER OF COMMERCE                                                                 $440.00
         PO BOX 713                                        ¨ Contingent
         ERWIN TN 37650
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.767.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNIFIED GOVERNMENT OF ATHENS-CLARKE                                                               $38.69
         COUNTY                                            ¨ Contingent
         PO BOX 117096
         ATLANTA GA 30368-7096                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.768.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNITED STATES TRAFFIC NETWORK, LLC                                                                $13,260.00
         PO BOX 639181                                     ¨ Contingent
         CINCINNATI OH 45263-9181
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.769.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNITEDHEALTHCARE                                                                                  $5,079.54
         22703 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1227
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.770.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UPSTATE EVENT SERVICES                                                                            $629.33
         1225 PENDLETON ST                                 ¨ Contingent
         SUITE 6
         GREENVILLE SC 29611                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.771.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UPWARD STAR CENTER                                                                                $2,500.00
         9768 WARREN H ABERNATHY HWY                       ¨ Contingent
         SPARTANBURG SC 29301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.772.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         URQUHART PLUMBING, INC                                                                            $1,292.00
         PO BOX 12063                                      ¨ Contingent
         FLORENCE SC 29504
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.773.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         US DEPARTMENT OF EDUCATION                                                                        $17.02
         NATIONAL PAYMENT CENTER                           ¨ Contingent
         PO BOX 105081
         ATLANTA GA 30348-5081                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.774.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UTILITY AUDIT SOLUTIONS, LLC                                                                      $112.60
         405 GRAY FOX SQUARE                               ¨ Contingent
         TAYLORS SC 29687-4074
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.775.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VALASSIS DIGITAL                                                                                  $138,735.31
         MAXPOINT INTERACTIVE, INC                         ¨ Contingent
         PO BOX 360668
         PITTSBURGH PA 15251-6668                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.776.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VALLEY RENTALS                                                                                    $683.22
         1401 MORGANTON BLVD                               ¨ Contingent
         LENIOR NC 28645
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.777.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VAN STEENIS FAMILY TRUST                                                                          UNDETERMINED
         PETER VAN STEENIS                                 þ Contingent
         202 KALKAR DR
         SANTA CRUZ CA 95060                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.778.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VANDELAY                                                                                          $70,116.55
         JIM MCLEAN                                        ¨ Contingent
         3578 ST MATTHEWS RD NE
         ORANGEBURG SC 29118                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.779.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VAN'S ELECTRIC, INC                                                                               $693.88
         123 WEST PALMER STREET                            ¨ Contingent
         SUITE 1
         FRANKLIN NC 28734                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.780.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VELOSIO                                                                                           $3,873.30
         5747 PERIMETER DR                                 ¨ Contingent
         SUITE 200
         DUBLIN OH 43017                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.781.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERIZON                                                                                           $405.20
         PO BOX 660108                                     ¨ Contingent
         DALLAS TX 75266-0108
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.782.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VICTOR DURAN LAWN SERVICE                                                                         $660.00
         302 MOUNTAIN VIEW DR                              ¨ Contingent
         SENECA SC 29678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.783.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIKING FIRE PROTECTION, INC                                                                       $660.00
         PO BOX 527                                        ¨ Contingent
         HIGH POINT NC 27261
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.784.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         W.A. RHYMER ELECTRIC                                                                              $446.54
         600 BRIDLEMAN RD                                  ¨ Contingent
         BRISTOL TN 37620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.785.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WALDROP HEATING & AIR CONDITIO                                                                    $2,953.31
         PO BOX 369                                        ¨ Contingent
         REIDVILLE SC 29375
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.786.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WALKUP ELECTRICAL CONSTRUCTION, LLC                                                               $4,801.00
         3233 SOUTH CASHUA DR                              ¨ Contingent
         FLORENCE SC 29501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.787.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WALT'S LOCK & KEY INC                                                                             $491.05
         3623 MAIDEN HWY                                   ¨ Contingent
         LINCOLNTON NC 28092
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.788.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WARNER ROBINS CHAMBER OF COMMERCE                                                                 $193.75
         1228 WATSON BLVD                                  ¨ Contingent
         WARNER ROBINS GA 31093
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.789.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WARNER ROBINS WESTGATE LLC                                                                        $160,081.93
         JACK JAMISON                                      ¨ Contingent
         550 SOUTH MAIN ST
         STE 300                                           ¨ Unliquidated
         GREENVILLE SC 29601                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.790.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WARNER, FRANCES                                                                                   UNDETERMINED
         200 JACKSON RUN                                   þ Contingent
         MORGANTON NC 28655
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        GENERAL LIABILITY CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.791.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WATTS & ASSOCIATES                                                                                $660.22
         PO BOX 21273                                      ¨ Contingent
         COLUMBIA SC 29221
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.792.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WE CARE HEATING & AIR                                                                             $178.00
         924 S HOUSTON LAKE RD                             ¨ Contingent
         WARNER ROBINS GA 31088
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.793.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHALEY FOODSERVICE REPAIRS                                                                        $540.33
         PO BOX 615                                        ¨ Contingent
         LEXINGTON SC 29071
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.794.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHITE HARBOUR PLUMBING INC                                                                        $117.56
         23306 WHITE HARBOUR ROAD                          ¨ Contingent
         SENECA SC 29672
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.795.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILKERSON PLUMBING, LLC                                                                           $195.15
         214 MIDWAY TERRACE                                ¨ Contingent
         GARRNEY SC 29341
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.796.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILLIAMSON SVU LLC                                                                                $8,912.50
         6 GLENDA LANE                                     ¨ Contingent
         GREENVILLE SC 29607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.797.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WINDS CROSSING                                                                                    UNDETERMINED
         BOB CHRISTL                                       þ Contingent
         7711 BRIARDENN DR
         SUMMERFIELD NC 27358                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.798.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WINDS CROSSING                                                                                    $97,300.00
         BOB CHRISTL                                       ¨ Contingent
         7711 BRIARDENN DR
         SUMMERFIELD NC 27358                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LANDLORD CLAIM
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.799.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WINDSTREAM                                                                                        $2,548.21
         PO BOX 9001908                                    ¨ Contingent
         LOUISVILLE KY 40290-1908
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.800.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WJHL                                                                                              $9,367.00
         33096 COLECTION CENTER DRIVE                      ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.801.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WLON/AM 1050 RADIO                                                                                $360.00
         3312 W PETERSON AVE                               ¨ Contingent
         CHICAGO IL 60659
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.802.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WOLO                                                                                              $4,802.50
         5807 SHKESPEARE RD                                ¨ Contingent
         COLUMBIA SC 29223
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.803.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WOODS PLUMBING                                                                                    $709.54
         PO BOX 502                                        ¨ Contingent
         PATTERSON NC 28661
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.804.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WYYZ 1490AM & 102.7FM                                                                             $816.00
         268 HOOD RD                                       ¨ Contingent
         JASPER GA 30143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.805.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YAHNNIS COASTAL                                                                                   $41.94
         1864 HUSTED RD                                    ¨ Contingent
         CONWAY SC 29526
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.806.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YELP INC                                                                                          $18,225.00
         PO BOX 204393                                     ¨ Contingent
         DALLAS TX 75320-4393
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.807.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YORK COUNTY CHAMBER                                                                               $398.00
         PO BOX 590                                        ¨ Contingent
         ROCK HILL SC 29731
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.808.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YORK COUNTY NATURAL GAS                                                                           $1,869.56
         PO BOX 11907                                      ¨ Contingent
         ROCK HILL SC 29731-1907
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.809.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZEROREZ                                                                                           $396.55
         450 DEANNA LANE, STE C                            ¨ Contingent
         CHARLESTON SC 29492-8526
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.810.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZORN CONSULTING LLC                                                                               $95.00
         325 BANNING ST                                    ¨ Contingent
         COPE SC 29038
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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 Part 3:    List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      AIKENS & DAVENPORT, PC                             Part 2 line 3.539                                       _____________________
      DANIEL J. DAVENPORT
      P.O. BOX 923
      BLAIRSVILLE GA 30514

      BROWN, MASSEY, EVANS, MCLEOD &                     Part 2 line 3.399                                       _____________________
      HAYNSWORTH, LLC
      KNOX L. HAYNSWORTH, III
      P.O. BOX 2464
      GREENVILLE SC 29602

      BRUCE DRESSLER                                     Part 2 line 3.266                                       _____________________
      DANIEL K FELKER ESQ
      HUCKS AND FELKER PA
      9610 TWO NOTCH RD STE 5
      COLUMBIA SC 29223

      BUIST, BYARS, TAYLOR, LLC                          Part 2 line 3.504                                       _____________________
      G. HAMLIN O’KELLEY
      652 COLEMAN BLVD., STE 200
      MOUNT PLEASANT SC 29464

      BUIST, BYARS, TAYLOR, LLC                          Part 2 line 3.466                                       _____________________
      G. HAMLIN O’KELLEY
      652 COLEMAN BLVD., STE 200
      MOUNT PLEASANT SC 29464

      CAROLINA CHILD CARE PROPERTIES                     Part 2 line 3.125                                       _____________________
      RANDY DAVIS
      887 JOHNNIE DODDS BLVD
      MT. PLEASANT SC 29464

      CAROLINA CHILD CARE PROPERTIES                     Part 2 line 3.124                                       _____________________
      RANDY DAVIS
      887 JOHNNIE DODDS BLVD
      MT. PLEASANT SC 29464

      CAROLINA CHILDCARE PROPERTIES LLC                  Part 2 line 3.125                                       _____________________
      DENNIS E DREW
      1630 AZTEC LANE
      MT PLEASANT SC 29466-8863

      CARRUTHERS & ROTH, PA                              Part 2 line 3.797                                       _____________________
      J. PATRICK HAYWOOD RACHEL SCOTT DECKER
      P.O. BOX 540
      GREENSBORO NC 27402

      CITY OF ROCKINGHAM                                 Part 2 line 3.190                                       _____________________
      SHANNON PANKEY
      514 ROCKINGHAM ROAD
      ROCKINGHAM NC 28379

      CRAIG LAW FIRM, PLLC                               Part 2 line 3.538                                       _____________________
      SAM B. CRAIG
      PO.O. BOX 1861
      ASHEVILLE NC 28802-1861




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      DEANE, EILLIAMS & DEANNE                    Part 2 line 3.343                         _____________________
      KELLY G. WILLIAMS
      P.O. BOX 1416
      ROCKINGHAM NC 28380

      DERRICK RITTER WILLIAMS & MORRIS, PA        Part 2 line 3.743                         _____________________
      ANDREW K. HOLLIDAY
      P.O. BOX 795
      SENECA SC 29679

      EVANS & SHELLEY, PA                         Part 2 line 3.477                         _____________________
      WESLEY R SHELLEY
      P.O. DRAWER 1330
      MARION NC 28752

      FISHBOWL INC                                Part 2 line 3.315                         _____________________
      DOUGLAS POPPEN
      PO BOX 740513
      ATLANTA GA 30374-0513

      GRAYBILL, LANSCHE & VINZANI, LLC            Part 2 line 3.368                         _____________________
      JAKE BARKER AND BRETT D. BUDLONG
      225 SEVEN FARMS DR., STE 207
      CHARLESTON SC 29496

      HAMILTON CHASE CITADEL LLC                  Part 2 line 3.368                         _____________________
      JUSTIN DEAN
      PO BOX 468
      SOLVANG CA 93464

      HAMILTON CHASECITADEL LLC                   Part 2 line 3.367                         _____________________
      JUSTIN DEAN
      PO BOX 468
      SOLVANG CA 93464

      INFINITY MARKETING SOLUTIONS INC            Part 2 line 3.399                         _____________________
      TONY WILLIAMS
      874 S PLEASNTBURG DR
      STE A
      GREENVILLE SC 29607

      KOURY CORP                                  Part 2 line 3.444                         _____________________
      ALEX MUNOZ
      2275 VANSTORY ST
      STE 200
      GREENSBORO NC 27403

      KOURY CORP                                  Part 2 line 3.442                         _____________________
      ALEX MUNOZ
      2275 VANSTORY ST
      STE 200
      GREENSBORO NC 27403

      KOURY CORP                                  Part 2 line 3.442                         _____________________
      ALEX MUNOZ
      2275 VANSTORY ST
      STE 200
      GREENSBORO NC 27403

      KOURY CORPORATION                           Part 2 line 3.444                         _____________________
      DOUGLAS M HEBERLE
      2275 VANSTORY ST STE 200
      GREENSBORO NC 27407

      KOURY CORPORATION                           Part 2 line 3.442                         _____________________
      DOUGLAS M HEBERLE
      2275 VANSTORY ST STE 200
      GREENSBORO NC 27407

      MATTHEW W. PADGETT                          Part 2 line 3.541                         _____________________
      7013 EVANS TOWN CENTER BLVD., STE. 502
      EVANS GA 30809


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      MCGRADY-PERDUE HEATING AND COOLING INC       Part 2 line 3.478                         _____________________
      CAROLYN PERDUE
      690 N FRANKLIN ST
      CHRISTIANSBURG VA 24073

      MELIAH BOWERS JEFFERSON                      Part 2 line 3.777                         _____________________
      GREGORY J. ENGLISH
      P.O. BOX 728
      GREENVILLE SC 29602-0728

      MELIAH BOWERS JEFFERSON                      Part 2 line 3.736                         _____________________
      GREGORY J. ENGLISH
      P.O. BOX 728
      GREENVILLE SC 29602-0728

      MELIAH BOWERS JEFFERSON                      Part 2 line 3.736                         _____________________
      GREGORY J. ENGLISH
      P.O. BOX 728
      GREENVILLE SC 29602-0728

      MILESTONE PARTNERS III LP                    Part 2 line 3.74                          _____________________
      555 EAST LANCASTER AVE
      STE 500
      RADNOR PA 19087

      MILESTONE PARTNERS III LP 2                  Part 2 line 3.74                          _____________________
      555 EAST LANCASTER AVE
      STE 500
      RADNOR PA 19087

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.74                          _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.533                         _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.534                         _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.535                         _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.536                         _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MOORE & VAN ALLEN PLLC                       Part 2 line 3.537                         _____________________
      DAVID B WHEELER;REID E DYER
      78 WENTWORTH ST
      POST OFFICE BOX 22828
      CHARLESTON SC 29413-2828

      MRB LLC                                      Part 2 line 3.504                         _____________________
      VALEEN BROWN
      PO BOX 161413
      BOILING SPRINGS SC 29316




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      MRB LLC                                    Part 2 line 3.502                         _____________________
      VALEEN BROWN
      PO BOX 161413
      BOILING SPRINGS SC 29316

      NCR CORP                                   Part 2 line 3.513                         _____________________
      PO BOX 198755
      ATLANTA GA 30384-8755

      OLD MILL STREAM LLC                        Part 2 line 3.538                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.539                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.540                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.541                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.542                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.532                         _____________________
      PO BOX 24169
      GREENVILLE SC 29616

      OLD MILL STREAM LLC                        Part 2 line 3.538                         _____________________
      WILLIAM H BURTON III
      491 CONNECTICUT AVE
      SPARTANBURG SC 29302

      OLD MILL STREAM LLC                        Part 2 line 3.539                         _____________________
      WILLIAM H BURTON III
      491 CONNECTICUT AVE
      SPARTANBURG SC 29302

      OLD MILL STREAM LLC                        Part 2 line 3.540                         _____________________
      WILLIAM H BURTON III
      491 CONNECTICUT AVE
      SPARTANBURG SC 29302

      OLD MILL STREAM LLC                        Part 2 line 3.541                         _____________________
      WILLIAM H BURTON III
      491 CONNECTICUT AVE
      SPARTANBURG SC 29302

      OLD MILL STREAM LLC                        Part 2 line 3.542                         _____________________
      WILLIAM H BURTON III
      491 CONNECTICUT AVE
      SPARTANBURG SC 29302

      PHIL D. DONNAN                             Part 2 line 3.629                         _____________________
      4 ARBORLAND WAY
      GREENVILLE SC 29615

      PLAYER MCLEAN, LLP                         Part 2 line 3.436                         _____________________
      LONNIE M. PLAYER, JR.
      P.O. BOX 88095
      FAYETTEVILLE NC 28304

      PP GASTON MALL                             Part 2 line 3.576                         _____________________
      CHARLIE PEARSON
      1422 BURTONWOOD DR
      STE 200
      GASTONIA NC 28054


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      PP GASTON MALL                                Part 2 line 3.574                       _____________________
      CHARLIE PEARSON
      1422 BURTONWOOD DR
      STE 200
      GASTONIA NC 28054

      PP-GASTON MALL, LLC                           Part 2 line 3.574                       _____________________
      PP GASTON MALL
      CHARLIE PEARSON
      1422 BURTONWOOD DR
      STE 200
      GASTONIA NC 28054

      RESTAURANT TECHNOLOGIES INC                   Part 2 line 3.622                       _____________________
      DEREK ZSCHOKKE
      12962 COLLECTIONS CTR DR
      CHICAGO IL 60693

      SMITH & HASKELL LAW FIRM RIVERS T. JENKINS,   Part 2 line 3.125                       _____________________
      III
      WILLIAM MCBEE SMITH PAUL F. TECKLENBURG
      218 E. HENRY ST.
      SPARTANBURG SC 29306

      SMITH & HASKELL LAW FIRM RIVERS T. JENKINS,   Part 2 line 3.125                       _____________________
      III
      WILLIAM MCBEE SMITH PAUL F. TECKLENBURG
      P.O. BOX 20667
      CHARLESTON SC 29413

      STORE MASTER FUNDING I LLC                    Part 2 line 3.699                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.700                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.701                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.702                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.703                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.704                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                    Part 2 line 3.705                       _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255



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      STORE MASTER FUNDING I LLC                  Part 2 line 3.706                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.707                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.708                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.709                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.710                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.711                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.712                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING I LLC                  Part 2 line 3.713                         _____________________
      LYENA HALE
      8501 E PRINCESS DR
      STE 190
      SCOTTSDALE AZ 85255

      STORE MASTER FUNDING V LLC                  Part 2 line 3.714                         _____________________
      LYENA HALE
      8377 E HARTFORD DRIVE STE 100
      SCOTTSDALE AZ 85255

      TAYLOR FOLEY, LLC                           Part 2 line 3.540                         _____________________
      DAVID GLENN TAYLOR, LLM
      171 CHURCH ST., STE. 330
      CHARLESTON SC 29401

      TAYLOR FOLEY, LLC                           Part 2 line 3.542                         _____________________
      DAVID GLENN TAYLOR, LLM
      171 CHURCH ST., STE. 330
      CHARLESTON SC 29401

      TAYLOR FOLEY, LLC                           Part 2 line 3.538                         _____________________
      DAVID GLENN TAYLOR, LLM
      171 CHURCH ST., STE. 330
      CHARLESTON SC 29401

      TAYLOR FOLEY, LLC                           Part 2 line 3.539                         _____________________
      DAVID GLENN TAYLOR, LLM
      171 CHURCH ST., STE. 330
      CHARLESTON SC 29401


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      TAYLOR FOLEY, LLC                          Part 2 line 3.541                         _____________________
      DAVID GLENN TAYLOR, LLM
      171 CHURCH ST., STE. 330
      CHARLESTON SC 29401

      THRIFT BROTHERS                            Part 2 line 3.743                         _____________________
      TIM HYDRICK
      PO BOX 1293
      SENECA SC 29679

      THRIFT BROTHERS                            Part 2 line 3.742                         _____________________
      TIM HYDRICK
      PO BOX 1293
      SENECA SC 29679

      THRIFT BROTHERS INC                        Part 2 line 3.743                         _____________________
      TIM HYDRICK
      1655 SANDIFIER BLVD
      SENECA SC 29678

      TOWN OF GREENEVILLE                        Part 1 line 2.193                         _____________________
      CAROLYN C SUSONG, RECORDER
      200 N COLLEGE ST
      GREENEVILLE TN 37745

      TOWN OF GREENEVILLE                        Part 1 line 2.194                         _____________________
      CAROLYN C SUSONG, RECORDER
      200 N COLLEGE ST
      GREENEVILLE TN 37745

      TOWN OF GREENEVILLE                        Part 1 line 2.195                         _____________________
      CAROLYN C SUSONG, RECORDER
      200 N COLLEGE ST
      GREENEVILLE TN 37745

      TOWN OF GREENEVILLE                        Part 1 line 2.196                         _____________________
      CAROLYN C SUSONG, RECORDER
      200 N COLLEGE ST
      GREENEVILLE TN 37745

      TOWN OF GREENEVILLE                        Part 1 line 2.197                         _____________________
      CAROLYN C SUSONG, RECORDER
      200 N COLLEGE ST
      GREENEVILLE TN 37745

      WINDS CROSSING                             Part 2 line 3.798                         _____________________
      VINAY GUDENA
      7711 BRIARDENN DR
      SUMMERFIELD NC 27358

      WINDS CROSSING FC LLC                      Part 2 line 3.797                         _____________________
      VINAY GUDENA
      7711 BRIARDENN DR
      SUMMERFIELD NC 27358




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 Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                   Total of claim amounts


5a.   Total claims from Part 1                                                          5a.        $1,936,157.93


5b.   Total claims from Part 2                                                          5b.   +    $28,525,502.60


      Total of Parts 1 and 2                                                                       $30,461,660.53
5c.                                                                                     5c.
      Lines 5a + 5b = 5c.




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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.    Title of contract                SERVICES AGREEMENT                                                ADP RETIREMENT SVC INC
                                                                                                           4 BECKER FARM RD
        State what the contract or       401K ADMINISTRATION                                               MS 579
        lease is for                                                                                       ROSELAND NJ 07068
        Nature of debtor's interest      CONTRACT PARTY

        State the term remaining         N/A

        List the contract number of      _________________________________________________
        any government contract


2.2.    Title of contract                EQUIPMENT LEASE                                                   State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       CO2 LEASE                                                         debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      LESSEE                                                            AIRGAS NATIONAL WELDERS
                                                                                                           PO BOX 601985
        State the term remaining         _________________________________________________                 CHARLOTTE NC 28260
        List the contract number of      _________________________________________________
        any government contract


2.3.    Title of contract                SERVICE AGREEMENT                                                 State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       MUSIC SERVICE                                                     debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      CONTRACT PARTY                                                    AMBIANCE RADIO
                                                                                                           79 E DAILY DRIVE
        State the term remaining         06/15/19                                                          STE 263
                                                                                                           CAMARILLO CA 93010
        List the contract number of      _________________________________________________
        any government contract




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2.4.     Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    UNIFORMS                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ARAMARK UNIFORM SERVICES
                                                                                           PO BOX 731676
         State the term remaining      03/09/2020                                          DALLAS TX 75373
         List the contract number of   _________________________________________________
         any government contract


2.5.     Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ATLANTA SERIES OF LOCKTON
                                                                                           3280 PEACHTREE RD
         State the term remaining      SERVICE AGREEMENT ONLY                              NE
                                                                                           ATLANTA GA 30305
         List the contract number of   _________________________________________________
         any government contract


2.6.     Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0031, CONWAY, SC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              B AND T SAND COMPANY INC
                                                                                           715 BARRIER LN
         State the term remaining      12/31/2021                                          LEXINGTON SC 29073
         List the contract number of   _________________________________________________
         any government contract


2.7.     Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0018, LEXINGTON, SC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BAILEY, GEORGE R. JR.
                                                                                           125 JETT FOREST CT NW
         State the term remaining      03/31/2023                                          ATLANTA GA 30327
         List the contract number of   _________________________________________________
         any government contract


2.8.     Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0048, AFTON RIDGE, NC                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BARNETT, BILL
                                                                                           11908 DARLINGTON AVE
         State the term remaining      03/31/2034                                          PH 2
                                                                                           LOS ANGELES CA 90049
         List the contract number of   _________________________________________________
         any government contract




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2.9.     Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OUTSIDE AUDIT FIRM                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BDO USA, LLP
                                                                                           PO BOX 642743
         State the term remaining      _________________________________________________   PITTSBURGH PA 15264
         List the contract number of   _________________________________________________
         any government contract


2.10.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CINNAMON APPLES, FIRECRACKER STICKS, POT PIE        debtor has an executory contract or
         lease is for                  FILING                                              unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BLUE MOUNTAIN BZ, INC
                                                                                           1595 PEACHTREE PKWY
         State the term remaining      12/2018                                             CUMMING GA 30041
         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    HEALTH INSURANCE                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BOON INSURANCE AGENCY, INC.
                                                                                           PO BOX 671227
         State the term remaining      01/31/19                                            DALLAS TX 75267
         List the contract number of   _________________________________________________
         any government contract


2.12.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FULL SERVICE CATERING CONTRACT                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BOY SCOUTS OF AMERICA
                                                                                           PO BOX 1059
         State the term remaining      N/A                                                 GASTONIA NC 28053
         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OIL                                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BUNGE
                                                                                           50 MAIN ST
         State the term remaining      12/31/2018                                          WHITE PLAINS NY 10606
         List the contract number of   _________________________________________________
         any government contract




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2.14.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - FIRST LIEN DEBT               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CAFE HOLDINGS CORP
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.15.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - SECOND LIEN DEBT              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CAFE HOLDINGS CORP
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.16.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - MEZZANINE DEBT                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CAFE HOLDINGS CORP
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.17.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0008, SOUTHPORT, SC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CAROLINA CHILD CARE
                                                                                           PROPERTIES
         State the term remaining      03/31/2034                                          RANDY DAVIS
                                                                                           887 JOHNNIE DODDS BLVD
         List the contract number of   _________________________________________________   STE 208
         any government contract                                                           MT. PLEASANT SC 29464


2.18.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0034, ELIZABETHTON, TN                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CDG REAL ESTATE TENNESSEE
                                                                                           LLC
         State the term remaining      03/31/2034                                          GUO CHENG
                                                                                           9763 SCOTCH PINE DR
         List the contract number of   _________________________________________________   SPRINGBORO OH 45066
         any government contract




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2.19.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - FIRST LIEN DEBT               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CE SPORTZ LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.20.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - SECOND LIEN DEBT              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CE SPORTZ LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.21.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - MEZZANINE DEBT                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CE SPORTZ LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.22.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - FIRST LIEN DEBT               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CES GASTONIA LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.23.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - SECOND LIEN DEBT              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CES GASTONIA LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract




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2.24.    Title of contract             GUARANTEE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GUARANTEE AGREEMENT - MEZZANINE DEBT                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   BORROWER                                            CES GASTONIA LLC
                                                                                           ATTN ERIC EASTON
         State the term remaining      _________________________________________________   4324 WADE HAMPTON BLVD
                                                                                           STE B
         List the contract number of   _________________________________________________   TAYLORS SC 29687
         any government contract


2.25.    Title of contract             _________________________________________________   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RESTAURANT OPERATING PARTNER BONUS CONTRACT         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CHARLES REDMON
                                                                                           141 MISSED OAK DR
         State the term remaining      07/03/2018                                          FOREST CITY NC 28043
         List the contract number of   _________________________________________________
         any government contract


2.26.    Title of contract             EQUIPMENT LEASE                                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EQUIPMENT/COPIER LEASE                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CIT
                                                                                           21146 NETWORK PLACE
         State the term remaining      _________________________________________________   CHICAGO IL 60673
         List the contract number of   _________________________________________________
         any government contract


2.27.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLEMSON SPONSORSHIP                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CLEMSON TIGER SPORTS
                                                                                           PROPERTIES
         State the term remaining      2020                                                PO BOX 843256
                                                                                           KANSAS CITY MO 64120
         List the contract number of   _________________________________________________
         any government contract


2.28.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PCI                                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CONTROL SCAN
                                                                                           11475 GREAT OAKS WAY
         State the term remaining      _________________________________________________   SUITE 300
                                                                                           ALPHARETTA GA 30022
         List the contract number of   _________________________________________________
         any government contract




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2.29.    Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    BEVERAGE                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DEMETRI'S GOURMET MIXES
                                                                                           8230 5TH AVE. S
         State the term remaining      PRICING AGREEMENT                                   SUITE A
                                                                                           SEATTLE WA 98108
         List the contract number of   _________________________________________________
         any government contract


2.30.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUGAR PRODUCTS                                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DOMINO FOODS, INC
                                                                                           99 WOODS AVE S
         State the term remaining      06/30/2018                                          SUITE 901
                                                                                           ISELIN NJ 08830
         List the contract number of   _________________________________________________
         any government contract


2.31.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FOOD DELIVERY                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DOORDASH
                                                                                           901 MARKET STREET
         State the term remaining      NA                                                  SUITE 600
                                                                                           SAN FRANCISCO CA 94103
         List the contract number of   _________________________________________________
         any government contract


2.32.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    BEVERAGE                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DR PEPPER SNAPPLE GROUP
                                                                                           5301 LEGACY DRIVE
         State the term remaining      12/31/2018                                          PLANO TX 75024
         List the contract number of   _________________________________________________
         any government contract


2.33.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MARKETING MATERIAL FULLFILLMENT                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DSI/DATA SOURCE INC
                                                                                           1400 UNIVERSAL AVENUE
         State the term remaining      02/04/2021                                          KANSAS CITY MO 64120
         List the contract number of   _________________________________________________
         any government contract




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2.34.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0011, HENDERSONVILLE, NC                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              EAGLEWOOD PROPERTIES
                                                                                           12222 MERIT DR
         State the term remaining      09/30/2019                                          STE 1750
                                                                                           DALLAS TX 75251
         List the contract number of   _________________________________________________
         any government contract


2.35.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0009, FOREST DRIVE, SC                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              EAST FOREST PLAZA III LLC
                                                                                           COLIERS KEENAN INC
         State the term remaining      09/30/2020                                          PO BOX 11610
                                                                                           COLUMBIA SC 29211
         List the contract number of   _________________________________________________
         any government contract


2.36.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SEAFOOD                                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EASTERN FISH COMPANY LLC
                                                                                           300 FRANK W BURR BLVD
         State the term remaining      07/31/19                                            SUITE 300
                                                                                           TEANECK NJ 07666
         List the contract number of   _________________________________________________
         any government contract


2.37.    Title of contract             PRODUCT AND SERVICES SUPPLY AGREEMEMT               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISH MACHINES LEASE                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ECOLAB
                                                                                           PO BOX 32027
         State the term remaining      _________________________________________________   NEW YORK NY 10087
         List the contract number of   _________________________________________________
         any government contract


2.38.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PEST ELIMINATION                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ECOLAB
                                                                                           26252 NETWORK PLACE
         State the term remaining      _________________________________________________   CHICAGO IL 60673
         List the contract number of   _________________________________________________
         any government contract




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2.39.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISH MACHINE LEASES                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ECOLAB INC
                                                                                           ECOLAB CENTER
         State the term remaining      _________________________________________________   ST PAUL MN 55102
         List the contract number of   _________________________________________________
         any government contract


2.40.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    BACKGROUND AND DRUG TESTING                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EMPLOYEMENT SCREENING
                                                                                           SERVICE
         State the term remaining      12/15/2019                                          2500 SOUTHLAKE PARK
                                                                                           BIRMINGHAM AL 35244
         List the contract number of   _________________________________________________
         any government contract


2.41.    Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SHIPPING                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FEDEX
                                                                                           PO BOX 371461
         State the term remaining      _________________________________________________   PITTSBURGH PA 15250
         List the contract number of   _________________________________________________
         any government contract


2.42.    Title of contract             EQUIPMENT LEASE                                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    POSTAGE EQUIPMENT LEASE                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              FIRST CLASS MAILING SOLUTIONS
                                                                                           PO BOX 55
         State the term remaining      _________________________________________________   HICKORY NC 28603
         List the contract number of   _________________________________________________
         any government contract


2.43.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRODUCE                                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FRESHPOINT
                                                                                           1200 OAKLEY INDUSTRIAL BLVD
         State the term remaining      11/24/18                                            STE B
                                                                                           FAIRBURN GA 30213
         List the contract number of   _________________________________________________
         any government contract




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2.44.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    POTATO/ONION                                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FRESHPOINT
                                                                                           1200 OAKLEY INDUSTRIAL BLVD
         State the term remaining      08/31/19                                            STE B
                                                                                           FAIRBURN GA 30213
         List the contract number of   _________________________________________________
         any government contract


2.45.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SOUTH CAROLINA SPONSORSHIP                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GAMECOCK SPORTS PROPERTIES
                                                                                           PO BOX 16914
         State the term remaining      06/30/2017                                          KANSAS CITY MO 64184
         List the contract number of   _________________________________________________
         any government contract


2.46.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PUBLIC RELATIONS                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GATHALTER AND CO. LP
                                                                                           733 THIRD AVE.
         State the term remaining      FEE AGREEMENT                                       16TH FLOOR
                                                                                           NEW YORK NY 10017
         List the contract number of   _________________________________________________
         any government contract


2.47.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0047, POOLER, GA                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GEOFFREY S STUTCHMAN AND
                                                                                           LEEHOUANG
         State the term remaining      03/31/2034                                          LEA STUCHMAN
                                                                                           16124 GREENWOOD LN
         List the contract number of   _________________________________________________   MONTE SERENO CA 95030
         any government contract


2.48.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0032, MARION, NC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GREAT MEADOWS LLC
                                                                                           PO BOX 400
         State the term remaining      10/31/2020                                          SPRUCE PINE NC 28777
         List the contract number of   _________________________________________________
         any government contract




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2.49.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PR/BENEFITS SOFWARE                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GREENSHADES SOFTWARE
                                                                                           7020 AC SKINNER PKWY
         State the term remaining      06/30/2019                                          SUITE 100
                                                                                           JACKSONVILLE FL 32256
         List the contract number of   _________________________________________________
         any government contract


2.50.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    HEALTH INSURANCE                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GUARDIAN
                                                                                           P.O. BOX 677458
         State the term remaining      2/1/2019                                            DALLAS TX 75267
         List the contract number of   _________________________________________________
         any government contract


2.51.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0036, NORTH CHARLESTON, SC               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              HAMILTON CHASE CITADEL LLC
                                                                                           828 BALLARD CANYON RD
         State the term remaining      12/31/2021                                          SOLVANIA CA 93463
         List the contract number of   _________________________________________________
         any government contract


2.52.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RESTAURANT RECOVERY INSURANCE                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HCC SPECIALITY
                                                                                           37 RADIO CIRCLE DRIVE
         State the term remaining      07/01/19                                            MOUNT KISCO NY 10549
         List the contract number of   _________________________________________________
         any government contract


2.53.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0019, FOREST CITY, NC                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              HILLTOP WAY LLC
                                                                                           BILL MATHIAS
         State the term remaining      10/31/2024                                          504 NORTHWOOD RD
                                                                                           LEXINGTON SC 29072
         List the contract number of   _________________________________________________
         any government contract




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2.54.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PORK                                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HORMEL FOODS SALES, LLC
                                                                                           1 HORMEL PLACE
         State the term remaining      03/31/18                                            AUSTIN MN 55912
         List the contract number of   _________________________________________________
         any government contract


2.55.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SEASONING                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HOUSE-AUTRY
                                                                                           PO BOX 460
         State the term remaining      07/31/2018                                          FOUR OAKS NC 27524
         List the contract number of   _________________________________________________
         any government contract


2.56.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WHOLESALE GIFT CARD SALES (SAM'S CLUB & BJ'S)       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      INCOMM
                                                                                           250 WILLIAMS ST
         State the term remaining      7/1/2019                                            5TH FLOOR
                                                                                           ATLANTA GA 30303
         List the contract number of   _________________________________________________
         any government contract


2.57.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      IPFS CORPORATION
                                                                                           LOCKTON
         State the term remaining      07/01/2019                                          900 ASHWOOD PARKWAY
                                                                                           SUITE 370
         List the contract number of   _________________________________________________   ATLANTA GA 30338
         any government contract


2.58.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FULL SERVICE CATERING CONTRACT                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ISOTHERMAL COMMUNITY
                                                                                           COLLEGE
         State the term remaining      N/A                                                 THE FOUNDATION
                                                                                           PERFORMING ARTS&
         List the contract number of   _________________________________________________   CONFERENCE CENTER
         any government contract                                                           PO BOX 804
                                                                                           SPINDALE NC 28160




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2.59.    Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CORPORATE OFFICE CLEANING SERVICE                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JANPRO OF THE WESTERN
                                                                                           CAROLINA
         State the term remaining      _________________________________________________   128 MILESTONE WAY
                                                                                           GREENVILLE SC 29615
         List the contract number of   _________________________________________________
         any government contract


2.60.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    KIDS MENU                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JUST 4 FUN LLC
                                                                                           318 SANDY SPRINGS CIRCLE
         State the term remaining      12/31/2018                                          ATLANTA GA 30328
         List the contract number of   _________________________________________________
         any government contract


2.61.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SALAD DRESSING                                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KEN'S FOODS INC
                                                                                           PO BOX 849
         State the term remaining      12/31/2018                                          MARLBOROUGH MA 01752
         List the contract number of   _________________________________________________
         any government contract


2.62.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLEMSON SPONSORSHIP                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KNOX SPORT
                                                                                           13063 WEST LINEBAUGH AVE
         State the term remaining      6/30/2020                                           TAMPA FL 33626
         List the contract number of   _________________________________________________
         any government contract


2.63.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0053, GREENSBORO #2, NC                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              KOURY CORP
                                                                                           2275 VANSTORY ST
         State the term remaining      8/1/2026                                            STE 200
                                                                                           GREENSBORO NC 27403
         List the contract number of   _________________________________________________
         any government contract




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2.64.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0016, SHELBY, NC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              LIGON PROPERTIES LLC
                                                                                           RICHARD LIGON
         State the term remaining      04/22/2024                                          5159 PELHAM RD
                                                                                           GREENVILLE SC 29615
         List the contract number of   _________________________________________________
         any government contract


2.65.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SENIOR MEAL PROGRAM                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LINCOLNTON VOUCHER COUP
                                                                                           514 S ACADEMY ST
         State the term remaining      06/30/2019                                          LINCOLNTON NC 28093
         List the contract number of   _________________________________________________
         any government contract


2.66.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FOOD BORNE ILLNESS LIABILITY / RESTAURANT           debtor has an executory contract or
         lease is for                  RECOVERY                                            unexpired lease
         Nature of debtor's interest   INSURED                                             LLOYDS OF LONDON
                                                                                           42 WEST 54TH ST
         State the term remaining      7/1/2019                                            14TH FLOOR
                                                                                           NEW YORK NY 10019
         List the contract number of   _________________________________________________
         any government contract


2.67.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FULL SERVICE CATERING CONTRACT                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MAGNOLIA PLANNING
                                                                                           CORPORATION
         State the term remaining      12/31/18                                            3550 ASHLEY RIVER ROAD
                                                                                           CHARLESTON SC 29414
         List the contract number of   _________________________________________________
         any government contract


2.68.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0001, WACCAMAW, SC                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MANIOS, JAMES ROGERS AND
                                                                                           LOUIS
         State the term remaining      07/31/2020                                          340 NORTH MAIN ST
                                                                                           GREENVILLE SC 29601
         List the contract number of   _________________________________________________
         any government contract




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2.69.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CHECK SURVEYS AND GUEST FEEDBACK                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MARKETFORCE
                                                                                           PO BOX 270355
         State the term remaining      05/15/2020                                          LOUISVILLE CO 80023
         List the contract number of   _________________________________________________
         any government contract


2.70.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    BANK CONTRACT FOR PROVISION OF PAYROLL              debtor has an executory contract or
         lease is for                  PROGRAMS                                            unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MONEY NETWORK
                                                                                           FIRST DATA
         State the term remaining      _________________________________________________   1 WESTERN MARYLAND PKWY
                                                                                           HAGERSTOWN MD 21740
         List the contract number of   _________________________________________________
         any government contract


2.71.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0005, EASLEY, SC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MRB LLC
                                                                                           1249 S. PLEASANTBURG DR
         State the term remaining      12/31/2019                                          GREENVILLE SC 29605
         List the contract number of   _________________________________________________
         any government contract


2.72.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0013, BOILING SPRINGS, SC                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MRB LLC
                                                                                           1249 S. PLEASANTBURG DR
         State the term remaining      03/01/2018; MONTH TOMONTH THEREAFTER                GREENVILLE SC 29605
         List the contract number of   _________________________________________________
         any government contract


2.73.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0045, JASPER, GA                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              NARGUIZIAN, JOHN
                                                                                           PAUL NARGUZIAN
         State the term remaining      03/31/2034                                          13138 CHANDLER BLVD
                                                                                           SHERMAN OAKS CA 91401
         List the contract number of   _________________________________________________
         any government contract




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2.74.    Title of contract             LEASE                                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    POINT OF SALE STORE EQUIPMENT                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NCR CORPORATION
                                                                                           PO BOX 198755
         State the term remaining      _________________________________________________   ATLANTA GA 30384-8755
         List the contract number of   _________________________________________________
         any government contract


2.75.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CREDIT CARD PROCESSING AGREEMENT                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NCR CORPORATION
                                                                                           PO BOX 198755
         State the term remaining      _________________________________________________   ATLANTA GA 30384-8755
         List the contract number of   _________________________________________________
         any government contract


2.76.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    POS AND ONLINE ORDERING                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NCR CORPORATION LOCAL - THE
                                                                                           CAROLINA
         State the term remaining      _________________________________________________   2142 EXECUTIVE HALL RD
                                                                                           CHARLESTON SC 29407
         List the contract number of   _________________________________________________
         any government contract


2.77.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CATERING ORDER                                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NICOLE LOPEZ
                                                                                           UNKNOWN
         State the term remaining      05/04/2019

         List the contract number of   _________________________________________________
         any government contract


2.78.    Title of contract             EQUIPMENT LEASE                                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CO2 LEASE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              NUCO2 INC
                                                                                           PO BOX 417902
         State the term remaining      11/13/15                                            BOSTON MA 02241
         List the contract number of   _________________________________________________
         any government contract




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2.79.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0020, IRMO, SC                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OHLANDT PROPERTIES LLC
                                                                                           197 RIVER RD
         State the term remaining      07/31/2030                                          BARNWELL SC 29812
         List the contract number of   _________________________________________________
         any government contract


2.80.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0015, ASHEVILLE, NC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OLD MILL STREAM LLC
                                                                                           WILLIAM H BURTON III
         State the term remaining      09/30/2030                                          491 CONNECTICUT AVE
                                                                                           SPARTANBURG SC 29302
         List the contract number of   _________________________________________________
         any government contract


2.81.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0024, LINCOLNTON, NC                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OLD MILL STREAM LLC
                                                                                           WILLIAM H BURTON III
         State the term remaining      09/30/2030                                          491 CONNECTICUT AVE
                                                                                           SPARTANBURG SC 29302
         List the contract number of   _________________________________________________
         any government contract


2.82.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0025, FLORENCE, SC                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OLD MILL STREAM LLC
                                                                                           WILLIAM H BURTON III
         State the term remaining      09/03/2030                                          491 CONNECTICUT AVE
                                                                                           SPARTANBURG SC 29302
         List the contract number of   _________________________________________________
         any government contract


2.83.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0026, EVANS, GA                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OLD MILL STREAM LLC
                                                                                           WILLIAM H BURTON III
         State the term remaining      09/30/2030                                          491 CONNECTICUT AVE
                                                                                           SPARTANBURG SC 29302
         List the contract number of   _________________________________________________
         any government contract




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2.84.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0042, BLAIRSVILLE, GA                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OLD MILL STREAM LLC
                                                                                           WILLIAM H BURTON III
         State the term remaining      09/30/2030                                          491 CONNECTICUT AVE
                                                                                           SPARTANBURG SC 29302
         List the contract number of   _________________________________________________
         any government contract


2.85.    Title of contract             FEE AGREEMENT                                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RECRUITING AGENCY                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PATRICE AND ASSOCIATES
                                                                                           10020 SOUTHERN MARYLAND BLVD
         State the term remaining      _________________________________________________   STE 100
                                                                                           DUNKIRK MD 20754
         List the contract number of   _________________________________________________
         any government contract


2.86.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    E CLUB MGMT                                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PAYTRONIX
                                                                                           80 BRIDGE ST
         State the term remaining      12/2020                                             NEWTON MA 2458
         List the contract number of   _________________________________________________
         any government contract


2.87.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PR/BENEFITS SOFWARE                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PEOPLE MATTER
                                                                                           4851 LAKE BROOK DR
         State the term remaining      06/07/2019                                          GLEN ALLEN VA 23060
         List the contract number of   _________________________________________________
         any government contract


2.88.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PEPSI/LIPTON TEA                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PEPSI
                                                                                           700 ANDERSON HILL RD
         State the term remaining      2019                                                PURCHASE NY 10577
         List the contract number of   _________________________________________________
         any government contract




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2.89.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 3002, TAVERN 24, GASTONIA,NC             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PP GASTON MALL
                                                                                           JOE AND CHARLIE PEARSON
         State the term remaining      11/01/2027                                          1422 BURTONWOOD DR
                                                                                           STE 200
         List the contract number of   _________________________________________________   GASTONIA NC 28054
         any government contract


2.90.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0052, JOHNSON CITY, TN                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RCC SHOPPES AT WEST MARKET
                                                                                           NEW LINK MANAGEMENT GROUP
         State the term remaining      07/2021                                             PO BOX 17710
                                                                                           RICHMOND VA 23226
         List the contract number of   _________________________________________________
         any government contract


2.91.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OIL                                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      RESTAURANT TECHNOLOGIES, INC
                                                                                           2250 PILOT KNOB ROAD
         State the term remaining      08/18/2020                                          SUITE 100
                                                                                           MENDOTA HEIGHTS MN 55120
         List the contract number of   _________________________________________________
         any government contract


2.92.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PARKERHOUSE ROLL DOUGH                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      RICH PRODUCTS CORPORATION
                                                                                           HEADQUARTERS
         State the term remaining      120 DAYS BEFORE DISCONITNATION OF PRODUCT           RICH'S
                                                                                           ONE ROBERT RICH WAY
         List the contract number of   _________________________________________________   BUFFALO NY 14240
         any government contract


2.93.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LEASE FOR CORP OFFICE, TYLERS, SC                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RIVERVIEW OFFICE PARK
                                                                                           LEANN WEBER
         State the term remaining      09/2019                                             PO BOX 616
                                                                                           TAYLORS SC 29687
         List the contract number of   _________________________________________________
         any government contract




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2.94.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ROLL OFF SYSTEMS, INC
                                                                                           C/O WASTE REVELATION
         State the term remaining      _________________________________________________   PO BOX 241
                                                                                           VALAPRAISO IN 46384
         List the contract number of   _________________________________________________
         any government contract


2.95.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ROLL OFF SYSTEMS, INC
                                                                                           C/O WASTE REVELATION
         State the term remaining      _________________________________________________   PO BOX 241
                                                                                           VALAPRAISO IN 46384
         List the contract number of   _________________________________________________
         any government contract


2.96.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    TEA                                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      S&D COFFEE
                                                                                           PO BOX 1628
         State the term remaining      _________________________________________________   CONCORD NC 28026
         List the contract number of   _________________________________________________
         any government contract


2.97.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SC WASTE
                                                                                           C/O WASTE REVELATION
         State the term remaining      _________________________________________________   PO BOX 241
                                                                                           VALAPRAISO IN 46384
         List the contract number of   _________________________________________________
         any government contract


2.98.    Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FRENCH FRIES/CHIPS                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SIMPLOT
                                                                                           PO BOX 9168
         State the term remaining      11/30/2018                                          BOISE ID 83707
         List the contract number of   _________________________________________________
         any government contract




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2.99.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0023, GREENEVILLE, TN                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SISSON, TRYON
                                                                                           TY SISSON
         State the term remaining      09/30/2030                                          1279 WESTWIND CIR
                                                                                           WESTLAKE VILLAGE CA 91361
         List the contract number of   _________________________________________________
         any government contract


2.100.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0004, GAFFNEY, SC                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SMITH, GARY AND MARGARET
                                                                                           123 PECAN LN
         State the term remaining      01/31/2022                                          CAYCE SC 29033
         List the contract number of   _________________________________________________
         any government contract


2.101.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    APPLICANT TRACKING SYSTEM                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SNAGAJOB
                                                                                           4851 LAKE BROOK DR
         State the term remaining      _________________________________________________   GLEN ALLEN VA 23060
         List the contract number of   _________________________________________________
         any government contract


2.102.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SC DOT SIGNS                                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SOUTH CAROLINA LOGOS, INC
                                                                                           1221 ATLAS ROAD
         State the term remaining      _________________________________________________   COLUMBIA SC 29209
         List the contract number of   _________________________________________________
         any government contract


2.103.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OFFICE SUPPLIES                                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      STAPLES
                                                                                           6600 EMBASSY ROW BLDG 600
         State the term remaining      N/A                                                 SUITE 400
                                                                                           ATLANTA GA 30328
         List the contract number of   _________________________________________________
         any government contract




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2.104.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0022, MORGANTON, NC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.105.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0027, ROCK HILL, SC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.106.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0028, BRISTOL, TN                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.107.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0029, WINDER, GA                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.108.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0030, ROCKINGHAM, NC                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract




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2.109.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0033, AIKEN, SC                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.110.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0035, ANDERSON, SC                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.111.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0037, KINGSPORT, TN                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.112.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0038, CAMDEN, SC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.113.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0039, CLINTON, SC                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract




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2.114.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0040, ATHENS, GA                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.115.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0043, DUBLIN, VA                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.116.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0046, CHERAW, SC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.117.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0049, FRANKLIN, NC                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract


2.118.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0050, LENOIR, NC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING I LLC
                                                                                           MICHAEL T BENNETT
         State the term remaining      03/31/2034                                          8501 E. PRINCESS DR
                                                                                           STE 190
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85255
         any government contract




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2.119.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0007, GREENWOOD, SC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STORE MASTER FUNDING V LLC
                                                                                           8501 E. PRINCESS DR
         State the term remaining      03/31/2034                                          STE 190
                                                                                           SCOTTSDALE AZ 85255
         List the contract number of   _________________________________________________
         any government contract


2.120.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    D&O, EMPLOYMENT PRACTICES, FIDUCIARY, AND CRIME     debtor has an executory contract or
         lease is for                  LIABILITY                                           unexpired lease
         Nature of debtor's interest   INSURED                                             STRATFORD INSURANCE
                                                                                           COMPANY
         State the term remaining      2/28/2019                                           300 KIMBALL DR
                                                                                           STE 500
         List the contract number of   _________________________________________________   PARSIPPANY NJ 07054
         any government contract


2.121.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CROUTONS                                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SUGAR FOODS CORPORATION
                                                                                           4930 AVOCET DR
         State the term remaining      12/31/2018                                          NORCROSS GA 30092
         List the contract number of   _________________________________________________
         any government contract


2.122.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SUN LIFE ASSURANCE COMPANY
                                                                                           OF CANADA
         State the term remaining      01/31/2019                                          PO BOX 7247-7184
                                                                                           PHILADEPHIA MA 19170
         List the contract number of   _________________________________________________
         any government contract


2.123.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0012, GREER, SC                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SUSO3 HOLDING
                                                                                           32738 COLLECTION CENTER DR
         State the term remaining      10/22/2017                                          CHICAGO IL 60693-0327
         List the contract number of   _________________________________________________
         any government contract




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2.124.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISTRIBUTION                                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO
                                                                                           SYSCO COLUMBIA, LLC
         State the term remaining      12/31/2020                                          131 SYSCO COURT
                                                                                           COLUMBIA SC 29290
         List the contract number of   _________________________________________________
         any government contract


2.125.   Title of contract             WAREHOUSE STORAGE LEASE                             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WAREHOUSE STORAGE LEASE                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              TAYLORS MINI WAREHOUSE
                                                                                           DIVERSIFIED INVESTMENTS
         State the term remaining      MONTH TO MONTH                                      221 W MAIN ST
                                                                                           TAYLORS SC 29687
         List the contract number of   _________________________________________________
         any government contract


2.126.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EQUIPMENT BREAKDOWN / BOILER AND MACHINERY          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             THE HARTFORD STEAM BOILER
                                                                                           INSPECTION AND INSURANCE
         State the term remaining      7/1/2019                                            COMPANY
                                                                                           ONE STATE ST
         List the contract number of   _________________________________________________   PO BOX 5024
         any government contract                                                           HARTFORD CT 06102-5024


2.127.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FULL SERVICE CATERING CONTRACT                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE KNOT
                                                                                           11106 MOCKINGBIRD DRIVE
         State the term remaining      12/21/18                                            OMAHA NE 68137
         List the contract number of   _________________________________________________
         any government contract


2.128.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0051, GREENSBORO #1, NC                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE VANS STEENNIS FAMILY
                                                                                           TRUST
         State the term remaining      03/31/2034                                          PETER VAN STEENIS
                                                                                           202 KALKAR DR
         List the contract number of   _________________________________________________   SANTA CRUZ CA 95060
         any government contract




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2.129.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETENTION                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THOMAS KELLY
                                                                                           4388 FULCHER RD
         State the term remaining      07/17/2019                                          HEPZIBAH GA 30815
         List the contract number of   _________________________________________________
         any government contract


2.130.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0010, SENECA, SC                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THRIFT BROTHERS
                                                                                           TUCK HYDRICK
         State the term remaining      09/30/2019                                          PO BOX 1293
                                                                                           SENECA SC 29679
         List the contract number of   _________________________________________________
         any government contract


2.131.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETENTION                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TODD MASSIE
                                                                                           UNKNOWN
         State the term remaining      08/20/2019

         List the contract number of   _________________________________________________
         any government contract


2.132.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OFFICE PRINTERS                                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TOSHIBA BUSINESS SOLUTIONS
                                                                                           201-C PELHAM DAVIS CIRCLE
         State the term remaining      12/29/2021                                          GREENVILLE SC 29615
         List the contract number of   _________________________________________________
         any government contract


2.133.   Title of contract             _________________________________________________   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RESTAURANT OPERATING PARTNER BONUS CONTRACT         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TRACY NESTER
                                                                                           5951 OLD GILES RD
         State the term remaining      03/28/2021                                          DUBLIN VA 24084
         List the contract number of   _________________________________________________
         any government contract




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2.134.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    HEALTH INSURANCE                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      UNITED HEALTHCARE
                                                                                           22703 NETWORK PLACE
         State the term remaining      01/31/19                                            CHICAGO IL 60673
         List the contract number of   _________________________________________________
         any government contract


2.135.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0014, ORANGEBURG, SC                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              VANDELAY
                                                                                           JIM MCLEAN
         State the term remaining      02/29/2020                                          3578 ST MATTHEWS RD NE
                                                                                           ORANGEBURG SC 29118
         List the contract number of   _________________________________________________
         any government contract


2.136.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FINANCIAL SOFTWARE                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      VELOSIO
                                                                                           5747 PERMIETER RD
         State the term remaining      06/30/2019                                          SUITE 200
                                                                                           DUBLIN OH 43017
         List the contract number of   _________________________________________________
         any government contract


2.137.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    VA DOT SIGNS                                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      VIRGINIA LOGOS
                                                                                           10001 PATTERSON AVE
         State the term remaining      _________________________________________________   STE 201
                                                                                           RICHMOND VA 23238
         List the contract number of   _________________________________________________
         any government contract


2.138.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FOOD DELIVERY                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WAITR
                                                                                           1100 BERTRAND DR
         State the term remaining      N/A                                                 SUITE 2
                                                                                           LAFAYETTE LA 70506
         List the contract number of   _________________________________________________
         any government contract




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2.139.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0044, WARNER ROBINS, GA                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WARNER ROBINS WESTGATE LLC
                                                                                           JACK JAMISON
         State the term remaining      10/31/2023                                          550 SOUTH MAIN ST
                                                                                           STE 300
         List the contract number of   _________________________________________________   GREENVILLE SC 29601
         any government contract


2.140.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WASTE CONNECTIONS OF THE
                                                                                           CAROLINAS
         State the term remaining      _________________________________________________   C/O WASTE REVELATION
                                                                                           PO BOX 241
         List the contract number of   _________________________________________________   VALAPRAISO IN 46384
         any government contract


2.141.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WASTE CONNECTIONS OF THE
                                                                                           CAROLINAS
         State the term remaining      _________________________________________________   C/O WASTE REVELATION
                                                                                           PO BOX 241
         List the contract number of   _________________________________________________   VALAPRAISO IN 46384
         any government contract


2.142.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WASTE CONNECTIONS OF THE
                                                                                           CAROLINAS
         State the term remaining      _________________________________________________   C/O WASTE REVELATION
                                                                                           PO BOX 241
         List the contract number of   _________________________________________________   VALAPRAISO IN 46384
         any government contract


2.143.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WASTE CONNECTIONS OF THE
                                                                                           CAROLINAS
         State the term remaining      _________________________________________________   C/O WASTE REVELATION
                                                                                           PO BOX 241
         List the contract number of   _________________________________________________   VALAPRAISO IN 46384
         any government contract




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2.144.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WASTE REMOVAL                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WASTE REVELATION
                                                                                           PO BOX 241
         State the term remaining      _________________________________________________   VALAPRAISO IN 46384
         List the contract number of   _________________________________________________
         any government contract


2.145.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MARKETING                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WEBFX
                                                                                           1705 N FRONT ST
         State the term remaining      02/17/19                                            HARRISBURG PA 17102
         List the contract number of   _________________________________________________
         any government contract


2.146.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MARKETING DIRECTOR                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WINDI COOPER
                                                                                           101 WATERLOO CIRCLE
         State the term remaining      _________________________________________________   GREER SC 29650
         List the contract number of   _________________________________________________
         any government contract


2.147.   Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LOCATION # 0041, CAROWINDS, NC                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WINDS CROSSING
                                                                                           BOB CHRISTL
         State the term remaining      04/2025                                             7711 BRIARDENN DR
                                                                                           SUMMERFIELD NC 27358
         List the contract number of   _________________________________________________
         any government contract


2.148.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CREDIT CARD PROCESSOR                               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      WORLD PAY
                                                                                           201 17TH STREET
         State the term remaining      _________________________________________________   ATLANTA GA 30363
         List the contract number of   _________________________________________________
         any government contract




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2.149.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    TABLE TOP MEDIA                                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ZIOSK
                                                                                           12404 PARK CENTRAL
         State the term remaining      TERMINATED BY ZIOSK                                 SUITE 350
                                                                                           DALLAS TX 75251
         List the contract number of   _________________________________________________
         any government contract


2.150.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WORKERS’ COMPENSATION                               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ZURICH
                                                                                           ONE LIBERTY PLZ
         State the term remaining      7/1/2019                                            165 BROADWAY
                                                                                           NEW YORK NY 10006
         List the contract number of   _________________________________________________
         any government contract


2.151.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GENERAL LIABILITY                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ZURICH
                                                                                           ONE LIBERTY PLZ
         State the term remaining      7/1/2019                                            165 BROADWAY
                                                                                           NEW YORK NY 10006
         List the contract number of   _________________________________________________
         any government contract


2.152.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY LIABILITY                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ZURICH
                                                                                           ONE LIBERTY PLZ
         State the term remaining      7/1/2019                                            165 BROADWAY
                                                                                           NEW YORK NY 10006
         List the contract number of   _________________________________________________
         any government contract


2.153.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    AUTOMOBILE LIABILITY                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ZURICH
                                                                                           ONE LIBERTY PLZ
         State the term remaining      7/1/2019                                            165 BROADWAY
                                                                                           NEW YORK NY 10006
         List the contract number of   _________________________________________________
         any government contract




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2.154.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    UMBRELLA LIABILITY                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             ZURICH
                                                                                           ONE LIBERTY PLZ
         State the term remaining      7/1/2019                                            165 BROADWAY
                                                                                           NEW YORK NY 10006
         List the contract number of   _________________________________________________
         any government contract




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Fill in this information to identify the case:

Debtor name: CAFE ENTERPRISES, INC.
United States Bankruptcy Court for the: District of South Carolina
Case number (if known): 18-05838

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   CAFE HOLDINGS CORP                 4324 WADE HAMPTON BLVD                    ATALAYA ADMINISTRATIVE             þD
                                          STE B                                     LLP AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             ¨ E/F
                                                                                                                       ¨G
2.2.   CAFE HOLDINGS CORP                 4324 WADE HAMPTON BLVD                    BENEFIT STREET PARTNERS,           þD
                                          STE B                                     AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             þ E/F
                                                                                                                       ¨G
2.3.   CE SPORTZ LLC                      4324 WADE HAMPTON BLVD                    ATALAYA ADMINISTRATIVE             þD
                                          STE B                                     LLP AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             ¨ E/F
                                                                                                                       ¨G
2.4.   CE SPORTZ LLC                      4324 WADE HAMPTON BLVD                    BENEFIT STREET PARTNERS,           þD
                                          STE B                                     AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             þ E/F
                                                                                                                       ¨G
2.5.   CES GASTONIA LLC                   4324 WADE HAMPTON BLVD                    ATALAYA ADMINISTRATIVE             þD
                                          STE B                                     LLP AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             ¨ E/F
                                                                                                                       ¨G
2.6.   CES GASTONIA LLC                   4324 WADE HAMPTON BLVD                    BENEFIT STREET PARTNERS,           þD
                                          STE B                                     AS AGENT
       ATTN ERIC EASTON                   TAYLORS SC 29687                                                             þ E/F
                                                                                                                       ¨G

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